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                            EXHIBIT 2
                   UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION

EVDOKIA NIKOLOVA                     *
     Plaintiff,                      *
                                     *
V.                                   *    CASE NO. 1:19-cv-00877-RP
                                     *
UNIVERSITY OF TEXAS AT               *
AUSTIN,                              *
     Defendant.                      *


                        VIDEOTAPED ORAL DEPOSITION

                                     OF

                            PETER GLICK, Ph.D.

                          Friday, November 5, 2021

                           (Reported Remotely)



              VIDEOTAPED ORAL DEPOSITION OF PETER GLICK,

 Ph.D., produced as a witness at the instance of the

 Defendant, and duly sworn, was taken in the above-styled

 and numbered cause on Friday, November 5, 2021, from

 9:01 a.m. to 4:02 p.m., before Debbie D. Cunningham,

 CSR, in and for the State of Texas, reported remotely

 via Machine Shorthand, pursuant to the Federal Rules of

 Civil Procedure.

                               --ooOoo--
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                                                                 2                                                                   4
 1               APPEARANCES
 2
                                                                      1             EXHIBIT INDEX
 3 FOR PLAINTIFF:                                                     2 Exhibit Number Description              Page
 4    CREWS LAW FIRM, P.C.
      701 Brazos, Suite 900                                           3 Exhibit 1 Peter Glick, Ph.D. Expert Report 13
 5    Austin, Texas 78701
                                                                      4 Exhibit 2 Roth article             77
      (T) 512.484.2276
 6    By: Robert W. Schmidt, Esq.                                     5 Exhibit 3 Joshi article            89
         schmidt@crewsfirm.com
 7             AND
                                                                      6 Exhibit 4 Koch article              102
      THE LAW OFFICE OF ROBERT NOTZON                                 7 Exhibit 5 Keonig article             113
 8    1502 West Avenue
      Austin, Texas 78701                                             8 Exhibit 6 Anne Boring article          124
 9    (T) 512.474.7563
                                                                      9 Exhibit 7 MacNell article            126
      By: Robert Notzon, Esq.
10       Robert@NotzonLaw.com                                        10 Exhibit 8 Correll article          140
11
   FOR DEFENDANT:
                                                                     11
12                                                                   12
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13    100 Congress Avenue, Suite 1400                                13
      Austin, Texas 78701
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14    (T) 512.982.7250
      By: Darren Gibson, Esq.                                        15
15       dgibson@littler.com
               AND
                                                                     16
16       Shana Kelly, Esq.                                           17
               AND
17    OFFICE OF THE ATTORNEY GENERAL OF TEXAS                        18
      General Litigation Division
                                                                     19
18    P.O. Box 12548, Capitol Station
      Austin, Texas 78711-2548                                       20
19    (T) 512.463.2120
      by: Benjamin Dower, Esq.
                                                                     21
20       benjamin.dower.oag.texas.gov                                22
               AND
21       Amy Hilton, Esq.                                            23
         amy.hilton@oag.texas.gov
                                                                     24
22
23 VIDEOGRAPHER: Philip Cawston                                      25
24
   ALSO PRESENT: Laura Barbour
25          Jody Hughes




                                                                 3                                                                   5
 1            INDEX                                                   1          (Friday, November 5, 2021, 9:01 a.m.)
 2 APPEARANCES                    2                                   2                 PROCEEDINGS
 3                                                                    3              THE VIDEOGRAPHER: The time is 9:01 a.m.
 4 EXAMINATION OF PETER GLICK, Ph.D.:                                 4   we are on the record.
 5 BY MR. GIBSON                 6                                    5              THE REPORTER: Today's date is Friday,
 6                                                                    6   November 5th, 2021. This is the videotaped oral
 7                                                                    7   deposition of Peter Glick, Ph.D.; and it is being
 8 CHANGES AND SIGNATURE                             210              8   conducted remotely. The witness is located in Omro,
 9 REPORTER'S CERTIFICATION                          212              9   Wisconsin.
10                                                                   10              I am Debbie Cunningham, and our
11                                                                   11   videographer today is Philip Cawston. My CSR Number is
12                                                                   12   2065. We are both with the firm of Integrity Legal
13                                                                   13   Solutions in Austin, Texas.
14                                                                   14              I am administering the oath and reporting
15                                                                   15   the deposition remotely by stenographic means.
16                                                                   16              Would Counsel please state their
17                                                                   17   appearances and locations for the record, beginning with
18                                                                   18   Plaintiff's Counsel?
19                                                                   19              MR. SCHMIDT: Yes. It's Robert Schmidt,
20                                                                   20   here for the Plaintiff, Dr. Evdokia Nikolova.
21                                                                   21              MR. NOTZON: And Robert Notzon, also here
22                                                                   22   for the Plaintiff; and Bob and I are both in Austin.
23                                                                   23              MR. SCHMIDT: Yes.
24                                                                   24              MR. GIBSON: Hi. Darren Gibson, here for
25                                                                   25   the Defendant University of Texas at Austin. I also




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 1   have an associate of mine who's observing the                 1   expert report an exhibit.
 2   deposition, Shana Kelly, on the line as well.                 2       A. I have my report, but I didn't print out the
 3            MR. NOTZON: And where are you, Darren?               3   part that has my vitae in it.
 4            MR. GIBSON: Oh, Austin, Texas. Thank                 4              MR. GIBSON: Ms. Cunningham, I just want
 5   you very much. Yes.                                           5   to make sure we're doing this correctly. Are we to drop
 6            THE REPORTER: Doctor, will you --                    6   exhibits into the chat? That's the way I've done it in
 7            MR. SCHMIDT: You're in Austin. Darren,               7   previous depositions. Is that the way everyone would
 8   I thought you were in Dallas.                                 8   agree to do this?
 9            I'm so sorry.                                        9              THE REPORTER: Yes, sir.
10            MR. GIBSON: No.                                     10              MR. SCHMIDT: Actually -- yes, that's
11            MR. SCHMIDT: All right.                             11   fine. I was also going to say, Darren, in the prior
12            THE REPORTER: Doctor, will you raise                12   depositions that we have done with UT in this case, on
13   your right hand, please?                                     13   objections we have just agreed to use the Texas Rules of
14            THE WITNESS: Yes.                                   14   Civil Procedure and just say, "Objection, form." Do you
15            (Witness sworn by the reporter.)                    15   agree to that, or do you want us to go ahead and state
16            MR. GIBSON: Thank you, Ms. Cunningham.              16   the objection?
17               PETER GLICK, Ph.D.,                              17              MR. GIBSON: I can adhere to that.
18       having been duly sworn, testified as follows:            18              MR. SCHMIDT: Okay. That's fine. Yeah,
19                 EXAMINATION                                    19   just follow the Texas Rules on that.
20   BY MR. GIBSON:                                               20              MR. GIBSON: Great.
21       Q. Dr. Glick, it's nice to see you. Just for the         21       A. So as I'm thinking about it, I think I
22   record, we've met before, correct?                           22   remember now Gould v. Interface would be the recent one.
23       A. Yes, we have, in a deposition.                        23   I believe it's Jay, J-A-Y, Gould, G-O-U-L-D v.
24       Q. In another case involving the University of           24   Interface. It's a corporation. And then the other one,
25   Texas at Austin involving a law professor named Linda        25   I think -- I think was Kelly versus Drexel. And that's




                                                              7                                                                   9
 1   Mullenix; is that correct?                                    1   an older case.
 2       A. That is correct.                                       2        Q. (BY MR. GIBSON) Got it. And so -- and both
 3       Q. And you were retained by the plaintiff in that         3   of those were employment cases?
 4   case as well; is that correct?                                4        A. Yes, yes.
 5       A. Yes.                                                   5        Q. And in both of those cases, you were retained
 6       Q. How many times have you approximately served           6   by the defendant?
 7   as an expert in a lawsuit?                                    7        A. That's correct.
 8       A. I think about 2 dozen. I don't know. I                 8        Q. Thank you. And so just --
 9   haven't counted recently, so I can't give you an exact        9              MR. GIBSON: Let's pause for a second.
10   number; but over about 25 years, maybe 2 dozen.              10   It looks like we have an additional attorney joining,
11       Q. Have those generally been in employment               11   Counsel for UT Austin from the Attorney General's
12   lawsuits?                                                    12   Office. It looks like Ben Dower's joining. So I'm
13       A. Generally, yes.                                       13   going to pause.
14       Q. And have you always represented -- or been            14              And, Ms. Cunningham, would you address
15   retained by the plaintiff?                                   15   Mr. Dower for the record?
16       A. Not always, no.                                       16              THE REPORTER: Mr. Dower, would you
17       Q. When have you been retained by a defendant?           17   please state your appearance?
18       A. Recently I was retained by a defendant. I'm           18              MR. DOWER: Sure. I don't expend --
19   blanking on the name of the case. I can think of two         19   expect to have much of a role, and I apologize for being
20   times I was retained by the defendant.                       20   late. My fiancee has a Temporary Injunction Hearing
21       Q. And which two cases were those?                       21   this morning. So we were focused on getting her ready
22       A. I don't have my vitae in front of me, so let          22   to go.
23   me think.                                                    23              Benjamin Dower for the Defendant UT
24       Q. We'll pull up -- I can provide -- I mean, we          24   Austin.
25   will make your ex- -- we can go ahead and make your          25              MR. NOTZON: I'd say TMI.




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                                                                10                                                                   12
 1              (Laughter.)                                           1              Mr. Schmidt may lodge objections. He's
 2              MR. DOWER: Are we -- are we on the                    2   certainly free to do so. I would ask that you -- after
 3   record already?                                                  3   he's objected, please go ahead and answer the question
 4              MR. SCHMIDT: Yeah, we are. It's fine.                 4   unless he instructs you for some reason not to answer
 5              MR. DOWER: All right. Well...                         5   the question.
 6              MR. SCHMIDT: It's not TMI. Hello, Ben.                6              MR. GIBSON: Mr. Dower, Ben, I just
 7   How are you?                                                     7   want to confirm that the parties have agreed, based on
 8              MR. DOWER: I'm doing well. And, again,                8   Mr. Schmidt's representation, that in prior depositions
 9   I apologize for the interruption; and I will do less             9   the parties have agreed to allow objections solely as to
10   "MI" or less "I" from here on out.                              10   form. Do you agree that -- is that consistent with the
11              MR. SCHMIDT: Robert is giving you a hard             11   Defendant's prior practice in this case? And for the
12   time.                                                           12   record, I have not participated in any of the prior
13              MR. NOTZON: But isn't that from                      13   depositions in this case.
14   Seinfeld, like, you have to say "fiancee" a lot?                14              MR. DOWER: That's correct, with the --
15              (Laughter.)                                          15   with the caveat that it doesn't -- you know, that it
16              MR. SCHMIDT: That's right.                           16   doesn't waive -- you know, it doesn't waive any of the
17              MR. GIBSON: All right. Well, now that                17   non-form objections. Of course, that's standard. And,
18   we have Ben, we will keep moving forward.                       18   also, that the "objection, form" is sufficient to
19       Q (BY MR. GIBSON) Dr. Glick, I think you                    19   preserve the objection as long as it is, in fact, a form
20   testified that you have represented -- or been retained         20   objection.
21   by -- I apologize; I keep saying that. Bad habit.               21              MR. GIBSON: Great. I just wanted to
22   You've been retained by the defendant in two employment         22   confirm that for the record.
23   cases which you identified; but, otherwise, in the              23      Q (BY MR. GIBSON) Dr. Glick, do you have -- are
24   remaining employment cases, you have been retained by           24   you taking any medications that would affect your
25   the plaintiff; is that correct?                                 25   ability to answer questions today?




                                                                11                                                                   13
 1       A. That's correct.                                           1       A. No.
 2       Q. I just want to start with some ground rules               2       Q. And any other medical condition that would
 3   very quickly now that we've got that out of the way. I           3   affect your ability to answer questions?
 4   would just ask that you answer my questions verbally,            4       A. No.
 5   particularly since we are on Zoom. Please avoid head             5       Q. And I will say that you're very bright because
 6   nods or "uh-huhs" or "huh-uhs" and -- to make sure we            6   the sun is hitting your head. Is there any way -- I
 7   get an accurate record for the court reporter.                   7   just -- because, recognizing that these depositions may
 8             If you could -- if I ask a yes-or-no                   8   be used at trial, is there any way to adjust that?
 9   question -- well, you can answer however you would like;         9       A. Let me -- I closed the blind, but let me
10   but please just make sure to avoid head nods and things         10   reorient myself and see if this works better for you.
11   like that because it is very important that the court           11       Q. That's great.
12   reporter get an accurate transcript today.                      12              MR. SCHMIDT: That is better.
13             I will try to avoid interrupting you when             13              THE WITNESS: Yeah, a clearer picture. I
14   you are testifying unless I think we're going in a              14   appreciate that. All right. Let me just -- okay.
15   completely -- if you're going on a tangent that we don't        15   There.
16   need to go down, I might interrupt; but, otherwise, I'm         16              MR. GIBSON: Thank you. Sorry. Sorry
17   going to really try to avoid interrupting you. I would          17   for that. I just want to -- you know, if we ever use
18   ask that you do that same so that the court reporter can        18   this for trial, I would like for the jury to have a
19   get down a transcript of the question and the answer as         19   clear picture of you without being blinded by the
20   well as any objections that your -- that Plaintiff's            20   sunshine.
21   Counsel may lodge as well.                                      21              THE WITNESS: Without my halo.
22             If you need a break, just let me know; we             22              MR. SCHMIDT: To see your -- your lovely
23   can take a break. The only rule is if there's a                 23   image.
24   question pending, I would ask that you answer the               24              (Exhibit 1 marked.)
25   question that is pending before you a take a break.             25       Q. (BY MR. GIBSON) Okay. So I want to start off




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 1   by -- I put Exhibit Number 1 into the chat, which is              1   I think that's not -- it doesn't seem to be in that
 2   your expert report. If you could, just pull that up and           2   list. So that's one that I definitely recall, and there
 3   confirm that that is, indeed, your expert report in this          3   was a deposition for that case, right?
 4   case.                                                             4             And I'm trying to get the rules here.
 5       A. Oh, in the chat. I see. Okay. It's wanting                 5   You know, I'm not a lawyer. So I've sometimes been told
 6   me to save it.                                                    6   by a lawyer: Oh, well, don't list, you know, ones where
 7             Okay. There. Yes, this looks like my                    7   you didn't have a deposition. And, you know, I mean,
 8   report.                                                           8   obviously, I have listed those in my vitae. So I'm just
 9       Q. Great. In your list of cases that you have                 9   trying to be consistent with whatever, you know, the law
10   listed there at the end, starting on page 75, it appears         10   requires. I'm not trying to be coy here.
11   that the most recent two cases you listed -- the most            11             I'm just trying to sign into my
12   recent case is Paulette Fauceglia versus University of           12   university because my list will be accessible that way.
13   Southern California. Do you see that on page 75?                 13             MR. SCHMIDT: And, actually, Dr. Glick,
14       A. Yes, I do.                                                14   I'm going to interrupt you. I would not refer to
15       Q. Do you have any more recent cases since that              15   outside documents right now during the deposition unless
16   time?                                                            16   you absolutely need to. I think just go by your memory.
17       A. Yes, I do. This is a little bit out of date.              17             THE WITNESS: Okay.
18       Q. It was provided in April, to be fair. So no               18             MR. SCHMIDT: And if you need --
19   worries. I just want to make sure that we provide any            19             THE WITNESS: Well --
20   additional information that's occurred since April.              20             (Simultaneous speakers.)
21       A. Right. I would have to -- to pull up a list.              21             MR. SCHMIDT: -- a document, that'd be
22   I could provide that later, if you want; or I can take           22   fine.
23   the time now to try to figure that out.                          23        A. There's another case I recall that was before
24       Q. Why don't you tell us what you recall, as you             24   an arbitration panel; and that's Zagelbaum, I believe,
25   sit here today, any additional cases you've been                 25   versus United Health.




                                                                 15                                                                   17
 1   retained as an expert since that needs to be provided to          1             Let's see. What else can I recall?
 2   update this list?                                                 2   Those are the ones that immediately come to mind. I'm
 3        A. So I just have a question about that. I think             3   sure that I will -- if there were -- there were others.
 4   I've been told in the past that if there was a                    4   There's one involving Anna Maria College. I'm trying to
 5   deposition, that that's the ones -- those are the ones            5   remember the plaintiff's name. I'm not sure if that was
 6   that I should be providing; or should I be providing              6   in my list.
 7   anything I was retained in, regardless of whether it was          7       Q. Okay.
 8   federal court or something else or no deposition?                 8       A. So these are recent cases.
 9        Q. So this list states Expert Witness Litigation             9       Q. Sure.
10   List; and it appears to include cases where you have             10       A. Yeah, I don't see that in the list. Those are
11   both provided a report, as well as cases where you have          11   the ones that come to mind.
12   been deposed. So it -- this list does not appear to              12       Q. Okay.
13   require you to have been deposed for you to have listed          13       A. Mullenix, as you know, since you were involved
14   it on the list. It also appears to include both state            14   in that, Mullenix versus University of Texas, yeah.
15   court and federal court cases.                                   15       Q. Okay. So let's start with Gould v. Interface.
16             So my understanding of your list is that               16   Do you recall where that case is based out of?
17   it includes all cases where you have been retained and           17       A. I'm thinking that was Atlanta; but I'm not
18   have at least provided a report. So I would ask that             18   sure, also, what I can say about these cases. So I
19   you -- unless you have a different understanding of what         19   don't want to violate any confidentiality agreements.
20   cases are listed in your report -- that's my                     20       Q. Okay. I mean, I think that you would -- if
21   understanding of your report -- I would ask that you             21   you were providing an updated report, you would list
22   answer the question to the best of your recollection of          22   these on your cases; and so --
23   any additional cases that you've served as a witness             23       A. Oh, right.
24   since those cases are listed in the report.                      24       Q. -- far I haven't asked you any questions about
25        A. Well, I mentioned that Gould v. Interface; and           25   anything that would not be listed on your report, so.




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 1      A. Correct. I was -- I was just -- I was just                  1       A. Yes.
 2   asking for advice on that. I'm happy to provide the               2       Q. Are you aware of the outcome of that motion?
 3   kind of things that would be listed on my report.                 3       A. Yes, I'm well aware of the outcome.
 4   Again, I'm not trying to be coy here.                             4       Q. And what was the outcome of that motion, to
 5      Q. And do you recall if that was state or federal              5   your knowledge?
 6   court, the Gould v. Interface case?                               6       A. To my knowledge, the outcome of that motion
 7      A. I believe it was federal court, but I'd -- I'd              7   was I was excluded from the case.
 8   want to check.                                                    8       Q. Okay. So we're going to be focused quite a
 9      Q. You said that was Gould, G-O-U-L-D?                         9   lot on your report today. So I just want to make sure
10      A. Yes, I believe so.                                         10   you've got that handy, whether it's printed in front of
11      Q. And do you know if there's been any sort of                11   you or the exhibit. So you have an additional copy
12   motion to exclude your testimony in the Gould case?              12   printed in front of you; is that correct?
13      A. I don't believe there was.                                 13       A. Correct, I have a copy that includes up to
14      Q. Okay. You also mentioned a case called                     14   page 60, which is the -- you know, the report itself. I
15   Zagelbaum versus United Health, which you believe was an         15   didn't bother to print out other appendage -- appendices
16   arbitration?                                                     16   after that.
17      A. Yeah, it was an arbitration panel of some                  17       Q. Before I go on, I want to make sure I
18   sort, I think a state based one in New York -- in New            18   understand sort of the scope of your role as an expert
19   York City was -- was the case. So I think it's a                 19   witness. How much do you normally make as an expert
20   New York state based arbitration panel.                          20   witness on an hourly basis for your work?
21      Q. Okay. And then -- and do you know if there                 21       A. I charge $400 an hour. That's also listed in
22   was any motion or any ruling by the arbitration panel            22   my report.
23   regarding the admissibility of your testimony in that            23       Q. And it sounds like you do quite a bit of
24   matter?                                                          24   expert work. I mean, I think you've listed
25      A. I know that they heard my testimony in a -- in             25   approximately six or seven cases just this year where




                                                                 19                                                                   21
 1   a hearing.                                                        1   you were serving as an expert; is that correct?
 2       Q. Did you testify in the hearing?                            2       A. I'm not sure of the count this year; but this
 3       A. Yes. I testified in a hearing, yes.                        3   year was a much increased workload compared to the past,
 4       Q. And, finally, you mentioned a case involving               4   for sure. So over 25 years, you know, I'm guesstimating
 5   Anna Maria College?                                               5   maybe 2 dozen cases. It was an unusually -- unusually
 6       A. Correct.                                                   6   large number of cases this year.
 7       Q. And do you recall where that case was located?             7       Q. Do you know how much money you received in
 8       A. That's in Massachusetts, and I recall the                  8   expert witness fees in 2020?
 9   plaintiff is Pinckney. I think it's -- I don't know if            9       A. I don't have that figure in front of me. I
10   there's a "C" in there or not -- but Pinckney versus             10   could try to guesstimate.
11   Anna Maria College; and that was in Massachusetts, I             11       Q. What's your approximate estimate of the amount
12   believe, in federal court.                                       12   of expert witness fees you received in 2020?
13       Q. And do you know if there was any motion to                13       A. I would guess that it's over $50,000.
14   exclude your testimony in that case?                             14       Q. Could it be over a hundred thousand dollars?
15       A. I don't believe there's a motion to exclude my            15       A. I doubt it, but I haven't done my taxes yet,
16   testimony. I can't recall one.                                   16   so I haven't -- I haven't looked at it.
17       Q. Okay. And you also mentioned the Mullenix                 17       Q. Okay. And is this year busier than last year?
18   case. Obviously, I'm aware of that; but for the record           18       A. Yes. By far, this is the busiest year I ever
19   I would just like to ask you a few questions about that.         19   had.
20   You provided a report and deposition in that case; is            20       Q. And do you know how much you've charged in
21   that correct?                                                    21   expert witness fees in total this year, for 2021?
22       A. Yes.                                                      22       A. Again, I could figure that out; but I don't
23       Q. And there was a motion to exclude your                    23   have that in front of me. I haven't -- I wouldn't want
24   testimony in that case; is that correct? Are you aware           24   to hazard a guess.
25   of that?                                                         25       Q. Do you know how much you've charged in this




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 1   case, in particular, so far?                                     1   recall you generally distinguishing between explicit and
 2       A. Again, I'd have to go and look; but I think I             2   implicit bias in your report. Am I correct in
 3   charged a 7500-dollar retainer. I may have, you know,            3   understanding that when you generally use the word bias
 4   expended extra hours and then I would have charged a bit         4   in your report, you are not distinguishing between
 5   more; but I'm guessing. And, again, I'd have to go back          5   explicit and implicit bias?
 6   and look. I didn't prepare financial data here for this          6       A. I cannot recall making those distinctions.
 7   deposition, but I would think it's under $10,000.                7   I'd have to go through my report with a fine-tooth comb,
 8       Q. You charge $5,000 -- according to your report,            8   but I believe that I did not introduce those
 9   you charge $5,000 per day for deposition and trial               9   distinctions in the report.
10   testimony?                                                      10       Q. You also introduce other types of biases or
11       A. Correct.                                                 11   other ways to categorize biases, and the explicit versus
12       Q. Okay. I'd like to start with Section II of               12   implicit was one of those. What are other types of ways
13   your report, called Type of Testimony. In this you              13   to categorize biases?
14   talk -- in this section you refer to social framework           14       A. Actually, I didn't really have anything in
15   testimony; and you use quite a number of terms,                 15   mind when I said that. Sorry. You know, implicit
16   including stereotype, bias, and discrimination. Can you         16   versus explicit is a -- you know, is a -- that's what's
17   please define what you mean by stereotype?                      17   generally talked about and researched in my field. I
18       A. So by stereotypes -- and just to preface this,           18   don't have anything off the top of my head that I can
19   I'm giving definitions that are kind of the common              19   think of of other kinds of categories of bias or some
20   understanding in my field. So stereotypes would be              20   other kind of distinction in mind.
21   traits that people associate with a specific social             21       Q. What do you mean when you use the word
22   category.                                                       22   discrimination in your report?
23       Q. And am I correct in understanding that those             23       A. Discrimination refers to treating people
24   traits may be accurate, or they may be inaccurate?              24   differently based on their social category memberships.
25       A. Stereotypes can certainly have, you know,                25       Q. When you use that social category or




                                                                23                                                                   25
 1   differing degrees of accuracy.                                   1   membership term, can you please explain what that means?
 2       Q. What do you mean by bias?                                 2       A. So we categorize -- people categorize others
 3       A. So bias would be leanings toward more or less             3   on a whole variety of dimensions. Things like gender is
 4   favorable kinds of impressions or actions toward                 4   a category that people very frequently, commonly put
 5   individuals based on their social category membership.           5   people in, put other people into. You could talk
 6       Q. And when you use the word bias, does that                 6   about things like ethnicity or race. Social class could
 7   include unconscious bias?                                        7   be used as a category. So, really, those -- anything
 8       A. Well, there's certainly different kinds of                8   that -- that distinguish people and put them into groups
 9   categories that we could talk about of bias. In my               9   that are perceived to be somewhat discreet. That is
10   field we do talk about explicit versus implicit bias            10   different kinds of groups can be used as a basis of
11   would be more the terms that might correspond with what         11   categorization.
12   you're talking about.                                           12       Q. And I believe you, also, in your report use
13       Q. So when you -- so when you use the term bias             13   the word prejudice. What does prejudice mean to you?
14   in your report, are you including both explicit and             14       A. Well, more commonly in my field prejudice is
15   implicit bias when you use that term?                           15   generally associated with the differential emotions
16       A. Bias would be an overall umbrella term.                  16   towards different groups. That's how it would be
17       Q. So is the answer "yes"?                                  17   commonly used. Again, it's kind of an umbrella term.
18       A. That would be yes, it could be one or the                18       Q. Okay. So does prejudice incorporate a concept
19   other.                                                          19   of intentional or conscious feelings about a particular
20       Q. Or it could be both?                                     20   group?
21       A. Yeah, sorry. I was about to finish. Or it                21       A. So, you know, first off, that term
22   could be both.                                                  22   intentional, that, I think, has a lot of legal meanings
23       Q. Sorry. I didn't mean to interrupt you.                   23   and may have different interpretations. I think intent
24       A. No, no, that's fine.                                     24   is a concept that's used very commonly in legal
25       Q. In your report do you distinguish -- I don't             25   language; although, again, I want to put the caveat out




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 1   there that I am not a lawyer. So, normally, intent                1       A. Yeah, we should -- that was a convoluted
 2   isn't exactly the way that people in my field tend to             2   question to me.
 3   put this. And when we talk about implicit bias, we're             3       Q. I'll ask it a different way.
 4   talking more about whether people are aware of their              4       A. Yeah, yeah, yeah.
 5   motivations and aware of the mental processes that                5       Q. Does a person have to be aware of their bias
 6   might, for example, lead them to treat people                     6   to engage in discrimination on the basis of that
 7   differently based on their category memberships.                  7   particular social category?
 8       Q. So how does that -- how does that implicit                 8       A. Theoretically, there's the possibility that
 9   bias or un- -- being unaware affect discrimination?               9   they don't have to be. Can we prove that they're
10             (Simultaneous speakers.)                               10   completely unaware? That's -- that's not -- you know,
11       A. All right. So I --                                        11   the research doesn't necessarily show that people are
12       Q. Go ahead. I'm sorry.                                      12   completely unaware of their biases.
13       A. Oh, I'm sorry. Sorry. Go ahead. No, finish,               13       Q. Can you -- do you prove that they're aware
14   please.                                                          14   when you use the word discrimination? Do you -- is that
15       Q. No, go ahead.                                             15   first -- is proving that they're aware of their bias a
16       A. All right. So you're asking me sort of --                 16   condition upon using the word discrimination?
17   kind of an example of implicit bias? Is that what                17       A. Overall, I would say no.
18   you're asking me?                                                18       Q. Okay. So -- and is it true that people have
19       Q. No. I'm trying -- my apologies. I'm trying                19   biases that they are not aware of?
20   to understand the link between implicit bias and                 20       A. Theoretically, that's possible. What I'm
21   discrimination. So let me ask you this question: Can             21   saying is proving that that's true is really quite
22   implicit bias lead to discrimination as you define that          22   tricky or impossible because people, when you're trying
23   term?                                                            23   to assess whether they're aware, that relies on them
24       A. Yes.                                                      24   reporting their awareness; and there are well-known
25       Q. And implicit bias, meaning a bias that someone            25   biases in reporting that awareness.




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 1   is not even aware they have, can lead to differential             1      Q. But you can -- so put in a different way, you
 2   treatment as, i.e., discrimination based on a membership          2   can -- social science has been able to identify biases
 3   in a social category as you define it?                            3   that affect behavior without being able to prove that
 4       A. So the way that we distinguish between                     4   the individual is aware that they have the bias?
 5   explicit and implicit bias concerns methodologies where           5      A. Well, so there is research, for example, where
 6   I don't think we can't pin down that the person is                6   people use what is called a bogus pipeline, basically,
 7   completely unaware of their bias because, with explicit           7   convince people that you have a lie detector sort of
 8   bias, you're asking them the question outright; and               8   arrangement, where if they don't tell the truth, they're
 9   people have a lot of motives not necessarily to tell              9   going to be exposed. And what you typically find in
10   you -- you know, to reveal that they -- that they have a         10   those circumstances is that people will admit to biases
11   bias. So there are social desirability concerns when             11   more readily; but, you know, in research that doesn't do
12   you ask somebody directly about biases toward different          12   that -- and that's not -- you know, that's a
13   groups. The tendency is to deny that.                            13   labor-intensive method that not everybody employs. In
14             So implicit bias research kind of                      14   that research that does not use that kind of
15   developed as a way to bypass those social desirability           15   methodology, we can't tell for sure the degree of
16   tendencies by creating measures where people -- people's         16   awareness or lack of awareness that a person might have.
17   responses aren't as deliberately controlled, that is,            17             So, theoretically, yes. Theoretically, a
18   they can't as easily suppress biases that they may have.         18   person might not be aware of their tendency to treat
19   So the question of whether they're aware of that                 19   people differently or they may not acknowledge it to
20   implicit bias is a very tricky question that I think we          20   themselves, which is maybe slightly different. They may
21   can't completely pin down.                                       21   be not acknowledging it deliberately to other people
22       Q. So when you use the word discrimination, you              22   because they don't want to be -- you know, they don't
23   are not using that word to mean discrimination based on          23   want to see themselves as biased; and they don't want
24   a bias of which someone is necessarily even aware of; is         24   other people to see themselves as biased. So there can
25   that correct?                                                    25   be kind of a suppression of that when you ask people




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 1   about it.                                                        1   describing as discriminating has an intent to
 2             So, you know, what I'm saying is: We                   2   discriminate?
 3   can't prove lack of awareness. Okay? We can show that            3      A. I'm not requiring that the person will report
 4   people who deny that they're being discriminatory and            4   that they have an intent to discriminate. I'm not
 5   who claim to have very strong motives to be non-                 5   requiring that they are necessarily thinking that they
 6   discriminatory, we can demonstrate that those people             6   are discriminating.
 7   may, nevertheless, discriminate; but we don't know their         7      Q. How would you describe animus? Are you
 8   degree of awareness.                                             8   familiar with the term animus?
 9       Q. And so in your report when you use the words              9      A. Animus. Is that -- are you asking me from a
10   bias and discrimination, I presume that you are not             10   legal perspective, or are you asking me from a
11   using those terms to presume that the person is                 11   psychological perspective?
12   necessarily even aware that they have those biases or           12      Q. I'm asking you from a -- your understanding as
13   are engaging in what you call discrimination?                   13   an expert in this case. I'm not asking you for a legal
14       A. I guess the way I would put it is in my report           14   opinion. I'm asking you: What do you -- what do you
15   I'm not making claims of people's degree of awareness of        15   understand that word to mean --
16   their biases.                                                   16      A. Well, it's not --
17       Q. And just to be clear, when you use the word              17      Q. -- in the context of bias and discrimination?
18   bias, you're not making any claim that that person is           18      A. Right. Okay. Well, that specific term is not
19   aware of the bias?                                              19   commonly used in my area; but my understanding of -- I
20             MR. SCHMIDT: Objection, form.                         20   can give you my dictionary definition of the term animus
21       A. I'm not making any claim about people's                  21   as far as I understand it, which would be hostility or
22   awareness of their biases.                                      22   antipathy toward -- in the context of discrimination,
23       Q. (BY MR. GIBSON) And you are not necessarily              23   hostility or antipathy toward a group and members of
24   making a claim that the decision based on that bias is          24   that group by virtue of their membership.
25   driven by an intent or -- to discriminate against that          25      Q. And, again, just to make sure I'm clear, your




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 1   particular group?                                                1   use of the word discrimination in your report does not
 2       A. Well, again, I mean, people reporting on                  2   require that the actions be motivated by hostility or
 3   intent is very tricky in research because people,                3   antipathy to that group; is that correct?
 4   especially in the context of a legal case, are unlikely          4             MR. SCHMIDT: Objection, form.
 5   to say: Yes, I intentionally discriminated, so. But              5       A. So, more broadly, discrimination can take
 6   even in an -- you know, in an experiment or research             6   place in the absence of -- of, you know, overt animus or
 7   where you ask them, people are commonly suppressing              7   antipathy. So that is -- that is a kind of
 8   intent to discriminate. So, you know, I'm not making             8   discrimination that can occur.
 9   claims about people's awareness of their intent to               9       Q (BY MR. GIBSON) And am I correct that your
10   discriminate.                                                   10   report does not distinguish -- when it uses the word
11       Q. Are you making claims about their intent to              11   discrimination, it does not distinguish between
12   discriminate?                                                   12   discrimination that is premised upon overt hostility or
13       A. I think I said no to that question.                      13   antipathy versus discrimination that may be based on an
14       Q. I just want to make sure.                                14   implicit bias?
15       A. Yeah.                                                    15       A. Yeah. So I think the answer to that is "yes."
16       Q. So you're not -- you're not -- when you use              16   I'm not making my -- say, discrimination more generally.
17   the word discrimination, you are not making -- you are          17   It could include both of those things. You know, so
18   not including in that definition any -- you're not              18   there's a variety of things that could be included under
19   presuming or requiring that there be an intent to               19   that umbrella term that lead to unfair discriminatory
20   discriminate when you use the word discriminate?                20   treatment toward people because of a group membership.
21             MR. SCHMIDT: Objection, form.                         21       Q. Okay. You, also, in your report at various
22       A. Could you just repeat that?                              22   points describe how bias and discrimination are very
23       Q. (BY MR. GIBSON) When you use the word                    23   context specific. What do you mean by that?
24   discriminate or discrimination in your report, you are          24       A. So what I mean by that is that -- that,
25   not including a requirement that the person you're              25   really, there are circumstances that are more likely to




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 1   promote the possibility of bias that we know from the            1   situation. So to say that, you know, I wouldn't make an
 2   research that under certain circumstances people will            2   absolute statement, for instance, that, oh, in a culture
 3   engage in bias more readily. So imagine a person who             3   that suggests prejudice and bias is a bad thing, that
 4   does have a bias, has a stereotype that leads to bias or         4   nobody is going to act on a bias and discriminate.
 5   discrimination or can lead to bias or discrimination.            5   That's not true. All right? It means that
 6   That person, under certain circumstances, may not, you           6   discrimination becomes more subtle. It becomes more
 7   know, allow that bias to affect their, say, evaluation           7   covert. It becomes more expressed in situations where
 8   of another person.                                               8   people have a sense that they can deny that they have
 9             So some circumstances permit bias to                   9   discriminatory motives. So that's really what I mean by
10   occur more readily. Some circumstances, you know,               10   it's highly contextual. It's complicated.
11   actively kind of encourage the expression of bias.              11        Q. It sounds like you were referring to a
12   Other circumstances inhibit or mitigate the likelihood          12   particular individual, meaning it's an individual who
13   of bias, and we know this from the research.                    13   has a bias in one -- if they're placed in one
14             So it's -- I mean, you can think of an                14   environment may express that bias more overtly versus if
15   extreme case where somebody is so -- you know, so               15   they're placed in a different environment, they may
16   enamored of a hateful ideology that they're always going        16   express that bias more covertly?
17   to express their bias no matter what cost, no matter            17        A. That's a good example, yes. That's what I was
18   what situation. That's not the typical kind of ways in          18   getting at as an example.
19   which bias gets expressed. That's not a typical kind of         19        Q. Is it also true the context itself can affect
20   case.                                                           20   the research such that whether or -- like, is it
21       Q. Does cultural context matter with respect to             21   important that the research to determine whether or not
22   whether or not biases may lead to discriminatory                22   a particular bias is affecting a particular situation,
23   decisions?                                                      23   such as a workplace, that the research is context
24             MR. SCHMIDT: Objection, form.                         24   specific to the relevant context, meaning, does research
25       A. That's an extremely broad statement.                     25   about workplaces in oil rigs in Saudi Arabia, about the




                                                                35                                                                   37
 1      Q. (BY MR. GIBSON) Question. Question, not a                  1   treatment of women on oil rigs in Saudi Arabia, does it
 2   statement.                                                       2   matter that that's on oil rigs in Saudi Arabia when
 3      A. Oh, okay. An extremely broad, broad question.              3   we're talking about whether that's relevant to white-
 4   You know, at a very broad level, cultural context                4   collar workers in New York City; or is it important that
 5   certainly can matter; but I'm not sure exactly what you          5   the research be more closely aligned with white-collar
 6   have in mind or exactly what you mean by cultural                6   workers in New York City if you're going to make the
 7   context. So I'm a little wary of this question unless I          7   statement that the research applies to the specific
 8   understand a little more in detail what you're -- what           8   context in which you're seeking to apply it?
 9   you're getting at as an example.                                 9        A. Okay. I think I -- I get where you're going
10      Q. Sure. Well, let's start by talking about                  10   with this and what you're trying to get at. And just --
11   location. Does, for instance, cultural context in               11   so this, you know, requires that you really have a kind
12   Saudi Arabia matter relative to the cultural context in         12   of deeper level of understanding of how the field of
13   the United States as to whether bias against, oh, let's         13   social psychology works. And so what we try to do
14   say on the basis of sex may be expressed by a particular        14   generally is to try to understand variables that -- that
15   individual?                                                     15   influence these kinds of things. What are the kinds of
16      A. Absolutely, perceived social norms will, you              16   factors that influence people's tendency to discriminate
17   know, affect the likelihood of expression of prejudice;         17   and understand that -- understand those as psychological
18   but what I want to add to this is that what happens when        18   variables.
19   people perceive the cultural norms to be prohibiting the        19              So I'll just -- I'm going to try to give
20   expression of prejudice is that people will seize on any        20   an example. So let's say that you're trying to
21   other reasons or excuses that seem non-prejudicial to           21   understand how forest fires work, right? You could
22   express their prejudices.                                       22   still study that process outside the context of a
23             So with all of these things, when I say               23   forest. Let's say you're studying the role of oxygen in
24   some factor matters, it's not the only factor; and it           24   fueling a fire, right? Oxygen is, you know, a factor
25   also can interact with other things going on in a               25   that plays into whether the fire is going to be




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 1   propagating itself or not, let's say. All right? I'm             1   laboratory or whether they're people who are operating
 2   not an expert in this area; but that's my understanding,         2   in business, they still are exposed, for instance, to
 3   right? So you could try to study that role in -- you             3   similar gender stereotypes in the culture, right?
 4   know, in a context that is outside of setting a forest           4              So when we understand this more kind of
 5   on fire, right?                                                  5   basic principles kind of level, you can make some
 6              And so those basic processes tend to                  6   generalizations about what happens in different
 7   generalize two different situations. So we understand            7   situations. I could give you another example, but I
 8   these contextual factors in terms of variables.                  8   feel like I've been going on for a long time.
 9              Let me give you another example that may              9       Q. And I'm trying not to interrupt.
10   be -- might be more -- you know, more psychology-like.          10              Let me ask a separate question. Based on
11   For instance, research on obedience to authority                11   reviewing some of the research that you cited in your
12   suggests that people are likely to go along with the            12   report, it appears that attitudes and behaviors towards
13   commands of an authority they see as legitimate                 13   women in the workplace have changed over time. Would
14   authority, right? So we use variables like perceived            14   you agree with that statement?
15   legitimacy. In different cultures who's a perceived             15       A. Again, that's a very broad, general statement,
16   legitimate authority may differ, right?                         16   so --
17              So, you know, a very famous study in                 17       Q. It is. And I'm not -- I'm not asking you to
18   social psychology was the study by Milgram where he             18   be specific. I'm not asking you to agree to every
19   looked at -- he created an authority. A scientist was           19   single thing has changed. I'm asking: Have there been
20   the -- you know, the authority figure; and people               20   changes in the social science re- -- what the social
21   complied with the scientist's orders to seemingly               21   science research shows regarding the treatment of women
22   administer extremely painful shocks to another person in        22   in the workplace over time?
23   a manner that people were quite surprised about how --          23       A. There have been changes; and there have been
24   what percentage of people would actually obey this              24   things that have not changed, yes.
25   authority figure.                                               25       Q. Okay. Do you think it's important that if




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 1              If you try to replicate -- so the point               1   we're trying to apply research to current fact
 2   of that study is, right, as long as they perceive the            2   scenarios, that that research be -- it would be
 3   authority figure to be legitimate, people tended to              3   preferable that that research be closer in time to the
 4   comply with the authority figure. If you manipulated or          4   current state of affairs, rather than a long time ago,
 5   changed the perceived legitimacy of the authority, you           5   particularly with respect to the treatment of women in
 6   could reduce the degree of compliance with the                   6   the workplace?
 7   authority's commands. This -- you know, you have to              7       A. I'd say it's generally preferable that we have
 8   study this in a specific, you know, way, right?                  8   up-to-date research and -- you know, but there are
 9              If you're going to make this an empirical             9   things in social psychology that have certainly held up
10   study, you've got to do something. You've got to -- you         10   over the long run. So there's some since in which, you
11   know, he could have used a different kind of authority,         11   know, some basic processes tend to remain similar over
12   like, it could have been police officers, right? It             12   time.
13   could have been different kinds of things, right?               13       Q. And, similarly, are there differences -- does
14              But what we generally find is that when              14   social science show differences in the way in which
15   we understand these kinds of basic variables and                15   women are treated in the workplace in different
16   processes, like perceived legitimacy, we can test               16   geographies across the world?
17   overarching principles about, for example, when bias is         17       A. Well, again, yes, absolutely. You know, there
18   likely to lead to discrimination; and these give us a           18   are countries in the world where women are simply
19   framework for understanding more broadly what -- you            19   directly forbidden, for instance, from participating in,
20   know, what may be going on in the world. So we                  20   you know, certain aspects of work or -- or, you know,
21   understand the things in terms of these processes and           21   strongly and overtly discouraged. So -- and then there
22   variables that have a pretty good track record of               22   are other places in the world where women are much more
23   generalizing, that is, people are people, right; and            23   likely to -- to be participating in the workforce.
24   they're subject to certain kinds of psychological               24       Q. And would you, again, agree that, in general,
25   principles. Whether they're, you know, students in a            25   if you're trying to apply social science, particularly




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 1   regarding the treatment of women in the workplace, to a          1        A. Where is my report? Okay. I'm sitting on it.
 2   particular fact scenario, to understand what's going on          2   All right. Yes.
 3   in a particular fact scenario, that it would be                  3        Q. So when you talk about social framework
 4   preferable to have social science that is more closely           4   testimony, what is social framework testimony?
 5   aligned with the specific fact scenario that is being            5        A. So my understanding -- and I'm, again, not a
 6   assessed, such as a workplace in the United States --            6   lawyer, okay? So I have some experience with providing
 7   social science based on a workplace in the United States         7   testimony and experience with, you know, dealing with
 8   versus social science based on a workplace in, let's             8   this in courts; but my understanding of social framework
 9   say, China?                                                      9   testimony is that an expert can provide the scientific
10       A. Well, again, broadly speaking, I'd say the               10   framework, in my case, for findings in my field that
11   answer is yes. But, again, I would add some caveats to          11   might be relevant and helpful to a jury to make their --
12   my answer that it really depends on what kind of                12   to inform their decisions in their decision-making
13   processes you're studying; and that might determine how         13   process.
14   applicable. But, yes, certainly in those extremes that          14              My further understanding -- and this
15   you -- that you are citing, yeah, I'd say, broadly, yes.        15   varies from judge to judge, so I wish the rules were --
16       Q. And isn't it also true that social science               16   in the courts were completely clear and unambiguous and
17   varies based on specific workplace environments,                17   consistent across all judges; but they're not. But in
18   particularly around the treatment of women in certain           18   my experience, judges have generally allowed the expert
19   workplace environments? I think in particular you've            19   to talk about relevance to the case; and in my case,
20   cited social science about -- in work environments where        20   I -- I stop short of providing any sort of a sense that
21   women have traditionally not held a strong -- or been           21   I can scientifically determine what happened in a
22   well represented or have not held positions of                  22   particular case for reasons that I could explain.
23   authority, that social science shows that they're               23        Q. So let me make -- see if I understand. So you
24   treated differently versus workplaces where they                24   are -- your report provides, after -- well, starting
25   traditionally have held -- been well represented and            25   with Section IV, I believe it is, basically what I would




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 1   held roles of leadership; is that correct?                       1   call a summary of various social science studies in
 2       A. Yes, in certain ways, that's correct.                     2   various groupings. Would you agree with that?
 3       Q. Okay. And so would you agree that, in                     3   Basically, you sort of do a summary of the studies?
 4   general, if we're trying to look to social science to            4       A. Well, right. I -- what I do is I provide
 5   provide relevant commentary on a particular -- what's            5   information relevant to the case decision-makers based
 6   going on in a particular workplace, it would be better           6   upon the science that I am, you know, a contributor to,
 7   to have social science research that's more closely              7   but I'm also an expert in that I -- you know, so that
 8   aligned with that type of workplace?                             8   I'm providing that as a scientific background that, you
 9       A. Again, I would say, in general, that's                    9   know, includes details, like we've been talking about,
10   something that would be valuable; but depending on what         10   about the kind of contexts in which discrimination is
11   processes you're studying, that wouldn't necessarily            11   more or less likely to occur, which may be relevant to,
12   have to be the case.                                            12   you know, informing their decision-making process.
13            THE WITNESS: We've been going for about                13       Q. And then you provide testimony regarding the
14   an hour. Can we just take a very quick break?                   14   application of that science to the specific facts of
15            MR. GIBSON: Yeah, we can. We can take a                15   this case that's described in the section titled
16   five-minute break.                                              16   Application to the Case in your report; is that correct?
17            THE WITNESS: Sure. Okay. That would be                 17       A. Correct. And that's where there's kind of
18   great.                                                          18   a -- you know, there's separate sections for a reason,
19            THE VIDEOGRAPHER: The time is 9:59 a.m.                19   because the scientific section is, you know, really
20   We are off the record.                                          20   talking about the research, which has a known error rate
21            (Off the record from 9:59 to 10:08 a.m.)               21   and things like that. The application to the case is
22            THE VIDEOGRAPHER: The time is 10:08 a.m.               22   suggesting avenues for the case decision-makers to think
23   We are back on the record.                                      23   about.
24       Q (BY MR. GIBSON) Dr. Glick, I'd like to turn               24       Q. And you say on page 6 of your report that,
25   to Section II of your report, called Type of Testimony.         25   "Social framework testimony aims to inform decision-




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 1   makers about relevant, scientifically validated                  1        A. I am very clear in my report that I am not
 2   principles. This is not the same as performing                   2   conducting studies on the organization, University of
 3   diagnostic tests for individuals or organizations named          3   Texas, or the specific individuals involved and,
 4   in a legal case."                                                4   therefore, cannot come to a scientific conclusion about
 5       A. Correct.                                                  5   whether or not discrimination occurred in this case.
 6       Q. To be clear, your report does not purport to              6   And I'm just very careful about that and very honest
 7   provide scientific analysis of the facts of this case;           7   about that.
 8   is that correct?                                                 8        Q. You do provide opinions that the facts of this
 9       A. Well, I wouldn't put it that way, no. I would             9   case are consistent with discrimination, don't you?
10   say that the Application to the Case section is informed        10        A. I point out where the -- there are, for
11   by expertise in the scientific framework. So that               11   instance, contextual factors that will make
12   expertise in the scientific framework is informative in         12   discrimination more or less likely; and I can talk
13   identifying areas where behavior kind of meshes with or         13   about specific examples in this case if you like. And
14   potentially matches the kind of pattern you would expect        14   I -- and I point out where, based on the research, we'd
15   if certain kinds of bias were occurring. It also                15   expect a certain pattern of kinds of judgments and
16   identifies contextual factors that, you know, might             16   some -- and that, you know, seem to match with -- match
17   mitigate or make bias more likely.                              17   with the -- some of the facts of the case or some of the
18              So it's based on the scientific                      18   testimony in the case.
19   framework, but I want to make clear the distinction             19              So it's really kind of a -- I'm pointing
20   that, in the application to the case, you're not                20   out what patterns we would expect based on the research,
21   conducting a study specifically on the organization or          21   when would discrimination be more or less likely to
22   the people involved, which would, I think, be an undue          22   occur, which form would it be more or less likely to
23   burden and also problematic from a scientific                   23   take, and then point out areas for the jury to consider
24   perspective; but instead, you're using the scientific           24   without telling them -- I'm, again, very explicit that
25   framework and expertise to identify these kinds of              25   I'm not ultimately making the conclusion. They need to




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 1   factors that are, you know, potentially involved in the          1   make a legal judgment. I can't make a scientific
 2   case.                                                            2   judgment that says, you know, that, with a certain
 3       Q. You do not apply a scientifically valid                   3   degree of probability, that discrimination did or did
 4   methodology to provide the opinions that you provide in          4   not occur.
 5   the section called Application to the Case; is that              5      Q. For instance, you say, "The Dean's decision-
 6   correct?                                                         6   making about Dr. Nikolova is consistent with bias
 7       A. Well, again, my opinions are informed by --               7   towards pregnant women, mothers, and workplace
 8       Q. That wasn't my question. I'm not asking -- we             8   accommodation policy use." That's on page 57 if you
 9   can all agree that your opinions -- my guess -- well,            9   would like to refer to it.
10   let me ask you this question: Do you have any opinions          10      A. Yeah, I recall that. That's correct.
11   about discrimination in the workplace that are not              11      Q. So you are making a statement that the Dean's
12   informed by your background? Can you -- can you cast            12   decision-making is consistent with bias towards pregnant
13   off your scientific background when you -- cast that off        13   women?
14   when you provide opinions about discrimination in the           14      A. Yeah, I'm making a statement that if there
15   workplace?                                                      15   were bias towards --
16       A. I don't think so, no.                                    16      Q. I'm sorry. That's not the words -- please
17       Q. Right. So every opinion that you provide                 17   don't restate what you said.
18   about discrimination in the workplace is informed by the        18      A. Okay.
19   fact that you're a scien- -- a social scientist?                19      Q. You didn't --
20       A. It's informed by my understanding of research            20            (Simultaneous speakers.)
21   with a known error rate and all that, yes.                      21      Q. You said, "The Dean's decision-making about
22       Q. Right. So we -- we all understand that. My               22   Dr. Nikolova is consistent."
23   question is: Did you conduct any scientific study of            23      A. Yeah. Yes, yes. I'm not denying anything.
24   the facts of this case to come to the opinions that you         24      Q. Great. Great.
25   provide in the section called Application to this Case?         25      A. I stand by that statement. I'm just




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 1   explaining to you, you know, how I conceive of that              1       Q. And you mentioned that you have served as an
 2   statement; and it's in the context of saying that this           2   expert in the Gould v. Interface case.
 3   is not a scientifically -- this is not a conclusion that         3       A. Correct. Yes, I did.
 4   has a specific probability value to it and that the              4       Q. In that report did you include a section in
 5   ultimate decision about whether it was, indeed,                  5   that report called Application to the Case or a similar
 6   discrimination is up to the case decision-makers.                6   type of section where you sought to apply social science
 7       Q. Is there any scientific methodology that you              7   to the facts of that case?
 8   used that's supported by a peer-accepted and peer-               8       A. Yes, I did.
 9   reviewed methodology that allows you to say that                 9       Q. In your report you also talk about acceptance
10   Dr. Nikolova's de- -- I'm sorry -- the Dean's decision-         10   of social framework testimony by Courts, again, in
11   making about Dr. Nikolova is consistent with bias toward        11   Section II. Are you seeking to provide an opinion
12   pregnant women, mothers, and workplace accommodation            12   about -- a professional opinion, an expert opinion, on
13   policy use?                                                     13   the acceptance of social science framework testimony in
14             MR. SCHMIDT: Objection, form.                         14   legal cases?
15       A. Yeah, could you repeat or restate that?                  15       A. Again, I'll restate that I am not a lawyer.
16       Q (BY MR. GIBSON) Sure. Is there a scientific               16   Okay? So --
17   theory or technique that is generally accepted in the           17       Q. That wasn't my question.
18   scientific community that supports the statement that           18       A. All right. That's my preface to my answer.
19   says, "The Dean's decision-making about Dr. Nikolova is         19   That wasn't my complete answer. All right? You said
20   consistent with bias toward pregnant women, mothers, and        20   you wouldn't interrupt me, so I wasn't done.
21   workplace accommodation policy use"?                            21             All right. So -- oh, now, can you
22       A. Again, if you're asking if I conducted a                 22   restate the question because now I'm -- I'm losing the
23   scientific study on the organization that could draw            23   question?
24   that conclusion to a scientific certainty, the answer is        24       Q. Are you providing -- your report makes
25   "no."                                                           25   statements about the acceptance of social framework




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 1       Q. Are there any peer-reviewed articles that --              1   testimony in legal cases by Courts. Do you have -- are
 2   where researchers engage in the type of statements about         2   you qualified to make that statement?
 3   an individual case based on a re- -- the limited review          3       A. The statement that I made about that is based
 4   of evidence that you conducted in this case to make              4   on my experience. I've done, I don't know, maybe two
 5   statements about whether or not conduct is consistent            5   dozen cases. My testimony, others have challenged --
 6   with bias?                                                       6   you know, tried to get my testimony excluded. The
 7       A. Okay. So, here, I feel like what you're doing             7   opposing side has tried to get my testimony excluded;
 8   is you're saying, you know, would I submit the last              8   and with the exception of the case that you're well
 9   section of this report to a journal as though it's a             9   aware of that was a recent case, my testimony has not
10   journal article that would be peer reviewed and would be        10   been excluded. And, in fact, in a federal court in
11   published. No, that's not the intent of that section.           11   Boston the judge excluded other experts but denied the
12   That's not the context of that section. My                      12   motion to exclude me and specifically praised the way in
13   understanding is that this is a legal case; and that is         13   which I structured my report and drew my conclusions,
14   the rendering of an expert opinion, again, rooted in the        14   which is similar to the way I did it in this case.
15   science of discrimination from somebody who's an expert         15             And, you know, social framework testimony
16   in it.                                                          16   has become a bone of contention, you know; and judges,
17             I believe that other colleagues who were              17   in my understanding -- I'm, again, not claiming to be an
18   similarly rooted and understand this research would come        18   expert in the legal treatment of this testimony. My
19   to similar conclusions, right? But is this the same as          19   understanding is that the rules have generally permitted
20   doing a scientific study? No. I'm very clear about              20   what I do, have even -- and in one case even praised
21   that. I'm not trying to deny anything here. I feel              21   exactly how I do it; but the rules tend to shift from
22   like you're trying to frame that question in a way that,        22   judge to judge. They seem to have a lot of discretion
23   you know -- that makes it sound worse or something like         23   to interpret those rules.
24   that. But, again, I was very straightforward about my           24             And so, yeah, I would love it if the
25   framing of this section and the context of this section.        25   rules were so clear cut and the application of the rules




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 1   were so clear cut that, you know, I could -- I'd be              1       Q. You understand that the -- this Court, the
 2   happy to -- to change the way I do these reports in              2   Western District of Texas, in the decision regarding
 3   order to mesh with the rules that the Courts are playing         3   your report in this case did not find it sufficiently
 4   by; but that seems to shift from judge to judge. That's          4   different to find it unimportant?
 5   my experience. That's my understanding. Do I -- I                5             MR. SCHMIDT: Objection, form.
 6   don't claim to be, you know, a legal expert in social            6       A. Look, again, you know, these are legal
 7   framework testimony or how -- how much discretion judges         7   arguments, right?
 8   have to rule on that.                                            8       Q (BY MR. GIBSON) The reason I'm asking about
 9       Q. Then why did you include opinions to that                 9   them is because you make legal arguments in your report.
10   effect in your report if you don't claim to be an expert        10   So I understand you keep saying they're legal arguments,
11   on that topic?                                                  11   but your report that I'm looking at makes legal
12       A. I'm providing context based on my experiences;           12   arguments about admissibility of this testimony. So you
13   and based on my experiences, I'd never been excluded.           13   can keep saying it's legal arguments; but if you don't
14   And I wrote this report before this recent case in which        14   want me to ask you questions about legal arguments, I
15   that finally happened, right? So, you know, this is my          15   would suggest you not put legal arguments in your
16   understanding. I'm not claiming this to be some sort            16   report. Okay?
17   of -- you know, this is my understanding of the                 17             So I'm going to keep asking you these
18   situation based on my experience.                               18   questions. You can keep qualifying it, but my question
19       Q. Have you written a report since the decision             19   is: Why did you ignore Wal-Mart v. Dukes that
20   in Mullenix?                                                    20   specifically talks about this kind of testimony; and why
21       A. No, I have not.                                          21   did you also ignore the Monahan argument which
22       Q. Will you need to -- when you do, will -- will            22   specifically criticizes the exact methodology that you
23   you include that in your report as a -- so that it              23   employ in this case?
24   includes all relevant data regarding whether or not your        24             MR. SCHMIDT: Objection, form.
25   testimony is admissible?                                        25       A. Okay. So, first off, I just want to say that




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 1       A. Oh, I'm definitely going to take that into                1   I don't feel like I'm making legal arguments. I'm
 2   account. I already -- there were two cases for which I           2   rendering my understanding of how the Courts have
 3   have not yet written a report and I contacted the                3   generally acted. This is my understanding, my
 4   lawyers and I said, "You know, I want you to know about          4   experience. This is not the -- you know, this is --
 5   this. You know, here's my understanding of this ruling;          5   this is my understanding. I'm explaining the rules I'm
 6   and this may change how -- how I structure reports based         6   trying to abide by as I understand them.
 7   on" -- you know; but, again, I'm not a lawyer. So                7             Again, my understanding is that judges
 8   relying on the -- the judgment of lawyers, one lawyer            8   have a lot of discretion in what they decide is
 9   told me: Well, what a -- what a judge in Texas decides           9   admissible or not as far as expert testimony. The case
10   isn't going to affect what a judge in their state               10   that you bring up, Wal-Mart v. Dukes, was a class action
11   decides, even though they're both in federal court.             11   suit; and in that kind of case, if you're talking about
12             So, you know, I'm definitely being up                 12   discrimination against, for instance, women as a class
13   front about this; and I even e-mailed this decision to          13   in a giant corporation, there will be potentially data
14   cases that -- you know, that I'd already written a              14   available to do the kind of study that -- that might
15   report for but, you know, have not, to my knowledge, yet        15   render -- you know, give scientific -- you know, use a
16   been resolved because I want to be very up front and            16   scientific methodology. All right?
17   open about this. And I would prefer to play within              17             So I'm just giving my understanding, my
18   whatever the rules the Courts are playing by; and you           18   experience. I do understand that judges have a lot of
19   know, unfortunately, that seems to be a little bit of           19   discretion, that some, you know, admit this kind of
20   shifting sand, as far as I can tell. So, you know, it's         20   testimony and some don't. I, again, wish that that
21   hard to know exactly what to do.                                21   wasn't the case, that there were really clear-cut kind
22       Q. Why didn't you cite Wal-Mart v. Dukes in your            22   of application of the rules so that I would have more
23   expert report?                                                  23   certainty that I wouldn't be excluded. I didn't like
24       A. Wal-Mart v. Dukes was a class action suit, and           24   the experience of being excluded, you know. And in past
25   that's a substantially different kind of case.                  25   cases, in all of the past cases that I've done, I've




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 1   never been excluded. This sort of testimony has been             1   regarding the facts of the case?
 2   accepted. So in my experience, it's whatever, 1 out of           2       A. The additional information that I have
 3   25; and it was a recent decision.                                3   received, I did receive your Motion for Summary
 4              I am not claiming to have the expertise               4   Judgment, I believe, and then the response to that
 5   to make this as a legal argument. As far as the                  5   motion.
 6   scholars, Monahan and Walker, they don't get to make the         6       Q. Okay. Did you -- did you look at the exhibits
 7   rules. The Courts make the rules. The Courts, in my              7   to that?
 8   experience, have generally accepted this kind of                 8       A. I did not look at the exhibits to that. I did
 9   testimony; and if a judge doesn't, there's not anything          9   not receive those exhibits.
10   I can really do about it.                                       10       Q. Okay. So you saw the motion but not the
11       Q. I would like to move to Section III of your              11   actual evidence cited that was cited as part of the
12   report.                                                         12   motion?
13       A. Sure.                                                    13       A. I did not see the exhibits for those motions.
14       Q. Page 9.                                                  14       Q. Okay. Just to confirm, you have not reviewed
15       A. Page -- okay. Yeah.                                      15   the deposition of Dean Wood in this case; is that
16       Q. I'll just -- is this a list -- this says this            16   correct?
17   is a list of the documents you reviewed in connection           17       A. That's correct, I haven't reviewed her
18   with drafting this report; is that correct?                     18   deposition; but I, you know, have reviewed her
19       A. That is correct.                                         19   explanation of her decision-making or the Committee's --
20       Q. How did -- how were these documents                      20   Committee on Academic Freedom's notes on that.
21   identified, to your knowledge?                                  21       Q. Are those -- so you reviewed notes taken by
22       A. These documents were sent to me by                       22   other people about what she purportedly said to them?
23   Mr. Schmidt.                                                    23       A. Yes, I reviewed notes of what a Committee
24       Q. So these were documents provided to you by               24   contemporaneously documented about what Dean Wood said
25   Plaintiff's Counsel?                                            25   to them. I also -- the Dean's assessment letter for




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 1       A. Yes, that's usually how it works.                         1   Dr. Nikolova. So there were some direct -- you know,
 2       Q. Did you ask him for any additional documents              2   direct primary documents, I would call them, that --
 3   after he provided you these documents?                           3   that represent Dean Wood's justifications and opinion.
 4       A. I asked him to provide me with all of the                 4        Q. Did you review any -- and, again, you didn't
 5   relevant documents; and usually -- I can't recall                5   review any other deposition testimony in this case,
 6   specifically -- but, usually, I make it clear that I             6   correct?
 7   don't want to be surprised in a deposition by the -- you         7        A. Looking at the list, I can't remember any --
 8   know, the existence of other documents I should have             8   any specific depositions in review; but the list -- the
 9   been aware of.                                                   9   list should be complete about what I reviewed at the
10       Q. This list does not include any deposition                10   time that the report was due that was available. And so
11   testimony; is that correct?                                     11   the list on page 9 of my report should be complete; and
12       A. I believe the depositions or most of those               12   then, since then, as I said, I saw the summary motion --
13   depositions were not taken at the time that my report           13   the Motion for Dismissal and the response.
14   was due. So there was, I guess, an agreed-upon                  14        Q. Did you review any policies and procedures
15   deadline, as far as I understand it, as to when my              15   from the University of Texas? I don't see any listed
16   report was due; and depositions had not yet been taken.         16   here.
17       Q. Have you asked for them since that time?                 17        A. Other than what's listed on the list, no.
18       A. Well, I -- I didn't -- I did discuss with, you           18        Q. Okay. Did you review any data regarding
19   know, Mr. Schmidt whether I should be reviewing                 19   teacher evaluations and tenure and promotion from the
20   depositions. The report is based on documents that were         20   University of Texas regarding the treatment of faculty
21   available at the time of my report, and I very                  21   members, including male versus female faculty members,
22   specifically say in the report that I reserve the right         22   in those areas?
23   to alter opinions based on further information.                 23        A. Again, I reviewed what was on the list. I
24       Q. And my question is: Have you received any                24   think there were definitely some things on the list that
25   additional information since writing your report                25   discussed teaching evaluations; but -- but other than




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 1   that, no.                                                        1   your discussion section to note the potential weaknesses
 2       Q. And as I recall in your report, you presume               2   of this and caveats about what you can conclude from it.
 3   certain facts stated in the Plaintiff's complaint are            3       Q. Have you ever personally conducted science
 4   true; or you spec- -- you know, you say, "Assuming these         4   where you make a determination of whether or not someone
 5   facts are true," and then you make statements about              5   is more or less likely to be subject to bias or
 6   those facts. Did you --                                          6   discrimination based solely on evidence provided by that
 7       A. I -- in my report, I'm careful, trying -- I               7   person?
 8   believe I tried not to make credibility judgments; and           8       A. Not that I can think --
 9   that's another understanding that I have of the rules            9       Q. Okay.
10   for social framework testimony based on what the Courts         10       A. -- of offhand, no.
11   allow. And my understanding is that I'm not supposed to         11       Q. Can relying on evidence solely by a person who
12   make credibility judgments, that is, who's -- if there's        12   claims to have been discriminated against of the alleged
13   a he said/she said, I'm not judging who -- who was more         13   discrimination introduce bias into a scientific study?
14   accurate, right? So in those cases, as I very carefully         14             MR. SCHMIDT: Objection, form.
15   state in my report, I say if the jury -- something like,        15       A. Again, I'm -- I'm having a hard time decoding
16   along the lines of: If the jury finds this credible,            16   your question.
17   then, you know, here's something to consider, right? So         17       Q. (BY MR. GIBSON) Do you think it's -- do you
18   I make that contingency very clear. I'm trying to be            18   think that it's reflective of bias that you only
19   careful and fair in that kind of statement.                     19   reviewed evidence that was specifically identified and
20       Q. Do you conduct any scientific research where             20   told to you that you should review by Plaintiff's
21   you rely solely on data provided by the subject to              21   Counsel, who is an advocate for Plaintiff in this case?
22   make -- to provide scientific determinations regarding          22             MR. SCHMIDT: Objection, form.
23   the treatment of that subject, meaning, would you ever          23       A. Again, I asked for whatever would be relevant
24   rely on the person who's alleging to be discriminated           24   to -- to making this case; and that's a pretty common --
25   against in science to give you the evidence -- solely           25   that's commonly how things proceed. And the -- I will




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 1   that person to give you evidence of whether or not they          1   just point out that this -- you know, this evidence, the
 2   have been discriminated against?                                 2   things that I reviewed, include the -- you know, the
 3             MR. SCHMIDT: Objection, form.                          3   Budget Council's procedures and findings; the UT
 4      A. Okay. So I think you're kind of -- I'm                     4   committee who reviewed the decision-making, their
 5   worried that this question is kind of blending science           5   findings; includes Dean Wood's assessment. So it's not
 6   and legal determinations, right?                                 6   like there's only, you know, Dr. Nikolova's voice here.
 7      Q. (BY MR. GIBSON) I don't want to blend the                  7   This is -- you know, there are primary documents that
 8   two.                                                             8   document the ways in which decisions were made.
 9      A. All right.                                                 9             And, furthermore, I do not make the
10      Q. I want to focus on science. Let's focus on                10   ultimate conclusion about whether discrimination
11   science.                                                        11   occurred or not. So I feel like your question is kind
12      A. Right. So, you know, there certainly might be             12   of presuming some things that I didn't do.
13   studies where -- I'm sure there are studies where people        13       Q. Well, you make opinions about whether or not
14   look at the perceptions of individuals on whether               14   the actions of a dean is consistent with discrimination,
15   they're discriminated against; and then in -- you know,         15   correct?
16   when you would -- in your discussion section you would          16       A. I make -- I render opinions about whether
17   make clear what the potential drawbacks to relying on           17   deans -- you know, the kinds of judgments Dean Wood
18   that as, you know, whether or not discrimination                18   make -- made are more or less likely to -- to have -- to
19   occurred.                                                       19   be -- you know, to -- that discrimination would be more
20             So you might be studying people's                     20   or less likely on those kinds of judgments and also
21   perceptions. That's a legitimate area of psychological          21   whether the pattern of judgments made are consistent
22   study. And you might try to correlate those perceptions         22   with the research on, for instance, bias against mothers
23   with other indicators of whether there was                      23   or people who use leave policies for caretaking. So
24   discrimination or not. But, sure, that might happen in          24   those are the kind of judgments I make. Again, I don't
25   a scientific study; but you would be very careful in            25   ultimately render the conclusion about whether




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 1   discrimination occurred.                                         1   carefully in my report, you know, when you're doing
 2       Q. That wasn't my question.                                  2   scientific studies, you can, for instance, create
 3              So you -- are you comfortable making --               3   identical materials and randomly assign people to
 4   rendering opinions about whether or not someone's                4   different conditions and -- and see whether, you know, a
 5   conduct is consistent with discrimination based solely           5   candidate who's labeled as female versus a candidate
 6   on being -- looking at evidence provided to you by the           6   who's labeled as male who has otherwise absolutely
 7   Plaintiff's attorney?                                            7   identical information about them is, on average, treated
 8       A. Well, again, if the -- if the information                 8   differently. That's how we typically really causally
 9   covers the relevant decision-making processes and is --          9   scientifically nail down whether discrimination occurs
10   includes primary documents, I'm comfortable with those.         10   or not.
11   I also very clearly state in my report that if there's          11             And even in those circumstances, we can't
12   additional information, that -- that -- you know, that I        12   for sure identify specific individuals as having
13   reserve the right to alter my judgment after carefully          13   discriminated or not because they're randomly assigned
14   considering it. So if there's some specific sorts of            14   to different conditions; but we can say that overall
15   information that you would like me to review, I'd be            15   there's a tendency for discrimination to occur or not
16   happy to review that; but I'm not going to make an              16   occur in these circumstances. So we can't really do
17   off-the-cuff, you know, determination. I'd have to              17   that in an individual case.
18   weigh it with the rest of the information that I have.          18             And, of course, we talked about social
19       Q. Did you speak with Dr. Nikolova about this               19   desirability biases. I don't think if I interviewed
20   case directly? Have you ever spoken to her directly?            20   Dean Wood and said, "Did you intentionally
21       A. No, I believe I have not.                                21   discriminate," or "Did you discriminate," that, you
22       Q. Okay. What is -- in some of your other                   22   know -- or if I provided her with identical materials
23   reports you use the phrase specific causation. What do          23   from a man versus a woman that she would, you know --
24   you understand the words specific causation to mean?            24   she wouldn't be likely to discriminate because she
25              MR. SCHMIDT: Objection, form.                        25   would -- it would be clear that they were identical.




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 1       A. My understanding of that is that in this kind             1   So, you know, you really can't completely nail that
 2   of legal framework that we've talked about, about social         2   down; and so that's why -- that's why I don't come to a
 3   framework testimony, specific causation would refer to           3   scientific conclusion in that section on the case.
 4   what -- you know, what -- specific causal conclusions            4       Q. In the Mullenix report you state the
 5   about what happened in the case.                                 5   following -- I'm just going to quote this -- "For
 6       Q. (BY MR. GIBSON) And is it general- -- is it               6   specific causation is explained below. Social framework
 7   possible or feasible to conduct a study to determine             7   experts often do not apply a scientific certainty
 8   whether discrimination occurred in a specific case to an         8   standard because it may not be possible or not feasible
 9   individual?                                                      9   to conduct a rigorous study to determine whether
10       A. After the fact, I think it's really impossible           10   discrimination occurred in a specific case to an
11   to completely scientifically nail that down in the              11   individual plaintiff. In such cases experts cannot
12   context of a legal case; and so I just don't think              12   testify with scientific certainty about whether
13   someone who claims they can do that really can do that.         13   discrimination occurred."
14       Q. And is one of the reasons it's very difficult            14       A. Right.
15   to rule out alternative explanations for behavior other         15       Q. You continue -- do you agree with that
16   than discrimination or bias?                                    16   statement with respect to this case as well?
17       A. I'm sorry. Can you repeat that?                          17       A. Yes, I agree with that statement with respect
18       Q. Sure. Is one of the reasons it's difficult or            18   to this case.
19   near impossible to do that in a scientific manner is            19       Q. Similarly, in Mullenix, you -- in your
20   because it's difficult to rule out alternative                  20   Mullenix report you state, "Although I point out ways in
21   explanations for behaviors other than discrimination or         21   which general principles can be applied to the current
22   bias?                                                           22   case and opine about where case facts are consistent
23       A. Okay. So -- so when you say -- the fact that             23   with the possibility of discrimination, I expressly note
24   you can't conduct a study is what you're saying, right?         24   that because alternative explanations cannot be ruled
25   Okay. So, as I explained, I think, very clearly and             25   out, my case opinions do not carry the weight of




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 1   scientific certainty."                                           1   so on.
 2       A. Right, yes. And I think I was consistent with             2        Q. And some of the studies that you cite include
 3   that in the Nikolova report.                                     3   two different kinds of experiments within the same
 4       Q. And you -- just again, you would agree that               4   article or publication, one of which would be what I'll
 5   that statement also applies to the Nikolova report?              5   call a Lab A study that's, you know, sort of in what
 6       A. Yes.                                                      6   I'll call a scenario. It's not the real world, but it's
 7       Q. And, finally, Mullenix at 49 you state,                   7   sort of a hypothetical scenario where undergraduates are
 8   "Because alternative explanations offered by defendant           8   asked to do -- respond in some way. And then they also
 9   to explain their actions cannot be ruled out                     9   include what are called audit studies. What's an audit
10   scientifically, case decision-makers must ultimately            10   study?
11   decide whether they believe discrimination likely did or        11               MR. SCHMIDT: Objection, form.
12   did not occur." Would you agree with that statement as          12        A. An audit study would be to send out, for
13   applied to this case as well?                                   13   example, resumes to employers to a -- you know, it's
14       A. Yes, I would.                                            14   often a large number of employers; and then vary,
15       Q. Okay. Just to confirm, accordingly, can you              15   through random assignment, whether you, for instance,
16   determine with a scientific certainty whether                   16   send the identical resume with a male name versus a
17   discrimination occurred in this case?                           17   female name to see on some measure, like, what
18       A. I think I already stated that; but no, I                 18   percentage of people get called back or, you know, those
19   cannot.                                                         19   kinds of measures. It's a -- it's an attempt to test
20       Q. I would like to start -- go to page 10 of your           20   those things out in more of a, you know, business
21   report. This is where you provide what I'll call a              21   setting.
22   summary of scientific research on stereotyping and              22        Q. (BY MR. GIBSON) In addition, some of the
23   discrimination. Most of these studies -- are most of            23   studies that you cite also look at actual data from
24   these studies done in an experimental environment or in         24   real-world situations, including universities, such as
25   a real-world environment?                                       25   student teacher evaluation data?




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 1       A. There's a mix.                                            1       A. Sure. Some of them look at real-world
 2       Q. What are -- what would you say most of them               2   situations and they're not -- you know, sometimes
 3   are conduct- -- how most of them are conducted?                  3   they're not necessarily experimental studies, that is,
 4       A. I would have to go through and count.                     4   not necessarily randomly assigned and so on. And then
 5       Q. Okay.                                                     5   there's also studies that are in organizations, for
 6       A. So I wasn't keeping count. I -- you know, so              6   instance, looking at rates at which men and women
 7   I couldn't tell you right now.                                   7   receive organizational rewards as compared to how
 8       Q. On page 6 of your report, if I recall                     8   they're evaluated in performance.
 9   correctly, you say -- let's see. Where did I see this?           9       Q. Did you do any of those kind of studies here
10             The second paragraph, about two-thirds of             10   in this case with respect to data from the University of
11   the way down, you say, "Social scientific research on           11   Texas, for instance?
12   stereotyping and discrimination normally involves               12       A. Again, I think I've already answered that
13   voluntary participants who receive assurances (which            13   question. I did not do that kind of study at the
14   they can rely on) that their responses are anonymous and        14   University of Texas. I think that would be a
15   confidential."                                                  15   prohibitive burden on the Plaintiff to perform that kind
16       A. Yes. Certainly in the context of, say, a                 16   of study, and it wouldn't ultimately resolve that
17   laboratory experiment, yeah.                                    17   question of saying to a scientific certainty that the
18       Q. And are these often -- experiments often                 18   Plaintiff herself was discriminated against.
19   conducted using undergraduate students at universities          19               So I think you're -- you're setting -- if
20   and colleges?                                                   20   you're suggesting that that would be something that a
21       A. They're certainly often conducted that way,              21   plaintiff should do, I think for an individual
22   but they're also often conducted in more real-world             22   plaintiff, that's -- that's -- that's asking -- that's
23   settings or with people who have -- increasingly with           23   really placing undue burden on them from my perspective;
24   samples that are obtained on the internet for getting           24   and, also, it's --
25   more diverse samples, more people who are employed, and         25       Q. Is that your personal --




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 1       A. -- not ultimately going to resolve the issue              1   to be credible and true, that provides a background --
 2   from a scientific perspective.                                   2   background information."
 3       Q. Is that your personal opinion, or are you                 3       Q. Again, did you ask for that information?
 4   offering that as an expert that that would provide an            4       A. I did not ask for that information.
 5   undue burden on a plaintiff?                                     5       Q. Okay. I'd like to ask you about some of the
 6       A. Well, as you -- as you noted, everything's                6   studies that you cite in your report. First, if you
 7   informed by my experience as -- you know, as a social            7   could turn to page 11 of your report, in the first
 8   scientist. So I'm -- I'm not giving you a legal                  8   paragraph, third line, you say, "Specifically, in 6
 9   opinion. That's certainly -- "undue burden," I know,             9   studies involving over 4,000 individuals that included
10   has legal resonance. That would be for a judge to               10   both supervisors' performance evaluations and ratings of
11   decide.                                                         11   subordinates 'promotion potential,' even though women
12              My argument would be that: Look, to                  12   were generally rated as performing better than men,
13   demand that an individual plaintiff fund such a large-          13   supervisors were more likely to rate men as having
14   scale study that isn't ultimately -- I mean, that could         14   higher promotion potential than women." Do you see
15   establish that there's a pattern at the university;             15   that?
16   but it ultimately is not going to establish with a              16       A. Yes, I see that.
17   scientific certainty that this individual plaintiff was         17       Q. Okay. In Footnote 20 you cite the Roth
18   discriminated against.                                          18   publication, "A meta-analysis of gender group
19              So I think I'm just pointing out that                19   differences for measures of job performance"?
20   there's kind of a disconnect here between that and then         20       A. Correct, yes.
21   saying with a scientific certainty that this particular         21       Q. Great. Let's talk about the Roth study. It's
22   plaintiff was discriminated against.                            22   going to take me just a second to get that to you. Hold
23       Q. So wouldn't that evidence be more relevant               23   on just a second.
24   than evidence, say, about student teacher evaluations           24            I have to relabel things to make sure I
25   from universities in the Netherlands?                           25   give them the proper exhibit numbers. Just a second.




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 1       A. Well, the research that I cite isn't confined             1             (Exhibit 2 marked.)
 2   to the Netherlands, for one thing.                               2       Q. (BY MR. GIBSON) Okay. It should be in the
 3       Q. I didn't say it was. I didn't say it was.                 3   chat function now.
 4   That wasn't my question. So if you could answer the              4             THE WITNESS: Hey, am I still with you
 5   question instead of taking every question in a                   5   guys --
 6   defensive tone, we could just get through this faster.           6             MR. GIBSON: Yes.
 7   I wasn't -- I didn't say all of your studies were from           7             THE WITNESS: -- because my Zoom is
 8   the Netherlands. I'm asking -- I asked you a question.           8   saying it's not responding? All right. I think it's
 9       A. I'm not trying to be defensive. I'm just                  9   just --
10   trying to -- to make sure that I'm not --                       10             MR. GIBSON: Yes, we can still hear you.
11       Q. You made a statement about the studies that              11             THE WITNESS: Okay. All right. I think
12   are cited in your report that have -- that is not what I        12   it was just having trouble doing both, opening the
13   said in my question.                                            13   document and -- okay. Let's see if that will open.
14       A. If you're asking would it be useful to have              14       A. Yeah, I see it.
15   data on how male and female professors are evaluated            15       Q. (BY MR. GIBSON) Great. Does this appear to
16   within the Cockrell School, for instance, that would be         16   be the study that you're referring to in Footnote 20?
17   useful data.                                                    17       A. It does appear to be that study.
18       Q. Did you ever request that data?                          18       Q. Great. Do you know the timeframe of the
19       A. I did not request that data.                             19   studies that were cited -- well, first, what's a
20       Q. Did you ever request data about the history              20   meta-analysis?
21   of promotion and tenure decisions within the Cockrell           21       A. Okay. A meta-analysis is a statistical
22   School of Engineering or UT Austin in general?                  22   conglomeration of a lot of previous data. So you try
23       A. Well, there was, you know, information about             23   to identify, you know, out there in the research
24   that in the materials I received; and I -- and I cited          24   literature among published studies and even potentially
25   those and said, "Well, if -- you know, if that's found          25   among what seem to be high-quality non-published




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 1   studies, like in a dissertation, the kind of universe of         1   more likely. So that would be something that would be a
 2   studies that might be relevant to a specific question            2   potential moderating factor to look at in -- in a
 3   and then try to aggregate them together statistically to         3   meta-analysis and to see if that -- you know, that shows
 4   try to estimate -- you know, to try to test a question           4   up in the -- in the study results --
 5   or multiple questions.                                           5       Q. Did you --
 6       Q. Okay. Do you know the timeframe of the study              6       A. -- if they even categorize that.
 7   used in this report?                                             7       Q. Did you determine whether or not any of those
 8       A. Let's see. I can't offhand tell you the                   8   additional analyses had been done in this study before
 9   timeframe. I think it took -- when was the study                 9   you relied upon it and using it in this case?
10   published? The study -- the data are, I'm sure, older           10       A. Okay. It's one of many studies that I cited.
11   than exactly when the study was published. It was               11   I, again, can't -- don't have encyclopedic recall for
12   published in 2016; but the data, I believe, were from           12   details of everything that I cited. You know, this is
13   decades of research. That's not uncommon with a                 13   a meta-analysis published in a peer-reviewed good
14   meta-analysis.                                                  14   journal. So I -- I -- you know, I can't -- I reviewed
15       Q. Okay. So do you think you can make -- so                 15   it. I thought it was worth including. I can't tell
16   would it surprise you to find out that some of the              16   you everything about the study in a -- kind of like you
17   studies cited in here are from the 1960s?                       17   pick something out of a specific page, whatever, I'm
18       A. I wouldn't be shocked, no.                               18   happy to look at it; but I can't recall all the details
19       Q. Do you think that that affects the application           19   at this -- offhand, at this moment.
20   of this meta-analysis to current, present-day work              20       Q. You rely on this study in reaching the
21   environments?                                                   21   conclusions in this -- your opinions in this case; is
22       A. Well, I'm trying to remember if in this                  22   that correct?
23   meta-analysis they looked at time of publication as a           23       A. I rely on this as part of the framework, the
24   variable because that would be kind of a typical thing          24   scientific framework, and not just this study. You'll
25   to do to see if the tendency had diminished or not; but         25   see that immediately following, there is a study that,




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 1   I'd have to go back because I'm not an encyclopedia. I           1   arguably, is much better, larger, looking at actual
 2   can't remember for sure if they used the time of                 2   allocation of rewards rather than ratings of
 3   publication as a moderating factor.                              3   promotability, a much larger sample, you know, right?
 4       Q. Okay. Do you know -- and do you think it's                4   And -- and so when you -- you also look for whether
 5   appropriate to use unpublished research in a                     5   there's -- you know, these are both meta-analyses.
 6   meta-analysis?                                                   6   Those -- those are useful studies to cite.
 7       A. Well, usually, the people who are conducting              7       Q. In your statement about the Roth article, you
 8   the meta-analysis, which goes through peer review, the           8   say that there's -- "in 6 studies involving over 4,000
 9   bulk of the studies are usually published; but they also         9   individuals." Can -- I don't understand what studies
10   try to -- to get unpublished studies because, you know,         10   you're citing to because in this meta-analysis, they
11   of concern that they're getting a really good sample.           11   look at much more than six studies.
12   And they try to, you know, look at indicators of quality        12       A. Right, right, they did.
13   of the study. So -- so that's not unusual at all for --         13       Q. Can you --
14   for authors to try to do that, but they usually have            14       A. But only in six studies did they have both
15   criteria that they will impose to try to weed out               15   performance evaluations and ratings of promotability.
16   studies that they see as low in quality.                        16   So the number of studies in which they had ratings of
17       Q. Do you -- do you think it's appropriate to --            17   promotability was much lower than their overall sample.
18   do you think it matters what the context of the study           18   So I didn't want to claim that in their overall sample
19   was in terms of the specific work environment that was          19   that's what they found because they needed to have those
20   being examined?                                                 20   measures included in the study. This is part of the --
21       A. Well, again, that could be a moderating                  21   you know, the -- when you're doing a meta-analysis,
22   variable that people might look at. It really depends.          22   different studies look at different measures. And so,
23   It really depends, you know. For instance, as you               23   you know, this is -- this is really very common that
24   mentioned, we -- the research -- research tends to find         24   there might be a subset of studies where you could test
25   that in male-dominated occupations, discrimination is           25   a question that aren't true for the bulk of studies.




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 1       Q. And so which studies were those? Can you --                1       Q. If you would like time to review that, then
 2   well, first, before I get to there, which -- where in             2   you can do that on a break and come back to it.
 3   the Roth article does it state the statement for which            3       A. Okay.
 4   you cite the article? Can you please identify in the              4       Q. That happens often. But I'm not going to
 5   Roth article where it says that in 6 -- in 6 studies              5   spend my deposition time sitting here with you looking
 6   involving 4,000 individuals that included both of these           6   over a document that is a source, reported source, for a
 7   things?                                                           7   statement in your report that you can't identify how
 8       A. I would --                                                 8   that state- -- reported source supports your statement
 9              MR. SCHMIDT: I'm going -- sorry,                       9   in your report.
10   Dr. Glick -- I would -- if you're -- if you're getting           10             MR. SCHMIDT: Objection, form.
11   into specifics of the article, I think it makes sense            11       A. I can't spontaneously at this moment identify
12   for Dr. Glick to have the time to read and look at it.           12   the spot in which they state that.
13   So I just want to encourage that happening.                      13       Q (BY MR. GIBSON) Okay. Do you know what six
14              MR. GIBSON: Literally -- he's literally               14   studies they were referring to? Does -- so -- this is
15   said a study says a specific thing.                              15   important; and you're rolling your eyes at me,
16              MR. SCHMIDT: Right, and you're asking                 16   Dr. Glick. But there are studies in this meta-analysis
17   where in the article -- sorry.                                   17   that involve 4-H agents in Wisconsin from the 1960s.
18              MR. GIBSON: Robert-- or, Bob, I'd think               18   There are -- there are unpublished studies that don't
19   he would have reviewed this before he made that                  19   even say what in the world they're about. And so I'm
20   statement, so -- and that statement is a specific quote          20   trying to understand. You're making a statement that 6
21   from his -- his article -- from his report; and I'm              21   studies involving 4,000 individuals showed something,
22   simply asking where in the study it says that.                   22   and I'm trying to understand what -- what studies you're
23              MR. SCHMIDT: And I'm saying that he                   23   even talking about. So that's --
24   needs the time to look at the document.                          24             MR. SCHMIDT: Objection, form.
25              MR. GIBSON: Great. We can take -- he                  25       Q. -- what I'm trying to get at.




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 1   can do that on a break. We'll come back to this, and he           1              You can take a break if you want to
 2   can do that on a break. I'll keep asking him questions,           2   come -- as I understand it now, you're unable to
 3   though.                                                           3   identify what those studies are or where that is in this
 4       Q. (BY MR. GIBSON) Actually, let me -- let me                 4   article. Am I correct that you are unable to identify
 5   confirm, Dr. Glick, are you unable to iden- --                    5   which six studies you're talking about from the
 6   currently, without reviewing the Roth study, are you              6   meta-analysis or where the article discusses this point;
 7   unable to identify where in the study it states the               7   is that correct?
 8   statement that you cite it for?                                   8              MR. SCHMIDT: Object to form. Let me --
 9       A. As I stated, I don't have an encyclopedic                  9   let me just talk, Dr. Glick.
10   photographic memory to recall that; and this was written         10              I'm going to object to form.
11   months ago or more than months ago. So I would have to           11              And -- and, Darren, I know this is
12   have time to review the study. And this is what I was            12   important to you and I know you're taking it seriously;
13   going to say even before Mr. Schmidt intervened,                 13   but the tone and the aggressiveness, I think, is -- is
14   helpfully, to make the same point. So, no, I do not              14   uncalled for. And I just ask that you be conscious of
15   have encyclopedic recall.                                        15   that.
16              If you want to give me sufficient time to             16              MR. GIBSON: I would -- I would agree
17   look through this long paper and figure that out, then I         17   except I got eye rolls when I was literally asking him
18   could spend some time doing that. I don't know if that           18   about statements in his -- in his article, so.
19   time counts against your deposition time, but I feel             19              MR. SCHMIDT: I'm not trying to be
20   like it would be fair if it did.                                 20   argumentative with you.
21       Q. Well, or you can say that you are unable to               21              MR. GIBSON: I would suggest the witness
22   ident- -- if your answer wants to be you're unable to            22   also take it as seriously as I take it and I'm sure
23   identify where in the report it makes this claim, you            23   everyone is taking this.
24   can make that statement; and we can move on.                     24              MR. SCHMIDT: And I agree with that; but
25       A. Okay. I --                                                25   I also -- the facts that you're stating, you're talking




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 1   about different 4-H studies. You're making various               1   the page and footnote number or what have you, I think
 2   assumptions that are not in evidence that I don't think          2   the testimony is he cannot do that at this moment. If
 3   we can attest to. In other words, I don't know what --           3   you want to go further in it, we'll do that.
 4   what -- you're making a lot of statements that Dr. Glick         4               MR. GIBSON: Great.
 5   would need the time to review this article to be able to         5        Q (BY MR. GIBSON) If you could, go to the next
 6   respond to. So I just -- that's my objection and my --           6   article, Footnote 21.
 7   and my comment.                                                  7        A. Yes.
 8        A. And to answer the question, at this moment,              8        Q. You said that that was a better meta-analysis
 9   without reviewing the study, I could not identify the            9   that you cited that involved more data and more
10   six studies that are being -- that were included, you           10   subjects; is that correct?
11   know, that had both promotability ratings and evaluation        11        A. I said that what it involved -- yes, I think
12   performance reports.                                            12   it -- I believe, from what I recall, that it -- that it
13              I do just want to respond to the eye-                13   was certainly larger with respect to having both
14   rolling thing. My -- my -- I feel that you are being            14   performance evaluations and measures of organizational
15   belligerent and that you're being unreasonable, and             15   rewards. And in addition to having -- and an addition
16   that's -- that's the reason for it. I a- -- I a- --             16   thing -- additional thing I said was better was that
17   I -- I don't know if I should apologize for the eye             17   they looked at actual organizational rewards rather than
18   rolling. I'm just -- I'm just reacting to what I see as         18   ratings of promotability. So it's actual, you know,
19   kind of hostile, belligerent, and unreasonable demands          19   actions, which is a nice feature of that meta-analysis.
20   to immediately identify something in a very long article        20        Q. Do you know if there were any geographic
21   that I reviewed months and months ago.                          21   limitations to this meta-analysis?
22        Q. (BY MR. GIBSON) And just to be clear, I                 22        A. Not that I can think of at the moment. Again,
23   didn't immediately -- I didn't demand that you                  23   I'm not going to have encyclopedic recall for a
24   immediately identify it. I said if you want to take             24   meta-analysis that reviewed however many studies with
25   time, I'm happy to do so. We can come back to it. I             25   tens of thousands, or even more, participants now.




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 1   still don't -- do you want to do that?                           1        Q. Do you know if there's any industry
 2        A. Well, I guess if Mr. Schmidt thinks it's                 2   limitations in the meta-analysis?
 3   important that I do it, then I would. I -- I -- you              3        A. Not that I'm aware of.
 4   know...                                                          4        Q. And what about time limitations, do you know
 5        Q. I will give you the opportunity. We'll come              5   if there were any time limitations in the meta-analysis?
 6   back to this later; and if you want to supplement your           6        A. There's always time limitations. I'm not sure
 7   answers, you may do so. I'm happy to do that.                    7   what you mean by that. I mean --
 8              I'm not being unreasonable. I'm simply                8        Q. Meaning limitations --
 9   asking for you to identify in an article how it supports         9             (Simultaneous speakers.)
10   a state- -- literally a quote that you've made in your          10             MR. GIBSON: I'm sorry. I didn't mean to
11   report, and I don't think that's unreasonable. I don't          11   up interrupt. I apologize.
12   think it's unreasonable to ask you to explain how a             12        A. Yeah, I'm just saying, I mean, if you mean by
13   citation supports the statement for which you cite the          13   publication year, I mean, obviously, this was published
14   citation.                                                       14   in 2015. So there's not going to be -- studies
15              MR. SCHMIDT: And I'm just going to                   15   conducted or published after 2015 aren't going to be
16   respond real quickly that I don't -- I don't -- Darren,         16   included if that's what you mean by time limitations.
17   it's not an unreasonable question; but for him to do            17             (Exhibit 3 marked.)
18   that, it will take him time to review the article and to        18        Q. (BY MR. GIBSON) So I've added in footnote --
19   find that information. And if you'd like to spend the           19   I'm sorry -- in the chat Exhibit Number 3. If you can,
20   time doing that, we will do that. If you don't want to          20   please open Exhibit Number 3, please.
21   do that, then we'll move on.                                    21             THE WITNESS: It's been more than an hour
22              MR. GIBSON: Great. Thanks. We can move               22   now. I was wondering if we could have a short break
23   on.                                                             23   before we go into this one.
24              MR. SCHMIDT: If you're asking him if he              24             MR. SCHMIDT: I -- I agree. I was going
25   can recall it photographically right now and point to           25   to say the same thing. Whatever -- if -- yeah, whatever




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                                                                90                                                                   92
 1   is a good time for you, Darren --                                1   about the cite -- the research that you cite and
 2              MR. GIBSON: Fine with me.                             2   summarize. That -- I mean, that is what -- the majority
 3              MR. SCHMIDT: -- but if we could take a                3   of your report. Okay? So I am going to be asking you
 4   break at some point.                                             4   about those -- those articles. If you don't -- if you
 5              THE WITNESS: Yeah, yeah, I need a break.              5   need time, if you don't recall, that's totally fine.
 6   All right. Yeah, I mean, I --                                    6   Just say that, and we can come back to it. I'm not
 7              MR. GIBSON: Can I please speak?                       7   going to spend my deposition for you to spend time
 8              THE WITNESS: Yeah.                                    8   reading the articles that you cite so you can answer the
 9              MR. GIBSON: How long of a break would                 9   questions; but if you want to spend time on a break, we
10   you like, in minutes?                                           10   can go back. That's fine, too. Okay. So just, you can
11              THE WITNESS: A five-minute break would               11   say that. Again, I'm not trying to trick you; but I am
12   be fine.                                                        12   going to ask you about very specific things about the
13              MR. SCHMIDT: I'd -- I'd actually like a              13   specific articles that you rely on in your report.
14   ten-minute break. I need to run to the restroom and             14             Okay. Going to the Joshi article, you
15   check out some stuff here. So can we come back in ten           15   have that up, Exhibit Number 3?
16   minutes?                                                        16       A. I have that downloaded, yes.
17              MR. GIBSON: Sure.                                    17       Q. Great. Are you aware -- so, first off, you
18              MR. SCHMIDT: Great. Thank you very                   18   say that -- you quote -- and you're quoting, I think --
19   much.                                                           19   you're quoting the article to say, "Sex differences in
20              MR. GIBSON: We'll come back at 11:26.                20   organizational rewards were almost 14 times larger than
21              MR. SCHMIDT: That sounds great.                      21   sex differences in performance evaluations."
22              THE REPORTER: We're going off the record             22       A. Yes.
23   at 11:17 a.m.                                                   23       Q. Okay. Were the sex differences in performance
24              (Off the record from 11:17 to 11:27 a.m.)            24   evaluations found to be -- were there sex differences,
25              THE VIDEOGRAPHER: The time is 11:27 a.m.             25   statistically significant sex differences, in the




                                                                91                                                                   93
 1   We're back on the record.                                        1   performance evaluations?
 2              MR. GIBSON: Great.                                    2       A. I'm trying to remember. There's -- I'd have
 3       Q. (BY MR. GIBSON) The last section I think we               3   to look. I mean, if it was significant -- statistically
 4   talked over a little bit of each other. Probably -- my           4   significant, it might be because the -- there's so much
 5   guess -- my guess is Debbie probably wasn't very happy           5   power when you have so many participants; but you can
 6   with that. So for her sake and for the record's sake,            6   see right in the abstract that the d score was .04,
 7   let's try to make sure we're not interrupting each               7   which would be considered a very tiny kind of effect,
 8   other.                                                           8   whereas, the sex differences in rewards were d of .56,
 9              Let me finish my question, again; and I               9   which is considered a moderate effect size.
10   think I've been pretty good about letting you provide a         10       Q. Do you think it's approp- -- so if -- if the
11   full answer. I apologize. I may sometimes try and stop          11   differences in performance evaluations were not
12   you if I think we're going left -- in left field. I'm           12   statistically significant, do you think it's appropriate
13   really not -- but I'm going to try not to interrupt.            13   to make a comparison that -- of something that is
14   And if you can, let me ask my question and then                 14   essentially, from a static standpoint, zero that
15   objections be lodged and then answer the question. And          15   something else is fourteen times larger?
16   try to keep the answer to the question -- again, I'm not        16       A. No, I think it's approp- -- I mean, yes, I do
17   trying to say you shouldn't add context; but it really          17   think it's appropriate. Sorry. I phrased that wrong.
18   helps us move forward if you answer the question I asked        18   Yeah, I think it's appropriate. They're comparing the
19   and try to avoid lots of additional things that maybe           19   size of the difference in performance evaluations,
20   would be asked. I'll probably ask, anyway; but just let         20   right, which are either relatively trivial, meaning that
21   me ask it in the next question.                                 21   women were rated about as highly as men on performance
22              I'm also going to be asking you more                 22   evaluations; yet, men were rewarded at a much higher
23   questions about citations. If you don't know, that's            23   rate, you know, relative to those -- that lack of
24   fine. I'm not trying to put you on the spot. I'm not            24   performance evaluation difference. I think that's
25   trying to trick you. I am going to ask you questions            25   entirely appropriate.




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                                                                                              Glick
                                                                94                                                                   96
 1              I will point out that that's quoting                  1   the null effect, which would be the lightest, white-
 2   directly from the article which was accepted in what's           2   colored triangle in the middle, which would mean there
 3   considered a relatively prestigious journal and subject          3   were no statistic -- statistical significance between
 4   to very significant peer review that is in the applied           4   the evaluations of men and women; but in other studies,
 5   area of really trying to study organizations.                    5   there was quite a bit of difference between the
 6       Q. Will you turn to page 1530 of the article,                6   evaluations of men and women, correct?
 7   please?                                                          7       A. Yes.
 8       A. Okay. 15...                                               8       Q. And do you know the specific context of those
 9       Q. And I'll pull this up just so we're all                   9   data -- and it's okay if the answer's no. I just want
10   looking at the same thing.                                      10   to confirm: Do you know the specific context of the
11       A. Yeah.                                                    11   data points that are -- show a statistical difference
12       Q. If I can do this appropriately.                          12   that favor women?
13              Let me do this. Okay. We are now                     13       A. From this chart, no.
14   looking at the Joshi article. Is that what you see on           14       Q. Great. Okay. And if you go to the next
15   your screen, Dr. Glick?                                         15   chart, that is the chart of organizational rewards where
16       A. Well, I'm looking at page 1530 and -- yeah.              16   most but not all of the data points of the studies show
17   So, yeah, that article -- but I'm -- I was looking --           17   a -- that men are receiving more organizational rewards
18   oh, shoot. Now, where...                                        18   than women because that -- those are the data points
19       Q. That's okay. I'll flip to it. We can all                 19   that are on the right side of the chart; is that
20   look at the same thing. I apologize --                          20   correct?
21              (Simultaneous speakers.)                             21       A. That is correct.
22       A. The -- the font is really small on your                  22       Q. However, there are also data points on the
23   screen, and now I sort of lost --                               23   left side of the chart; is that correct?
24       Q. Let me restart --                                        24       A. Yes.
25       A. That's better.                                           25       Q. And those would be studies that show a




                                                                95                                                                   97
 1       Q. Let me restart --                                         1   statistically significant benefit where women receive
 2       A. That's better.                                            2   more of the organizational rewards than men; is that
 3       Q. Dr. Glick, can I restart the questioning?                 3   correct?
 4       A. Sure.                                                     4      A. Correct.
 5       Q. Does Exhibit 3 appear to be the Joshi article             5      Q. Do you know the context of the specific
 6   that's cited in Footnote 21 of your report?                      6   studies that are on the left side of the -- this
 7       A. Yes, it does.                                             7   particular chart?
 8       Q. Great. I'm going to go to -- okay. I am on                8      A. Not from this chart.
 9   page 1530 of Exhibit 3, Figure 1. Do you see that?               9      Q. Okay. Are you aware that this meta-analysis
10       A. Yes, I do.                                               10   looked at studies from all over the world?
11       Q. Great. And does this show the various                    11      A. I, again, want to review the paper before
12   studies -- is it your understanding that each data point        12   making absolute statements about that.
13   is a study that was used in the meta-analysis?                  13      Q. Okay. Well, let's do that. Let's go to page
14       A. I would like to re-read this section just to             14   1536, and I'm going to highlight a section. Do you see
15   make sure; but that's what it appears to be, yes.               15   the -- do you understand that the asterisk -- well, I'm
16       Q. Okay. And does that indicate in some studies             16   on page 1536, which is a list of references; and at the
17   the effect was in favor of women, and in some studies           17   beginning of the list of references it says, "References
18   the effect -- let's talk about performance evaluations          18   marked with an asterisk indicate studies included in the
19   first.                                                          19   meta-analysis." Did I read that correctly?
20       A. Uh-huh.                                                  20      A. Yes.
21       Q. In some studies the effect of the performance            21      Q. So --
22   evaluations favored women; in some studies, it favored          22             (Simultaneous speakers.)
23   men?                                                            23      Q. -- that I'm highlighting that starts with
24       A. Correct.                                                 24   Bhatnagar, B-H-A-T-N-A-G-A-R --
25       Q. Right. And that in some studies it was within            25      A. Yes.




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                                                                 98                                                                   100
 1       Q. -- does that appear to be a study that was                 1       Q. Okay. So are you aware that there are studies
 2   included in the meta-analysis?                                    2   in here about Swiss bankers?
 3       A. That appears to be a study included in the                 3       A. I would trust you if you told me that there
 4   meta-analysis.                                                    4   were.
 5       Q. Does that study appear to relate to Indian                 5       Q. Great. Going back to the chart, I think there
 6   knowledge workers?                                                6   may be one or two studies in here about university
 7       A. Correct.                                                   7   faculty members.
 8       Q. That's -- it's your understanding that's in                8       A. There may be.
 9   India?                                                            9       Q. Do you know if the studies about university --
10       A. Yes, that was -- that's the implication, yes.             10   looking at the charts on page a 1530 of this study, do
11       Q. Do you know if that study -- do you know where            11   you know if the studies about university faculty members
12   that study fell on the charts re- -- that are really             12   are actually the studies that show that there's a
13   the -- as I understand, those two charts summarize the           13   preference in favor of women --
14   data that you really highlight from this study about the         14       A. I can't tell that from this chart.
15   differences between those two effects, correct?                  15       Q. -- in the university faculty context?
16       A. Right.                                                    16             Sorry. In the university faculty
17       Q. Do you know where that chart appears on that              17   context?
18   study?                                                           18       A. Sorry. I thought you were finished with your
19       A. You mean --                                               19   question. I'm looking at the paper and not your face,
20       Q. I mean, where this study appears on the chart.            20   so it's hard to tell when you're done.
21   My apologies.                                                    21             You can't tell from this chart, no.
22       A. Right. Okay. I figured that's what you were               22       Q. So it's possible --
23   asking. No, I do not.                                            23       A. You can't tell either way.
24       Q. And if I told you that there's numerous                   24       Q. So it's possible that those studies that are
25   studies in here from China, would that surprise you?             25   about universities or faculty members actually show the




                                                                 99                                                                   101
 1       A. It would not shock me, no.                                 1   opposite of what the meta-analysis shows?
 2       Q. Okay. Do you think it's appropriate to make                2       A. That could be possible, yes.
 3   conclusions about whether or not something is -- well,            3       Q. And just to confirm, have you done any
 4   do you think it's appropriate to rely on studies from             4   separate analysis of studies involving faculty members
 5   China in making conclusions about how social science              5   at univers- -- at American universities to determine
 6   research may be applicable to the Nikolova case?                  6   what those studies show in this type of context?
 7       A. It really depends on what that study is about.             7       A. Well, I believe in my report there are studies
 8       Q. Great. I'm asking: Do you have an answer                   8   that are about women in engineering that -- you know,
 9   with respect to the specific studies used in this                 9   women in engineering in the U.S., organizational
10   meta-analysis from China? Was it -- is it appropriate            10   climate, those sorts of things. There are certainly
11   to use those studies to make conclusions about the work          11   reports on that that I cite.
12   environment at the University of Texas at Austin in 2021         12       Q. Okay. But in terms of -- other than the
13   that Dr. Nikolova was subject to?                                13   reports you cite from -- I think most of those are from
14       A. Well, again, I think that -- that it would be             14   other social scientists. Have you done any analysis of
15   better to have studies that are closer to the context or         15   the studies that specifically relate to faculty members
16   certainly that are, you know, closer to the setting; but         16   in the United States?
17   that doesn't mean that these studies are useless. And I          17             MR. SCHMIDT: Objection, form.
18   think if you go back to the chart, you see that -- I             18       A. I'm not sure what you're asking me. Have I
19   mean, it's a pretty striking chart -- that there are             19   done analysis of them? Are you asking if I've done
20   relatively few studies that are showing an advantage to          20   research on university faculty directly?
21   women. And if you look at that chart, I mean, there are          21       Q. (BY MR. GIBSON) Yes.
22   studies in here that are from -- from the U.S. or                22       A. Is that what you're asking?
23   northern Europe that might be culturally somewhat                23       Q. Yes.
24   similar in terms of overall gender equality. So I think          24       A. So have I researched that, like, done a study
25   that the meta-analysis is still highly relevant.                 25   myself and researched --




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 1      Q. Yeah.                                                       1        Q. Do you know if any of the studies were from
 2      A. -- not like library research?                               2   countries other than the United States?
 3             Not that I can think of offhand, no.                    3        A. Offhand, I can't tell you.
 4      Q. On Footnote 22, also -- Footnote 16 and                     4        Q. Would it surprise you that there are studies
 5   Footnote 22, you rely on a meta-analysis called Koch,             5   in here from Israel and Malaysia?
 6   K-O-C-H?                                                          6        A. It would not shock me. Again, in a meta -- in
 7      A. I'm not hearing you very well. What --                      7   a meta-analysis people are trying to be comprehensive in
 8      Q. I apologize. I'm not facing my computer. Let                8   what they include and diverse in what they include; and
 9   me restate the question.                                          9   then, from there, it is quite common to try to look at
10             In Footnotes 16 and 22 you cite to a                   10   various moderator variables that might give insight
11   meta-analysis to support the statements in your report;          11   into, for instance, when and where bias might be more
12   and that meta-analysis is authored by someone named              12   prevalent.
13   Koch, K-O-C-H, et al., A Meta-Analysis of Gender                 13        Q. Do you know what portion of these studies
14   Stereotypes and Bias in Experimental Situations [sic] of         14   relied on undergraduates in an experimental context?
15   Employment Decision Making. Do you see that?                     15        A. Again, offhand, I could not tell you that.
16      A. Yes.                                                       16        Q. Did you conduct any analysis of the studies
17      Q. Okay. Let me pull that one up.                             17   upon which this meta-analysis relied upon before using
18             (Exhibit 4 marked.)                                    18   this meta-analysis to -- as a basis for your opinions in
19      Q. (BY MR. GIBSON) That should be in the chat                 19   this case?
20   now, although I didn't open it.                                  20        A. Well, I think if you look at that page, all I
21      A. I'm trying to download it. All right.                      21   say about that meta-analysis is that it's a frequent --
22      Q. I also have it on the screen, so we can talk               22   increasingly frequent topic of research among applied
23   about it from there if you like.                                 23   and organizational psychologists. So for that citation,
24      A. Oh, all right. Well, that might be easier                  24   it's -- I -- I think that's all I said right there.
25   since downloading it seems to be a little bit difficult          25        Q. You also cite it in Footnote 22 as well,




                                                                103                                                                   105
 1   on my computer.                                                   1   correct?
 2       Q. Does this appear to be the article that is                 2       A. Let's see. Footnote 22. Yes, I did.
 3   cited in Footnotes 16 and 22 in your report, the                  3       Q. And you cite that as, "For example,
 4   meta-analysis by Koch, et al?                                     4   organizations can take steps to limit bias in personnel
 5       A. Yes, it does appear to be so.                              5   decisions by relying on objective information and
 6       Q. Great. Are you aware that the studies in this              6   behavioral benchmarks rather than subjective opinions"?
 7   article go back to 1970?                                          7       A. Uh-huh, yes.
 8       A. I trust that that could be the case.                       8       Q. This is the only case -- the only citation you
 9       Q. Do you think that a meta-analysis of gender                9   have to support that statement; is that correct?
10   stereotypes and bias in experimental situations [sic] of         10       A. There are other citations I could provide you
11   employment decisionmaking that relies on studies that go         11   to support that statement.
12   back 50 years is a basis upon which to determine whether         12       Q. That wasn't my question. That's the only
13   or not conduct occurring in 2021 is consistent with              13   citation you provide in your report to support that
14   discrimination?                                                  14   statement; is that correct?
15       A. Well, again -- and I'd have to look through               15       A. I'd have to review all of my report, but that
16   the meta-analysis -- but it's quite common for them to           16   may be the case.
17   look at date of publication as a moderator variable to           17       Q. Okay. Again, before -- you did not conduct a
18   see whether, you know, more recent studies are finding           18   an assessment of the studies in that meta-analysis to
19   something different than older studies, especially in a          19   determine whether or not they were appropriate for using
20   topic like this.                                                 20   in applying the conclusions of that study to this case?
21       Q. Do you know if that was done here?                        21             MR. SCHMIDT: Objection, form.
22       A. Offhand, I can't tell you.                                22       Q. (BY MR. GIBSON) Am I understanding your
23       Q. Okay. Do you know if any of the studies were              23   testimony correctly?
24   in a university setting?                                         24             MR. SCHMIDT: Objection, form.
25       A. Offhand, I couldn't tell you.                             25       A. I am not understanding your question.




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 1       Q. (BY MR. GIBSON) Again, did you conduct an                  1   United Kingdom, the Netherlands, Sweden, Israel,
 2   assessment of the studies used in this meta-analysis              2   Malaysia, Israel again. So you would have been aware
 3   before applying the conclusions of the meta-analysis to           3   that those studies were done in those countries if -- if
 4   this case?                                                        4   you would have looked at it as you think you did?
 5       A. I'm having trouble understanding what you mean             5             MR. SCHMIDT: Objection, form.
 6   by "conduct an assessment."                                       6       A. Yes, I would have been aware that there were
 7       Q. Did you look at the studies, whether as                    7   studies from different parts of the globe and that
 8   they're summarized in meta-analysis or individually,              8   most of the studies, as you said, were -- were from
 9   separately, to determine whether or not they were                 9   North America, Europe, where there's considerable
10   applicable to this case, the Nikolova case?                      10   cultural similarities when it comes to, you know, bias
11       A. I looked at the meta-analysis as a whole and              11   against women.
12   the things discussed in the meta-analysis. If you're             12       Q (BY MR. GIBSON) Sure. Your section on --
13   asking did I go and then read all of the individual              13   well, throughout your report you rely on a lot of
14   studies they cite, no, I did not.                                14   studies that are certainly more than a decade old and in
15       Q. Did you even look at the summary of the                   15   some cases over 20 years old. Do you have any concerns
16   meta-analysis that -- I'm sorry. Did you even look at            16   about relying on studies that are two decades old when
17   the summary of the studies that's in the meta-analysis           17   making statements about how stereotypes about women in
18   to determine whether or not those studies were                   18   the workplace -- you know, whether such stereotypes
19   appropriate bases to create conclusions about this case?         19   exist and how they impact evaluation of women in the
20       A. Summary of the -- I don't know what you mean              20   workplace?
21   by "summary of the studies." The entire meta-analysis            21       A. It depends.
22   is a summary of the studies.                                     22       Q. Well, okay. Let's go to Footnote 23. You
23       Q. So this -- this meta-analysis -- meta-analysis            23   cite an article by Cohen from 1998 to support the
24   includes detailed descriptions of all the studies. And           24   statement, "Other factors exacerbate the likelihood that
25   my question is: Did you go and review those before               25   stereotyping and discrimination will occur. When women




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 1   determining that this was an appropriate meta-analysis            1   or minority group members are underrepresented, they
 2   to use in this case?                                              2   tend to be viewed as a 'poorer fit' for a job than men
 3       A. I do not recall. I'd have to look at the                   3   or majority group members," citing an article from 1998.
 4   study again in detail to answer that question.                    4       A. Okay.
 5       Q. Let's look at it. If you look at the end,                  5       Q. Do you have any concerns about making
 6   they first list all the studies. That starts on                   6   statements about the state of the workplace for women in
 7   page 142, with a similar use of the asterisk to                   7   2021 based on research that was published in 1998?
 8   determine which studies were used in the analysis.                8       A. Well, generally, I rely on my understanding of
 9   There's then a summary of studies by job titles and               9   the research area as a whole. I'm not citing every
10   study year, going back to 1974. There's then an                  10   study that might demonstrate this point. I recently
11   assessment of -- a table of the studies that includes            11   wrote a second edition of a book, co-wrote with my
12   all sorts of information about the studies, where it             12   colleague Lori Rudman, on the social psychology of
13   was -- what country it was from, the study design, the           13   gender, where we reviewed studies in the workplace.
14   type of participants, the various data, and sex                  14   That's just recently been published. And these
15   distribution of the studies. Did you look at any of              15   principles have shown generally to hold up pretty well.
16   this before determining whether or not this                      16            So this is a case where maybe it would
17   meta-analysis was appropriate to use in the Nikolova             17   have been smart of me to update the reference; but based
18   report?                                                          18   on the review that we've conducted, I'm pretty confident
19       A. I believe I looked at it. I can't recall how              19   in these statements.
20   much time I spent on these particular tables.                    20       Q. So are you familiar with the federal rule
21       Q. Okay. So if you looked at it, you would                   21   requiring you to cite the bases upon which your
22   have been aware, for instance, that many of these                22   opinions -- the sources upon which your opinions are
23   studies come from around the globe. So just looking at           23   based?
24   page 151, for instance, while most are from the                  24       A. I am citing --
25   United States, we do see Canada, Austria, Germany, the           25            MR. SCHMIDT: Objection, form.




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 1             Sorry go ahead.                                         1   and -- and look at that. There's -- there's a, you
 2       A. I'm not -- I couldn't cite you the particular              2   know, recent paper by Alice Eagly that looked at this
 3   rule.                                                             3   over decades; and I'm trying to recall offhand -- I
 4       Q. (BY MR. GIBSON) And, similarly, in                         4   mean, the overall message was that men were still
 5   Footnote 32, you cite stereotype -- you cite an article           5   favored on agency. I can't remember whether that gap
 6   from 2002 about gender stereotypes and how that affects           6   was closed significantly or not.
 7   women and men in high-power, dominance-oriented traits.           7       Q. Well, let's look at a study that you -- if you
 8   This is on page 13. And do you agree that it would be             8   go to Footnote 53 you say, "Stereotypes set up different
 9   better to have an article that was closer in time than            9   expect-" --
10   1992 -- I'm sorry -- than 2002 to --                             10            MR. SCHMIDT: Can you show the document
11       A. Yes, and I do. If you look right below it, I              11   that you're referring -- reading from?
12   cite Rudman, Moss-Racusin, Glick, and Phelan -- the              12            MR. GIBSON: Absolutely. We're back to
13   Glick is me --                                                   13   Exhibit Number 1, his report; and I'll pull that up.
14       Q. Uh-huh.                                                   14   Just a second.
15       A. -- in a 2012 review article that reports more             15       Q. (BY MR. GIBSON) Hopefully you should be able
16   recent data.                                                     16   to see that now.
17       Q. Uh-huh.                                                   17       A. I'm not -- I'm still seeing the old one, I
18       A. And the same results come out. Gender                     18   think.
19   stereotypes show a great deal of stability on some               19       Q. You should see your report starting, Gendered
20   dimensions over time.                                            20   Double Standards, at page 18.
21       Q. But not all dimensions; is that correct?                  21       A. Oh, I have my report, so that's fine; but my
22       A. Correct.                                                  22   screen has not changed.
23       Q. What dimensions do they not show stability in?            23            MR. GIBSON: Bob, is that what you're
24       A. Well, the one dimension where they have shown             24   seeing?
25   a change -- well, first off, one dimension where they've         25            MR. SCHMIDT: Yeah, my screen has not




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 1   shown a change is over time to actually ascribe more              1   changed, either. I'm pulling up the report on my -- on
 2   communality or warmth traits to women. Another place              2   my -- as an exhibit.
 3   where they've shown a change is to -- to attribute more           3             MR. GIBSON: I'm not sure why that is.
 4   overall competence to women than was previously the               4             MR. SCHMIDT: What page are you referring
 5   case.                                                             5   to, page 18?
 6       Q. In addition, the -- the gender stereotypes                 6             MR. GIBSON: Page 18.
 7   regarding leadership have been decreasing over time as            7             MR. SCHMIDT: Okay. Just give us -- give
 8   well; is that correct?                                            8   me a second. Okay.
 9       A. I don't know what exactly you're asking.                   9       Q. (BY MR. GIBSON) There we go. Okay. So you
10       Q. So you cite to articles to support the                    10   say that, "Stereotypes set up different expectations for
11   argument that leadership qualities are seen as gender            11   men and women, leading to double standards in how people
12   and the characteristics of good leaders are seen as              12   evaluate individual women and men. High-status roles
13   gender.                                                          13   are typically associated both with stereotypically
14              MR. SCHMIDT: Objection, form.                         14   masculine traits (ambition, assertiveness, decisiveness)
15       A. Yes, and on agentic characteristics the                   15   and with men as 'role of [sic] incumbents.'"
16   gender -- the stereotypes still remain favoring men on           16       A. Role incumbents.
17   these characteristics such as decisive, aggressful --            17       Q. Yeah, role incumbents.
18   aggressive, forceful, dominating, those sorts of things          18             For the first statement you had cited a
19   which are associated with leadership. So there's still           19   report -- article from 2011, another meta-analysis,
20   this association of stereotypically masculine                    20   cited by Koenig; is that correct?
21   characteristics with leadership.                                 21       A. Correct.
22       Q. (BY MR. GIBSON) But those are changing,                   22       Q. Right. Let's look at that. Hang on just a
23   correct? Those are becoming more androgynous, as the             23   second. I'm trying to make sure I'm not showing you
24   research describes?                                              24   guys the wrong thing here.
25       A. To some extent, they -- I'd have to go back               25             (Exhibit 5 marked.)




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 1       Q. (BY MR. GIBSON) Okay. Here's the Koenig                    1        Q. Do you know how the results of that study
 2   article. I'm dropping it into the chat, also opening it           2   might be different if, let's say, Saudi Arabia wasn't
 3   and showing it on the screen. You should now see the              3   included?
 4   Koenig article. Take a second to look at that. Does               4        A. Well, again, it's pretty typical in
 5   this appear to be the article cited in Footnote -- which          5   meta-analyses -- and I'd have to go back and look at
 6   was is --                                                         6   this particular one to see -- but it's pretty typical to
 7       A. Yes, it seems to be the article.                           7   separate some of these issues out to test moderation,
 8       Q. -- 53?                                                     8   that is, is it different, the effects stronger or weaker
 9              Great. Okay. Are you aware that this                   9   depending on timing of the study, depending on where
10   article also uses international studies from China,              10   it's conducted, those sorts of things.
11   Japan, Egypt, Saudi Arabia, and Turkey?                          11        Q. Okay. And this also includes studies from the
12       A. I trust that that could well be the case.                 12   1970s, going back as far as 1973?
13   Again, I'd have to review the article; but the typical           13        A. Yes. Meta-analyses typically include older,
14   procedure in meta-analysis is to try to be inclusive of          14   as well as more recent, studies; and they also typically
15   all published studies.                                           15   look at timing of publication as a possible moderator.
16       Q. Do you think it's appropriate to use an                   16        Q. Did you look to see if this study did that or
17   analysis that relies on, among other things, studies             17   whether -- what the potential impact of that was on this
18   from Saudi Arabia about leadership stereotypes being             18   study?
19   masculine to make determinations about the way that              19        A. At this time I cannot recall specifically.
20   stereotypes and bias function at the University of Texas         20        Q. Turn to page 634 of this study, in particular
21   at Austin in 2021?                                               21   a section called A Priori Moderators. Is this one of
22       A. There are also studies conducted in the                   22   the instances that you're discussing where they look at
23   United States. That's where a lot of the research tends          23   the year of publication to determine whether or not the
24   to be done, so this is not -- this is not a phenomenon           24   results of the study change over time?
25   that's only demonstrated in Saudi Arabia.                        25        A. That looks to be the case, yes.




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 1       Q. But you -- you haven't -- for this particular              1        Q. Great. Does it say that, "Evidence of
 2   point, you didn't cite studies that were done in the              2   increasing" -- the first sentence -- "Evidence of
 3   United States; instead, you cited a meta-analysis that            3   increasing androgyny of the leadership stereotype over
 4   relies on studies from the United States as well as               4   publication years emerged in all three paradigms,
 5   China, Turkey, Egypt, and Saudi Arabia?                           5   including in the multiple regression equations that
 6       A. Yes --                                                     6   controlled for moder- -- other moderator variables"?
 7       Q. My question is --                                          7        A. Where are you seeing that?
 8       A. -- right.                                                  8        Q. The first sentence of A Priori Moderators,
 9       Q. And you didn't answer the question. The                    9   Year of publication.
10   question is: Do you think it's appropriate to make               10        A. Right. Okay. I see. It's really very small.
11   determinations about how -- what -- how stereotypes and          11   Can you make that a little larger?
12   bias function at the University of Texas at Austin in            12        Q. I'm happy to. You should also have it in
13   2021 based on studies from China, Saudi Arabia, Egypt,           13   your -- to be able to --
14   and Turkey?                                                      14        A. Yeah, it's easier if I look at it here because
15             MR. SCHMIDT: Objection, form.                          15   it's --
16       A. If that were based solely on studies from                 16        Q. I'm happy to do that.
17   those countries, the answer would be "no." But my                17        A. -- not slowing us down.
18   opinion is not based solely on studies from those                18        Q. That's about as big as I can make it.
19   countries.                                                       19        A. No, that's good. That's good. Good, good,
20       Q. (BY MR. GIBSON) That statement is based                   20   good.
21   solely -- the only support you provide for that                  21             Okay. So, "Evidence of increasing
22   particular statement in your report for Footnote 53 is           22   androgyny of the leadership stereotype over publication
23   this study, correct?                                             23   years emerged," right, "...including in the multiple
24       A. Which -- yes, this study which includes data              24   regression equations that controlled for all [sic] other
25   from the U.S. as well as from other countries.                   25   moderator variables (albeit as a mod- -- a marginal




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 1   effect in the agency-communion multiple meta-                    1   spoke with Dr. Glick, it took the whole day, I think,
 2   regression.)"                                                    2   so.
 3       Q. So, in conclusion, that paragraph says,                   3             MR. SCHMIDT: Okay.
 4   "Thus, our conclusion is that leadership now, more than          4             MR. GIBSON: I hope not to take the full
 5   in the past, appears to incorporate more feminine                5   day again, but I don't -- I would -- if I had to make an
 6   rational [sic] qualities, such as sensitivity, warmth,           6   estimate, not holding me to it, I would say hopefully
 7   and understanding, thus adding them to the masculine             7   we'll be done by 4:00 o'clock.
 8   dominance and strength qualities traditionally                   8             MR. SCHMIDT: All right. Sounds great.
 9   associated with leadership"?                                     9             MR. NOTZON: So, Dr. Glick, you can make
10       A. Sure.                                                    10   the call on when you want to break for lunch.
11       Q. So then this was in 2011, based on -- so this            11             THE WITNESS: Now's fine.
12   was a decade ago they had already come to this                  12             MR. GIBSON: Great. We'll take a one-
13   conclusion, correct?                                            13   hour lunch break. Be back at 1:15. It's now 12:13. So
14       A. Yes, this conclusion but it doesn't mean that            14   the time back is 1:15. Thanks everybody.
15   there's the -- that discrimination has disappeared on           15             MR. SCHMIDT: Thank you.
16   this dimension.                                                 16             THE VIDEOGRAPHER: The time is 12:13 p.m.
17       Q. Do you --                                                17   We are off the record.
18       A. It means that there has been change over time,           18             (Off the record from 12:13 to 1:27 p.m.)
19   yes.                                                            19             THE VIDEOGRAPHER: The time is 1:27 p.m.
20       Q. Do you know whether or not more recent                   20   We are back on the record.
21   studies -- what recent studies show, within the past            21       Q (BY MR. GIBSON) Dr. Glick, I would like to
22   decade within the United States?                                22   move forward.
23       A. I'd have to look specifically at this paradigm           23             Oh, first, before be proceed, we just
24   in the last decade; and offhand, I can't tell you of --         24   had about a little over an hour break for lunch. Did
25   right now I can't -- you know, I can't cite a study for         25   you want to go back and address, I think it was,




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 1   you.                                                             1   Footnote 20, the Roth article, regarding the questions I
 2       Q. Okay.                                                     2   had asked about that?
 3             THE VIDEOGRAPHER: My apologies for                     3       A. No.
 4   interrupting. Mr. Glick, we can hardly see you on                4       Q. Okay. We will proceed.
 5   camera.                                                          5             Okay. So I'd like to move to the portion
 6             THE WITNESS: Oh, I'm sorry. I'm sorry.                 6   of your report regarding the -- that's entitled -- it
 7   Yeah, I'm looking at the other stuff on the screen.              7   starts on page 21, entitled Discrimination From Below:
 8   Sorry about that.                                                8   Bias In Teaching Evaluations.
 9             MR. NOTZON: While you're at a break in                 9             First off, let's talk about Footnote 70.
10   your questioning right now, are --                              10   That's the Clayson article from 2009. Do you see that?
11             MR. GIBSON: Sure.                                     11       A. Yes.
12             MR. NOTZON: -- do we want to talk about               12       Q. Great. Do you -- do you know if there's any
13   a lunch break; or are you going to try to push through          13   time limitation on that study?
14   and finish?                                                     14       A. Again, I'm not sure if you're asking what the
15             MR. GIBSON: I'm happy to talk about a                 15   timeline is of which -- which publication years they
16   lunch break. I don't think we'll be able to push                16   included.
17   through and finish. So I would suggest we take a lunch          17       Q. Do you know if there's any limit on the
18   break. I think now is a good time. I'm happy to take            18   publication years of that study?
19   it now. If other people have preferences, I'm happy to          19       A. Not that I -- not that I can tell you right
20   follow other people; but we -- we are going to need a           20   now.
21   lunch break.                                                    21       Q. And do you -- are you aware that the study
22             MR. SCHMIDT: And do you have any                      22   includes -- the meta-analysis includes individual
23   estimate of how much longer you're going to go this             23   studies that go back as far as 1953?
24   afternoon?                                                      24       A. Again, I'd have to review the study; but I
25             MR. GIBSON: I mean, the last time I                   25   trust that there might be some older -- older studies in




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 1   there. Again, meta-analyses try to be very inclusive;             1   that study was from, meaning juris- -- what country it
 2   and then they often look at things like publication               2   was from?
 3   year, as we talked about with prior meta-analyses.                3       A. I couldn't tell you for sure, but -- I'm
 4       Q. Do you know if publication year was looked at              4   thinking maybe Germany, but I can't remember for sure.
 5   in this analysis?                                                 5       Q. Let's pull that up.
 6       A. Offhand, I can't tell you. I'd have to go                  6             MR. GIBSON: Okay. Sorry. I had all
 7   back and review it.                                               7   this ready to go, of course; and then my computer made
 8       Q. Okay. Do you know if the case -- any                       8   me reboot. So I had to shut it all down. So sorry it's
 9   difference between the types of classes that were being           9   taking a little longer.
10   evaluated, like, math versus physics, versus business            10             (Exhibit 6 marked.)
11   classes?                                                         11       Q. (BY MR. GIBSON) You should have Exhibit 6 in
12       A. Again, I'd have to go back and review the                 12   your -- in the chat. I'll also pull it up on the share
13   details of the study of the meta-analysis.                       13   screen so that you can confirm that Exhibit 6 is the
14       Q. Okay. Do you know if the meta-analysis                    14   article you're referring to in Footnote 75.
15   included engin- -- any engineering classes?                      15       A. Yes, that looks like it.
16       A. Again, I'd have to go back and look at the                16       Q. Great. Are you aware that this study uses a
17   details of the meta-analysis.                                    17   database from a French university? Do you see that in
18       Q. Okay. Did you conduct any sort of analy- --               18   the very first line?
19   did you review the details of the meta-analysis before           19       A. I see that. So I got Europe right.
20   including it as a basis upon which you -- one of the             20       Q. Great. And are you aware that this study was
21   bases of the conclusions in your report in this case?            21   based on sort of introductory classes at this French
22       A. I read it if that's what you mean.                        22   university?
23       Q. Did you read it as part of drafting this                  23       A. Again, I'd have to review all of it; but...
24   report or have you just -- when you say you've read it,          24       Q. Sure. Do you --
25   does that just mean you've read it at some point in the          25       A. I assume that you're being correct on that.




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 1   past or you've read it as part of drafting the report in          1       Q. Okay. And it does discuss that at some point,
 2   this case?                                                        2   the specific classes somewhere down here in the
 3       A. I've read it as part of drafting the report.               3   analysis. Let's see if we can get there. 22,000
 4       Q. And so that means you made a conclusion that               4   observations involving 4,000 students and 372 teachers.
 5   the -- it was an appropriate study upon which to base             5   It says, "Almost all students are 18 years old, as the
 6   your opinions in this case?                                       6   first-year undergraduate studies at this university are
 7       A. Sure.                                                      7   only open to students who just completed high school."
 8       Q. Okay.                                                      8   Do you see that?
 9              MR. NOTZON: Just to clarify, it was "an"               9       A. Yes.
10   appropriate, instead of inappropriate, correct?                  10       Q. All right. Do you have any understanding that
11              MR. GIBSON: That's correct.                           11   the classes that were reviewed here were STEM classes?
12              (Laughter.)                                           12       A. Again, I'd have to review it to see what
13       Q. (BY MR. GIBSON) An, A-N, appropriate study.               13   the -- no, I can't recall offhand --
14       A. One of other appropriate studies.                         14       Q. Okay.
15       Q. Yes. Obviously, it's one of many that you                 15       A. -- what the classes were, what they included.
16   cite in your report.                                             16       Q. And do you have any concerns about relying
17              Let's in particular shift to the next                 17   on studies from Europe about making conclusions
18   page where you start really going into the studies that          18   about gender bias and student evaluations in the
19   support the link between sex and student evaluations,            19   United States?
20   particularly on Bullet Point 70- -- I'm sorry --                 20       A. To the extent that they tend to be consistent
21   Footnote 75. Are you -- Footnote 75 is an article by a           21   with other studies, I don't have a particular concern
22   researcher named Boring.                                         22   here.
23       A. Uh-huh.                                                   23       Q. Okay. Let's look at one of those studies.
24       Q. Do you know where the -- Gender Biases in                 24   Let's look at Footnote 76. That's the article by
25   Student Evaluations, do you know where the evidence in           25   MacNell. I'll pull that one up.




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 1             It takes time to get these all in the                   1   this was a STEM class?
 2   proper order.                                                     2       A. No, that would not be what I think I would
 3       A. Well, I guess we have all day or seven hours               3   classify as a STEM class.
 4   of the day.                                                       4       Q. Okay. In the -- Footnote 76, however, is
 5       Q. We do have seven hours; and this is certainly              5   citing the following -- is cited to support the
 6   on my time, so.                                                   6   following sentence, "Given that math content and female
 7             (Exhibit 7 marked.)                                     7   professors are associated with lower ratings, it is not
 8       Q. (BY MR. GIBSON) All right. And here,                       8   surprising that female (compared to male) STEM
 9   Exhibit 7 should now be in the chat. I will open                  9   professors receive lower average teaching evaluations,"
10   Exhibit 7. You should now be able to see Exhibit 7 now.          10   Cite 76, MacNell.
11   Does Exhibit 7 appear to be the article cited in                 11       A. Let me just see here, 76. Yeah, I mean, I --
12   Footnote 76 of your report?                                      12   that -- that -- I think what I'm citing there is the
13       A. Yes, it appears to be so.                                 13   sort of female-and-male gender difference, that part of
14       Q. Great. Do you recall that this article was                14   the sentence. So I suppose I could move the footnote to
15   based on looking at students, undergraduate students, at         15   the earlier part of the sentence.
16   a North Carolina public university?                              16       Q. So just to be clear, there's not
17       A. I don't remember North Carolina, but I trust              17   necessarily -- this doesn't appear that this study
18   your word for it.                                                18   supports a particular application of the math content
19       Q. And when you say STEM in your report, what do             19   STEM portion of the sentence?
20   you mean by STEM?                                                20       A. Right, right.
21       A. Science, technology, engineering, and math is             21       Q. Okay. And I think the previous study we
22   what the acronym stands for. So that's a variety of              22   looked at, it did not -- or you did not recall whether
23   fields ranging from biology, chemistry, math,                    23   it specifically identified studies -- the classes that
24   engineering. It can be applied fields as well as basic           24   were being taught to the new 18-year-old French college
25   science fields.                                                  25   students, correct? That study did not necessarily -- it




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 1       Q. Do you consider social sciences to be part of              1   wasn't clear that that study included any STEM classes?
 2   the "S" of STEM?                                                  2       A. Not that I can recall.
 3       A. I think they're not typically what people                  3       Q. Okay. Similarly, in Footnote 79, are you
 4   necessarily include in STEM. I'm not sure what the                4   aware that that study that you cite -- and you spend a
 5   National Science Foundation would say about that. You             5   paragraph discussing that study -- was a study based on
 6   know, psychology is a scientific field and it does use a          6   business school -- a business school in the Netherlands?
 7   lot of the methodologies that are similar to the natural          7       A. That could be, yeah. I mean, I trust your
 8   sciences; but I would say overall, I think people                 8   word for it.
 9   typically are referring to natural sciences more.                 9       Q. Okay. So in that whole section there's a
10       Q. And fields like anthropology are not                      10   study called Mitchell, K. M., Gender bias in student
11   necessarily math-based fields, and would you agree that          11   evaluations. I don't think I have that one up. I
12   sort of anthropology is moving even farther away from            12   apologize. But are you aware of whether or not that
13   what might be considered STEM than even psychology?              13   study relates to students in the United States?
14       A. It depends. Yeah, I mean, overall; but it                 14       A. I could not tell you offhand.
15   depends on the type of anthropology that people are              15       Q. And do you know if that study related to STEM
16   doing. There's some very intensive -- math-intensive             16   fields?
17   anthropology. So it's -- there's a lot of subfields in           17       A. I couldn't tell you offhand. I'd have to,
18   anthropology is my understanding.                                18   again, go back and look at it to be sure.
19       Q. Great. I'm just going to page 296 just to                 19       Q. Okay. Going back to this study that you rely
20   show you that in this study it says: Data were                   20   on, the MacNell study from North Carolina, do you know
21   collected from online introductory-level anthropology/           21   how many students were involved in that study?
22   sociology course offered during a summer session at a            22       A. Again, I'd have to review it. I'm not going
23   large public university in North Carolina.                       23   to memorize the number of participants.
24       A. Yes.                                                      24       Q. Sure. I'm looking at page 293, Experimental
25       Q. Does that, in your view, necessarily mean that            25   Design. Does this appear to show that there were




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 1   approximately 43 students in this study?                          1   discriminate.
 2       A. Yeah, that's what that table seems to                      2       Q. Let's talk about some of that. In the
 3   indicate.                                                         3   Footnotes 83 through 86, those are some of the articles
 4       Q. Okay.                                                      4   you cite, correct?
 5       A. But there will be a participants section,                  5       A. Correct.
 6   probably, if you scroll back up; and that will tell you           6       Q. Do you know what country those are based off,
 7   for sure, typically.                                              7   the countries?
 8       Q. That's going to be --                                      8       A. Generally, the Netherlands.
 9             (Simultaneous speakers.)                                9       Q. Yeah.
10       A. Yeah, they're not really using that format.               10       A. That's where those researchers are based.
11   Okay.                                                            11       Q. Uh-huh. So Derks, et al. -- there's multiple
12       Q. Okay. I just want to make sure that this --               12   articles from Derks, et al.
13   the study that at least we're confident is from the              13       A. Uh-huh.
14   United States relied on 43 students in a class in                14       Q. Those are all articles based on research done
15   North Carolina, anthropology class in North Carolina,            15   in the Netherlands; isn't that correct?
16   correct? Did I get that right?                                   16       A. I don't know if I want to commit to "all," but
17       A. This particular study. It appears so for this             17   generally I would say their research is typically done
18   particular study; but, again, I'd like to -- to have             18   in the Netherlands. That's their base.
19   time to really review it.                                        19       Q. As well as the footnote in 85, Ellemers, is
20       Q. The next section you have discusses -- is                 20   that -- would you agree that's also conducted in the
21   entitled Discrimination From Above: Female Leaders in            21   Netherlands?
22   STEM Also Discriminate Against Women. Do you see that            22       A. Most likely. She's also Dutch.
23   section starting at page 24?                                     23       Q. And then Faniko, that -- would it surprise you
24       A. Yes, I do.                                                24   to find out that article was conducted in Switzerland?
25       Q. Okay. Let me make sure I'm looking at this                25       A. That wouldn't shock me, no.




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 1   correctly here. You have a statement starting in the              1       Q. Okay. And those articles focus on a
 2   second sentence. It says, "However, absent a critical             2   particular phenomenon called The Queen Bee phenomenon in
 3   mass that approaches gender parity in representation,             3   Academia.
 4   women (as compared to men) who achieve authority in               4       A. Correct.
 5   masculine fields can be just as, and sometimes more               5       Q. What is The Queen Bee phenomenon in Academia?
 6   likely to discriminate against women. For example, in             6       A. Well, as my report explains, when there's a
 7   an 'audit' study..." And then you go on to cite an                7   field in academia that's heavily male dominated, women
 8   audit study cited in Footnote 81 regarding -- it's                8   who advance in that field tend to kind of assimilate the
 9   entitled -- Ross -- Moss-Racusin is the author?                   9   values that are -- tend to be more kind of -- we could
10       A. Yes. That was in the proceedings of National              10   call them masculine values; and also they tend to --
11   Academy of Science, and that did look at actually STEM           11   research has shown, to question the commitment of women
12   faculty.                                                         12   who are junior in the field. And they are also kind of
13       Q. And it says -- is there -- are you citing that            13   reluctant to -- to identify strongly with feminine
14   study for the -- to support the statement that women are         14   traits. So they kind of -- there's also a tendency to
15   more likely to discriminate against women?                       15   kind of -- to reject feminine traits.
16       A. That one showed no difference in the tendency             16              So it's an effect of assimilating into
17   to discriminate between male and female STEM faculty in          17   their field; and the results show that they can be even
18   the U.S.                                                         18   more discriminatory toward women than men, which most
19       Q. That's what I thought. So why did you cite                19   people, I think, find kind of surprising that women
20   that study to support the statement that women sometimes         20   would be as or more discriminatory.
21   are more likely to discriminate against women when the           21       Q. How much more likely are they? You say they
22   study found that not to be the case?                             22   tend to discriminate against women more than men. How
23       A. Because I go on to cite other studies that                23   much more likely?
24   involve STEM faculty that show circumstances under which         24       A. Well, in the Faniko, et al., they look at this
25   women are actually more likely, on average, to                   25   over time. So that's a 2020 study. So it looks at some




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 1   of their older data and recent data. So that's nice               1   you that kind of figure from the data. I can tell you
 2   from the perspective of does it still happen. In fact,            2   that the difference, the average difference, was a
 3   that was kind of part of the major theme of the article;          3   pretty palpable one and was statistically significant;
 4   and they found similar findings in recent data as they            4   but they -- as I said, I asked them for effect size so
 5   found in older data. And the effect sizes -- I actually           5   that I could sort of approach more the answer to the
 6   e-mailed them about effect sizes. I haven't gotten --             6   question that you're asking. But I think we -- last
 7   they said they would get back to me, but they haven't             7   time we had kind of a go-round on effect size and I
 8   yet sent me the actual effect sizes.                              8   think we were somewhat talking past each other on some
 9             But if you look at the mean differences                 9   of these points; but in this study, I don't have --
10   on the rating scales -- I can't -- one to five or one to         10   they didn't publish the information that would allow you
11   seven rating scale, for instance, on perceived career            11   to -- to really test it.
12   commitment, the differences are -- are something on the          12       Q. Okay. Let's go back to -- let's just go back
13   order of between .5 to 1 point on -- five- or                    13   a little bit to the bias in teaching evaluations. How
14   seven-point rating scale. So that's -- that's generally          14   much more likely is it that an individual student will,
15   a pretty big difference. We assume a standard deviation          15   in fact, exhibit bias towards -- as you allege in your
16   was around 1 on those types of scales. That's what I             16   report, that an individual student will exhibit bias
17   usually find. Then that's a difference of probably a             17   towards a female professor, relative to a male
18   moderate to a large effect in having -- in that -- you           18   professor, because, again, just to make sure we're all
19   know, women questioning the career commitment of junior          19   on the same page, some students will not exhibit any
20   female colleagues more so than men.                              20   bias, correct?
21       Q. And certainly with -- as with, I think,                   21       A. Sure.
22   virtually all of these studies, that doesn't mean that           22       Q. And some of the students might exhibit bias
23   every female academic necessarily behaves in that                23   towards female professors relative to male professors,
24   manner, correct?                                                 24   correct?
25       A. Absolutely. Absolutely correct. It's always,              25       A. That would be possible.




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 1   as I've said, complicated, right? And there's always a            1       Q. But, on average, the studies that you cited
 2   lot of different what we call variance, V-A-R-I-A-N-C-E.          2   found that, on average, students tended to favor male
 3   In the last deposition that was translated into variant;          3   professors in evaluations relative to female professors?
 4   it's variance. There's always a lot of variance; that             4       A. Right, correct.
 5   is there's a lot of factors that go into, for instance,           5       Q. And my question is: How -- by how much? Do
 6   how people rate each other. And so there's a -- you               6   you have any way to quantify the effect of this
 7   know, there's -- but there's an average difference;               7   favoring? Is it by 1 percent, 10 percent, a hundred
 8   that's -- that's what we're talking about. It doesn't             8   percent, any sort of way to quantify that?
 9   mean there are no exceptions by any means.                        9       A. Okay. Well, there's different ways you can
10        Q. And just to be clear, some women in leadership           10   look at it. One, you can look at the size of a mean
11   in academia may treat other women better; some women may         11   difference; and, you know, let's say teaching ratings
12   treat other women worse, but these studies that you've           12   are made on a one-to-five scale. Is that mean
13   cited found that, on average, women in those leadership          13   difference a .1 difference, which might be, you know, a
14   positions treated other women less favorably?                    14   sig- -- you could get that to be a -- possibly a
15        A. Yes, we're on the same page.                             15   statistically reliable effect; but it's certainly much
16        Q. Great. And so my question is: How much more              16   less of a -- of an effect than if it was a 1.0
17   likely was it that a woman in that position would treat          17   difference, right?
18   women -- men -- or -- I'm sorry -- women less favorably          18              And there's other measures that we've
19   than men? Was it twice as likely, 10 percent more                19   talked about in the past, you and I, of effect size
20   likely, three times as likely? Do we -- do you have any          20   that can give you some sense of if you've randomly
21   sense of how strong this effect was in terms of how              21   selected -- and this is where I think we went wrong in
22   likely is it that a woman in that position will treat            22   our conversation -- but if you framed it this way, if
23   women less favorably based on --                                 23   you randomly selected an individual from the condition
24        A. Well, you can't -- okay. So first off,                   24   in which they rated a woman and you randomly selected an
25   they -- the way they reported the data, I can't give             25   individual, you know, in the condition where they rated




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 1   a man, you could, from that information, get a sense of           1       Q. In particular, I wanted to ask you -- hold on
 2   the likelihood that the woman would be rated lower than           2   just a second.
 3   the man or -- you know, or higher than the man, those             3             In that study, it studied -- used
 4   sorts of probabilities.                                           4   undergraduate volun- -- or paid -- paid undergraduates
 5        Q. Just to be clear, you don't have any of that              5   for this study; and it looked at both female applicants
 6   information, either with you today or as part of your             6   who were mothers and nonmothers and male applicants who
 7   report, meaning -- meaning, you have not attempted to             7   were fathers and nonfathers. Does that sound familiar?
 8   quantify this effect to determine how much more likely            8       A. Yes, that was part of that article.
 9   it is that a student, given student, or even a group of           9             MR. GIBSON: Let me just go ahead and
10   students, may or may not favor a male faculty member             10   pull this up in case we need to refer to this.
11   when engaging in student teacher evaluations?                    11             (Exhibit 8 marked.)
12        A. I haven't calculated that probability for                12       Q. (BY MR. GIBSON) Do you see that now?
13   these studies. Sometimes you can't do that, depending            13       A. Yes, that looks like the article.
14   on how they report the data; but I certainly have paid           14       Q. Chicago Journals --
15   attention to the strength of the effect, the relative            15       A. Journal of Sociology -- American Journal of
16   strength of the effect, that is, the relative strength           16   Sociology.
17   of average differences.                                          17       Q. Got it. Okay. Let's jump down to some of the
18        Q. Going back to page 26 we were discussing                 18   results here.
19   previously, you do cite to one study in Footnote 87              19             MR. SCHMIDT: Sorry to interrupt, Darren.
20   that's from the United States; but unlike the other              20   Did you put that in the chat section to download?
21   studies you cite, this one is not in academia but in             21             MR. GIBSON: Sorry about that. Let me do
22   business; is that correct?                                       22   that real quick. Sorry.
23        A. Yes.                                                     23             It should be there now. Thanks for that,
24        Q. Okay. And then on page 27 in Footnote 88,                24   Bob.
25   you cite a study. That study's from Hong Kong; is that           25             MR. SCHMIDT: Thank you.




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 1   correct?                                                          1       Q (BY MR. GIBSON) Okay. Particularly, I want
 2       A. That may be the case. Yeah, I can't tell you               2   to go to page 1316 of the article. Let me go down here
 3   offhand.                                                          3   a little bit, and I'll blow this up. It appears to be
 4       Q. Do you know if any of the other studies that               4   Table 1 from the article; is that correct, Dr. Glick?
 5   you cite are studies from the United States?                      5       A. Yes, that's the further experimental study
 6       A. Any of the other studies in this entire                    6   that you mentioned.
 7   section?                                                          7       Q. Right. And in particular, doesn't this
 8       Q. That you cite in section in Footnote 89, 90,               8   show that -- this is in the study using the paid
 9   91.                                                               9   undergraduates; and you were correct that there were
10       A. Well, certainly the authors in 89 and 90 are              10   two -- well, you might have mentioned there were two
11   American authors. You know, 92 -- oh, 91. I mean, I              11   studies in this article --
12   can't -- again, I'd have to go back and look.                    12       A. Correct.
13       Q. Okay. Going to the next section called                    13       Q. -- a paid undergraduate study and then an
14   Pregnancy and Motherhood, you cite to a Halpert study            14   audit study looking at some data from -- I don't -- I
15   in Footnote 95 and 97. That study involved undergrad --          15   forget exactly what the audit study was; but we can
16   are you aware that that study involved the opinions of           16   look at that.
17   undergraduates regarding working mothers?                        17               But in this study, this table, does
18       A. I'd have to look at that again because I think            18   that actually -- that actually shows that the female
19   that might have had more than one study contained in it,         19   applicants who were mothers were -- had the lowest
20   but I'd -- I'd have to go back and review it.                    20   proportion of recommended for hire, as shown on the
21       Q. I'd like to go to the study that's cited at               21   last line; is that correct?
22   Tab -- I'm sorry -- Footnote 99 and 101 regarding the            22       A. Yes. Correct, that's a significant difference
23   Correll -- it's titled -- Correll is the name of the             23   from the rest.
24   first author.                                                    24       Q. And the next proportion is male applicants,
25       A. Yep, Shelley Correll. Yeah.                               25   nonfathers?




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 1       A. Right. Male applicants, nonfathers, yes.                   1   statement -- this is on page 1330 -- "While we find no
 2       Q. And then next is male applicants, fathers?                 2   evidence of a fatherhood bonus in the audit study, as
 3       A. Right.                                                     3   shown by the insignificant effect of parent status, the
 4       Q. And then next is actually female applicants,               4   significant and positive main effect for the female
 5   nonmothers?                                                       5   applicant variable means that childless women are
 6       A. Right. Female applicants, nonmothers, yes.                 6   significantly more likely to receive a callback from
 7       Q. So female applicants who were not identified               7   employers compared with equally qualified childless
 8   as mothers were the most likely be identified as a                8   men."
 9   recommended for hire; is that correct?                            9       A. Yes, they found that in this study.
10       A. Yeah, well, now, you've got to look at whether            10       Q. Does that support the idea that, in fact, if a
11   there's statistically significant reliable differences,          11   woman does not have children, that she is actually more
12   right? So it depends on which comparisons are being              12   likely to receive a callback than --
13   made; and the comparison's between the parents and               13       A. In that particular study, that's what they
14   nonparents of the same gender, I think. So we can't              14   found.
15   say that the -- for instance, that the nonmothers and            15       Q. Okay.
16   nonfathers are necessarily statistically significantly           16       A. At the same time -- at the same time they
17   different.                                                       17   found discrimination against mothers.
18       Q. They didn't do that analysis?                             18       Q. So they found discrimination against mothers?
19       A. I think not. I'd have to go back and really               19       A. Right.
20   read over it carefully to be sure, but they imply                20       Q. So you're equating the fact that mothers were
21   differences between parents and nonparents. So that              21   less likely to be called back as discrimination?
22   would be within gender, I believe. And so that, yeah,            22       A. Yeah, that would be a discrimination paradigm;
23   it depends on which comparisons they report.                     23   and here there seems to be discrimination in favor of
24              So, you know, you're going to get                     24   the childless woman relative to the childless man.
25   fluctuation in any mean, if you just -- like if you just         25       Q. Okay. So some studies actually show




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 1   repeated the experiment or -- you know, right? You                1   discrimination in the reverse?
 2   know, people's ratings vary, right, within the same               2        A. That can happen.
 3   condition. So you're going to get fluctuations between            3        Q. It's not called reverse discrimination,
 4   conditions that are not necessarily statistically                 4   meaning discrimination against men, in favor of women in
 5   significant.                                                      5   certain contexts?
 6       Q. Okay.                                                      6        A. Yes. It's highly contextual, yeah.
 7       A. And I think they were highlighting comparisons             7        Q. And do you know what the context of this study
 8   between parents and nonparents. That seems to be what             8   was, of particularly the audit study that they're
 9   the footnotes are saying. So that would mean that there           9   looking at?
10   was a highly statistically significant difference with           10        A. What do you mean by the context? I mean, they
11   that double dagger or an asterisk, or whatever they're           11   sent out resumes to various kinds of possible employers,
12   showing there, or a significant difference between the           12   similar resumes with male versus female names randomly
13   female applicants for the mothers and nonmothers. And            13   assigned. They used this callback statistic, which is a
14   then for the fathers, the fathers were preferred over            14   standard to use in -- in these audit studies because
15   the nonfathers. But I don't think they're making the             15   it's a convenient kind of statistic; but, of course,
16   comparisons the other direction, which is -- you know,           16   callback doesn't mean that you actually get the job.
17   would be a good thing to compare as well; but I don't            17                And callbacks, you know, as you'll see,
18   think we can infer that those are -- those other means           18   it's a -- it's a smaller portion that gets called back.
19   are different.                                                   19   So it's a -- you know, it's a little bit of a -- you're
20       Q. Hold on just a second.                                    20   sacrificing -- if you look in the first study, you had
21             Let's go to page 1330 and see what they                21   all these variables that they were looking at, right?
22   have to say there. I'm not sure whether they make any            22   You're sacrificing some element of precision to go for
23   conclusions with respect to the -- that study,                   23   this kind of more realistic group that you're polling
24   Number 1; but they do make conclusions with respect to           24   and also, you know, to do it in a kind of the real-world
25   the audit study. And I want to highlight for you this            25   context.




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 1       Q. Sure. So I want to ask you briefly about the               1   based on the correlation of those two variables --
 2   difference between correlation and causation. Can you             2       A. I --
 3   explain that difference for -- in the way that you                3       Q. -- of the gender of an applicant and whether
 4   understand it as an expert in this field?                         4   or not they get a callback?
 5       A. So a correlation is establishing that there's              5       A. Right. So there's different study designs.
 6   a relationship between two variables. So, for instance,           6   In an experimental study you would have randomly
 7   over time if we chart daily temperatures, there might be          7   assigned people or employers to a condition to receive
 8   a correlation between the average high of that day and            8   either the -- you know, the male resume or the female
 9   ice cream sales. Does that mean that ice cream sales              9   resume. When you randomly assign them and you observe
10   cause the weather? Does that mean that the weather               10   then an average difference in how they're treated,
11   causes the ice cream sales? Does that mean that they're          11   you've done an experimental design. You've -- you've --
12   associated but for some other reason? All of those               12   you know, by randomly assigning a group, you've kind
13   things can't be determined completely through just               13   of -- the idea is you're washing out all those sort of
14   evidence of correlation.                                         14   noisy variables that might affect how people rate other
15             So, usually, to try to isolate causation,              15   people that are not, you know, part of what, really,
16   we try to do an experimental study where it's the kind           16   you're studying; and the statistics control for that
17   of thing I talked about before where you randomly assign         17   because they can -- you -- you assess how much of this
18   people to different conditions. For instance, in a               18   noise there is within conditions. So you can then
19   discrimination study, they get information that's                19   assess whether the difference between conditions is
20   identical about someone who's a woman versus a man;              20   statistically reliable.
21   and then you see if there are significant differences            21              So by randomly assigning, by
22   on various outcome variables. Because you have, you              22   manipulating -- we call it manipulating; it sounds bad
23   know -- because you have created that comparison, then           23   to me -- but by controlling the conditions, right, and
24   you can start to make causal conclusions more readily.           24   having these different conditions, creating these
25   So that's kind of the basics of correlation causation            25   comparisons, that's when you can make causal




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 1   versus experiment and causation.                                  1   conclusions.
 2             Now, there are statistical techniques you               2        Q. So it's the ability -- my understanding is
 3   can try to do in correlational studies to try to rule             3   it's the ability to remove and account for potential
 4   out some of the alternative explanations; but you can't           4   other explanations that allow an experimental study to
 5   isolate causation as well as you can in an experimental           5   move from correlation to causation?
 6   study.                                                            6             MR. SCHMIDT: Objection, form.
 7       Q. And virtually all the studies cited in your                7        Q. (BY MR. GIBSON) Conclusion?
 8   report are -- are reporting correlations between two              8        A. Right. So that's -- I mean, I guess I quibble
 9   variables?                                                        9   slightly with how you put it; but it's the being able to
10       A. I wouldn't say that. I think I cite                       10   control the conditions to create the comparison to
11   experiments more frequently, I would expect, than --             11   assess the amount of, you know, random noise, for our
12   than correlational studies. I mean, there's a mix.               12   purposes, that's going on within conditions and to make
13   There's room for both in scientific methodology.                 13   that -- that comparison across an average difference.
14             Sometimes correlational studies, you can               14   That's where we can say causally there is -- you know,
15   study something that you really can't do -- effectively          15   we can conclude with a certain degree of scientific
16   do an experiment on because you can't create the                 16   certainty that -- that this variable has a causal
17   comparisons or control the conditions in a certain way.          17   effect on the outcome.
18             So I think I cite a mix of studies; but I              18        Q. But simply because there's a causal
19   would say as a social psychologist, I'm -- I'm more              19   connection -- or a correlation between two variables
20   prone typically, I would think -- I haven't counted them         20   and an outcome doesn't mean that there's necessarily a
21   up -- but I'm more prone to citing experimental studies.         21   causal relationship, correct?
22       Q. And I may have misstated that. But these                  22        A. Correct. If you only just measured, you know,
23   studies link -- they have variables, gender -- for               23   these two variables, like, you measured the ice cream
24   instance, gender of an applicant and an outcome and they         24   sales; you measured how they varied along with the high
25   correlate those two and they make a link about causation         25   temperature of the day, you can't infer, for instance,




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 1   that ice cream sales caused the temperature to be                 1       A. Okay. So when you say objective, are you
 2   higher, right? You know, and you can't even infer the             2   saying completely free of bias?
 3   reverse, though that's a more plausible conclusion,               3       Q. No. I'm using the word objective in the way
 4   right? And there can always be other variables that are           4   that you use it.
 5   related to these two variables that create that                   5       A. Right. Okay. So, for instance, if you said
 6   correlation.                                                      6   that we're going to base admissions on a standardized
 7       Q. Correct. And I think you've stated in your                 7   test, like the SAT, and then we're going to have a
 8   report, or certainly in other reports that we've                  8   certain benchmark, then you have a process where, you
 9   discussed, that the inability to account for all of               9   know, you're doing the sort of things that I'm talking
10   those other variables in a real-world situation is one           10   about. This is a more objective measure. And then you
11   of the reasons it's so difficult to do a scientific              11   have certain benchmarks. So you're preventing bias at
12   study of an individual workplace to determine whether or         12   that evaluation stage. There can be a problem, however,
13   not individual decisions are the function of                     13   where bias -- if the measure itself is subject to
14   discrimination or -- on a particular protected class or          14   biases, right, it's not free of bias, then that bias
15   the function of multiple other potential variables?              15   kind of carries forward to the evaluation stage, even
16       A. Broadly, yes, you know, I think especially                16   though you're introducing no bias at the evaluation
17   when you're talking about: Was a specific individual             17   stage.
18   discriminated against, yeah, that's really, to me, not           18       Q. And you, in fact, discussed such a concept
19   going to be feasible.                                            19   with student evaluations. You allege that student
20       Q. I'd like to go to the section on Evaluation               20   evaluations themselves are biased; and, therefore, they
21   Procedures Can Minimize Or Permit Discrimination.                21   can't be accurately relied upon in this process and they
22       A. Sure.                                                     22   have problems -- well, I won't try to go beyond that of
23       Q. Let's go to the second page of that on                    23   what you say in this case. But, anyway, you attack
24   page 36. You state in the beginning, "Therefore,                 24   student evaluations themselves as an objective measure;
25   organizations that wish to avoid having bias contaminate         25   is that correct?




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 1   their personal" -- I'm sorry -- "their personnel                  1       A. I think that student evaluations -- there's
 2   evaluations should rely on objective indicators and               2   research suggesting that they are subject to gender
 3   compare an individual's scores to carefully determined            3   biases, especially in math-intensive kinds of courses,
 4   behavioral benchmarks." You don't have any --                     4   and also that student evaluations are not necessarily a
 5       A. Right.                                                     5   reliable measure of student outcomes. So they are --
 6       Q. You don't have any studies that support that               6   they are problematic; but if you base tenure decisions,
 7   entire paragraph. There's no citation that's -- that              7   for instance, partly on student evaluations, you have a
 8   you cite that show that use of objective criteria will            8   certain standard that you're employing, you know,
 9   alleviate the correlation that is found when using                9   consistently, you're -- you're insulating, again,
10   subjective criteria?                                             10   against introducing further bias at that stage. But
11       A. I cited previously, building up to this                   11   you -- you know, if, indeed, the measure itself is
12   section, about how, you know, when you have subjective           12   subject to bias, you have carried that forward. So it
13   criteria, when you allow -- when you don't have                  13   is -- it is problematic.
14   benchmarks, how bias can creep in. So partly this a              14       Q. Is there evidence that suggests selection for
15   logical conclusion based on that other material.                 15   grants is biased?
16             But in addition to that, I can, you know,              16       A. There is some evidence that there's some small
17   happily provide you with some citations for that, for            17   bias in -- against female principal investigators in
18   instance, Madeline Heilman in a Research in                      18   obtaining grants in scientific fields.
19   Organizational Behavior article. There's a Harvard               19       Q. Is there evidence that selection for
20   Business Review article where Shelley Correll, the one           20   publication in journals can be biased?
21   who did the motherhood bias study we were talking about,         21       A. I think there's also some evidence, again, for
22   is one of the coauthors. So this -- this isn't                   22   first author, some -- some small bias against first
23   something that is novel or unexamined.                           23   authors who are females and also in citation counts.
24       Q. Would you agree that the SAT is an objective              24       Q. So those are -- those three things that you
25   evaluation standard?                                             25   just mentioned, grant funding, publication -- numbers of




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 1   publications and citation counts are all things, I                1   possible, stick to these kinds of relatively more
 2   think, that you specifically suggest would be objective           2   defensible measures.
 3   measures; but you have also just said they also reflect           3       Q. My -- so the -- the answer to my question is,
 4   bias?                                                             4   I think, a "no." You do not have studies that you can
 5       A. I said that they can be subject to a small                 5   point to to show that using the objective criteria that
 6   amount of bias in -- in these earlier stages; but I'm             6   you've identified versus using subjective criteria
 7   distinguishing -- you know, when I'm talking about this           7   results in a reduction of bias against women in
 8   in context, I'm talking about the Budget Council's                8   evaluations?
 9   procedures, right?                                                9              MR. SCHMIDT: Objection, form.
10       Q. I'm not talking about yet that section of the             10       A. Well, again, I think there are individual
11   report.                                                          11   studies that -- that show examples of -- of just exactly
12       A. All right. Okay. We're not there yet.                     12   that sort of thing that I've cited.
13       Q. We're talking about summary --                            13       Q (BY MR. GIBSON) Which ones?
14       A. Yes, there is -- there is some evidence for               14       A. So, for instance, having a fixed benchmark;
15   that. I didn't think that was particularly at issue              15   for instance...
16   in this case, so I didn't decide to invest in going              16       Q. Which study is that?
17   into the research on that; but that can, similarly, have         17       A. The Uhlmann and Cohen study cited in 114.
18   some -- some degree of bias against women in scientific          18   They found that people shifted the criteria they used to
19   fields, yes.                                                     19   judge women and men in a stereotypically masculine job;
20       Q. Do you have any evidence that suggests or that            20   but then when they, you know, sort of a condition where
21   shows that using the objective indicators, as you've             21   they fixed the criteria how you're going to weight them
22   described them, actually results in outcomes that are            22   in advance, that avenue of bias disappeared.
23   less biased than using what you describe as subjective           23              So it's kind of there's a logic to --
24   evaluations in the scientific field?                             24   let's put it this way: As we established, there can be
25       A. Well, that depends. That means that you have              25   bias at the earlier stage that's kind of baked into some




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 1   to have -- I have to think about this. So are you going           1   of the metrics. There can be some degree of bias there.
 2   to repeat that again?                                             2   And there can be bias at the decision-making stage that
 3       Q. Sure. Do you have any studies, evidence,                   3   we know has more free run when you rely on subjective
 4   citations that says using the objective criteria that             4   criteria rather than pre-determined benchmarks and
 5   you propose for academics, would you have also said               5   relatively more objective criteria. Is that creating a
 6   include bias such as citation counts, grant money,                6   perfect world? Not necessarily, but we know that that
 7   teaching evaluations, numbers of publications, any of             7   cuts off some of these processes that can occur at this
 8   those things that using those indicators to assess merit          8   later stage.
 9   in an employment decision is a -- actually reduces bias           9       Q. Okay. But -- so the one you cited was about
10   versus using subjective measures, as you described?              10   police chiefs, correct?
11       A. Well, from the research that I cited, we know             11       A. Yeah, a masculine field.
12   that the more subjectivity involved, the more likelihood         12       Q. And that was allowed -- in that case the
13   that biases creep in. I'm not sure I can cite you a              13   evaluator shifted the criteria that they were relying
14   study that shows if you use these exact methods, that            14   upon when there was a benchmark that was established?
15   you will then have, you know, more female professors             15       A. When there was no benchmark established and
16   getting tenured. I don't think I have a study that says          16   they buried whether the male candidate versus the
17   that. I guess I would ask: What's the alternative, you           17   female candidate was superior on -- and I think in this
18   know, to using these defensible kinds of measures?               18   study it was superior on either street experience or the
19             Again, yes, there's some evidence that                 19   person was -- the other person -- the other person had a
20   these can also be biased; but then you go down the road          20   higher education. And then they flipped it, right?
21   of are you going to have, you know, different standards          21              So they flip-flopped that in an
22   for women and for men. And I think that's -- that's              22   experimental study. It's a really nice example of an
23   also philosophically a problematic issue, right?                 23   experimental study. You have a male candidate. You
24             So I think the important thing is to be                24   have a female candidate. One's higher on one dimension
25   aware of the biases and to as close -- as much as                25   and lower on the other. That dimension is




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 1   systematically varied in different conditions.                    1   you say women tend to receive equal pay but are denied
 2              And what they found is that people                     2   tangible results?
 3   shifted to preferring the criterion that distinguished            3       A. Well, again, it goes back to, like, the Joshi
 4   the male candidate as superior. When the male candidate           4   study, the Joshi, et al. meta-analysis that we talked
 5   had more street smarts they said, "Oh, street smarts is           5   about; and we talked about the effect size in that. So,
 6   more important." When the female candidate had, you               6   you know, in that study the effect size for the
 7   know, street smarts, they're -- they're underplaying the          7   difference in organizational rewards was .56, I think.
 8   importance of street smarts; and they're saying, "Oh,             8   And so that could be translated into the kind of
 9   education" -- which favors the male candidate -- "is              9   quantitative figure I think you're asking for, which is
10   more important."                                                 10   kind of the proportion of the time that -- that women
11              So people are flexibly shifting the                   11   versus men would be given lower rewards.
12   goalpost when you give them that opportunity; but when           12       Q. And what is that? What does that translate
13   they repeated the experiment and fixed what was deemed           13   to?
14   to be most important, then you cut off that avenue of            14       A. I'm not -- I'd have to look. I don't have
15   bias. So that's an example of showing how when you, you          15   this whole conversion table in my head. That's not
16   know, do these kinds of procedures, you can reduce the           16   usually the way that it's reported in social scientific
17   amount of bias.                                                  17   research. It's much more common to provide the
18              Yes, that was with an example of the                  18   Cohen's d. I think I could kind of quickly lay my hands
19   masculine field, being police chief.                             19   on a conversion table for that; but I think with a d of,
20       Q. The next section you have is Retaliation                  20   like, .56, it might be, like, two-thirds, 70 percent of
21   Against Women Who Complain About Discrimination.                 21   the time that women would be -- you know, overall, that
22              MR. SCHMIDT: Darren, I just wanted to                 22   women receive lower rewards than men, something like
23   interject, we've been going a little bit over an hour;           23   that. So there's definitely going to be exceptions,
24   and if we can take a break fairly soon, I'd appreciate           24   absolutely no doubt about it, a lot of variables to play
25   it. I don't know when is a good time, but I wanted to            25   in; and this is one that -- you know, that -- one of




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 1   throw that out there.                                             1   other variables.
 2             MR. GIBSON: Now is a fine time. A                       2       Q. And I'm really asking these questions for the
 3   five-minute break?                                                3   purposes of the jury because I will tell you, I'm pretty
 4             MR. SCHMIDT: Perfect. Thanks.                           4   sure the jury's not going to understand what Cohen's d
 5             THE VIDEOGRAPHER: The time is 2:28 p.m.                 5   value means or how to translate that into --
 6   We are off the record.                                            6       A. Right.
 7             (Off the record from 2:28 to 2:34 p.m.)                 7       Q. So I'm not trying to catch you. I'm not
 8             THE VIDEOGRAPHER: The time is 2:34 p.m.                 8   trying to be tricky. I'm trying to understand your
 9   We are back on the record.                                        9   testimony as it might relate to what a -- how a juror
10       Q (BY MR. GIBSON) All right. Let's go ahead                  10   would think, and so I'm trying --
11   and -- one of the things, before we start discussing the         11       A. Yeah.
12   application of -- to the current case that you have in           12       Q. -- to understand that, so.
13   what's called Section V of your report, I want to just           13             And, again, for that study there is a
14   make sure I understand some of the statements you've             14   Cohen's d that's reported. I get that we can try to
15   made and just confirm that you have not quantified these         15   communicate that in the form of a likelihood, and so
16   statements.                                                      16   that's great.
17             For instance, in page 10 of your report,               17             Let's go to some of the other statements
18   starting at the bottom you say, "For example, laboratory         18   that you make. So, for instance, on page 12 you say,
19   research showing that women, compared to men, tend to            19   "When women or minority group members are
20   receive equal praise for performance but are denied              20   underrepresented, they tend to be viewed as a poorer --
21   tangible rewards corresponds to findings in field                21   'poorer fit' for a job than men or majority group
22   studies that even though women receive similar or better         22   members." Again, do you have how often they tend --
23   performance evaluations in actual jobs, managers rate            23   women tend to be viewed as a poorer fit in that context?
24   them as lower on 'promotability.'" Do you have any               24       A. I don't, offhand, have that, you know. Again,
25   understanding of how often that's likely to occur when           25   if we have something like a Cohen's d, we might be able




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 1   to kind of give an estimate of that.                              1       Q. (BY MR. GIBSON) If there are others that are
 2       Q. Okay.                                                      2   like: Oh, yeah, I know --
 3       A. But, again, I will just say there's always                 3       A. Yeah.
 4   going to be exceptions, absolutely.                               4       Q. -- this study or that study, I would be very
 5       Q. And, similarly, on, like, page 16 you have a               5   interested; but I'm not expecting you to.
 6   statement, "Research shows that people tend to excuse             6       A. Right. Yeah, I -- not -- as I just sort of
 7   men's emotional or situational" -- I'm sorry. "Research           7   leaf through them -- oh, on Moss-Racusin, I remember
 8   shows that people tend to excuse men's emotionality as            8   that they -- that the effect sizes, I think, on theirs
 9   situational while attributing the same emotional display          9   were various measures, they said, were moderate to
10   by a woman to an underlying disposition," citing                 10   large, I -- I believe.
11   Footnote 48, the Barrett case -- the Barrett study. And          11       Q. What --
12   I just want to make sure I'm not missing anything. Do            12       A. I believe I might have mentioned that.
13   you have any understanding of a way to say how much --           13       Q. And what footnote are you referring to?
14   how likely is it that people will tend to do that, based         14       A. Well, it's 81; but I think that might not be
15   on the study?                                                    15   the slot. Oh, yeah, yeah, yeah. There it is. "Effect
16       A. Again, I could try to figure that out by going            16   sizes for discrimination were moderate to large."
17   back to the article, seeing if they report statistics in         17   Moderate to large would mean they were probably around
18   a way that kind of is amenable to that, to giving some           18   a d of .5 to .8, or maybe bigger; and then that would
19   sense of, you know, how overlapping these distributions          19   be -- I don't know -- you know, maybe from moderate,
20   are between how men and women are rated, to give some            20   be like maybe two-thirds, to -- to large, maybe like
21   idea of -- you know, that -- that might be accessible            21   80 percent, you know, something like that.
22   to a jury about -- about that effect.                            22       Q. Okay. All right. I think now I'd like to
23       Q. Okay. And is it generally going to be the                 23   turn to page 40 of your report regarding application to
24   case that unless you reported a difference -- which, I           24   the current case and opinions.
25   mean, to be fair, on the Joshi study you did report the          25       A. We're making progress, aren't we?




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 1   14 to -- you know, 14 times more likely. Other than               1       Q. Yes, we are.
 2   that, I don't see a lot of information like that                  2              So one of the things that you -- the way
 3   included in your report. Is it going to be -- is the              3   you describe some of your opinions about how you apply
 4   answer likely to be the same if I ask you about other             4   the research to this case is that you testify that
 5   studies, that you would have to look at the study to see          5   certain behaviors, particularly by Dean Wood, are
 6   whether they report effect size to determine whether or           6   consistent with bias. Did you determine whether they
 7   not you can provide the type of information I'm asking?           7   are also consistent with no bias? Did you -- did you do
 8       A. Probably. Some of them I might remember,                   8   the analy- -- any analysis to determine whether or not
 9   like, you know, for instance, I, you know, remembered             9   her behaviors could be consistent with a lack of bias?
10   the effect size of the Joshi, et al.; but, yeah, I mean,         10       A. Well, what I'm saying is if you look at some
11   for many of them, probably I would have to go back and           11   of the -- the -- for instance, the content of the
12   look.                                                            12   judgments made of Dr. Nikolova, you know, those are --
13       Q. Do you remember any of the effect sizes for               13   saying that she's not as committed is the kind of thing
14   any of the other cases off the top of your head that you         14   that would occur had motherhood and pregnancy bias
15   cited?                                                           15   occurred. So that's what I mean that -- you know,
16       A. Other --                                                  16   consistent with bias.
17             (Simultaneous speakers.)                               17              What I'm saying is I cannot rule out
18       Q. I'm not expecting you to.                                 18   that other explanations, for instance, that, you know,
19       A. Yeah, I don't know.                                       19   Dean Nikolova [sic] you know, simply judged -- she would
20       Q. I'm just -- you did remember Joshi.                       20   judge a male -- imagine there were a male Dr. Nikolova,
21       A. I don't know.                                             21   right? We don't know how she would have judged him. So
22             (Simultaneous speakers.)                               22   what I'm saying is I can't rule that out that, you know,
23             MR. SCHMIDT: I'm going to throw in an                  23   she would have acted the same way against a man.
24   objection to form. I'm throwing an objection to form             24              But I can say, well, based on the
25   into that question.                                              25   research, if she were to discriminate, this is the kind




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 1   of form it would take and then look at the case and say:          1   workplace policies for the purpose of childrearing,
 2   Okay. Well, she questioned Dr. Nikolova's commitment,             2   that those are -- that when you experimentally
 3   which is consistent with the form motherhood and                  3   manipulate those things, right -- so you're looking for
 4   pregnancy and taking workplace, you know, accommodation           4   causality -- that what you see is that, on average,
 5   policies would -- would tend to take.                             5   people will view a woman as less committed to her job
 6              So, again, you know, I'm leaving this                  6   and that that translates, also, into people viewing
 7   open. The jury needs to -- to make that ultimate                  7   women as less promotable.
 8   decision because I can't say with a scientific                    8             So these are the biases that the
 9   certainty. I can say: Look, if you look at it, this               9   research shows occur. And so if you were asking ten of
10   resembles what we'd expect based on the research; but I          10   my colleagues: Okay. If somebody was pregnant, took
11   can't tell that, you know, with some sort of scientific          11   the -- you know, the leave, all of those things, on
12   probability that that was what happened.                         12   what dimensions of evaluation would this person
13       Q. When you say that you expect it based on the              13   potentially suffer, suffer discrimination, they'd say,
14   research, you mean that it -- that it occurs more often          14   "Oh, well, she'd be seen as less committed." Right?
15   than not?                                                        15   That would be -- that's, like, a very clear finding from
16       A. I'm not saying -- I'm not making it a more-               16   the research.
17   often-than-not judgment because I think that would               17             You know, I can't -- I can't translate
18   tread on the jury's purview; and I don't want to stick           18   that into saying that that is the reason why Dean Wood
19   a -- you know, a certain probability judgment, which I           19   made that judgment. What I'm saying is: The research
20   think, you know, that's -- I can't put that kind of              20   suggests that's the kind of judgment that would be made
21   probability -- I don't feel comfortable putting that             21   if somebody was exhibiting a kind of pregnancy,
22   kind of probability judgment on it.                              22   motherhood, workplace accommodation bias.
23              If I were a member of the jury, then                  23       Q. But, to be clear, you don't have any idea
24   fine, yeah, I've got to make that judgment; and I would          24   whether or not Dean Wood is exhibiting a pregnancy/
25   feel fine making that judgment. You know, I think it's           25   motherhood bias?




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 1   a difficult job the jurors have; but I would -- you               1       A. I can't say with any sort of scientific
 2   know, I would be empowered to make that judgment. I               2   certainty. I'm saying that what she said about
 3   don't want -- I'm trying not to, yeah, to say something           3   Dr. Nikolova, you know, it's consistent with what we'd
 4   that I -- I don't -- that I feel is in any way going to           4   expect from somebody who is exhibiting this kind of
 5   mislead the jury.                                                 5   bias; but we can't -- I can't rule out that -- that
 6       Q. Okay. Going to page 41, you state, quote --                6   those judgments are due to other reasons.
 7   at the bottom of the first full paragraph, "Research              7       Q. So how often in the studies that link a
 8   into biases related to pregnancy, motherhood, and use of          8   question -- questioning commitment and competence to --
 9   workplace flexibility policies provide more specific              9   or citing to, I guess -- how often in linking those two
10   information about the pattern of discrimination, if it           10   things -- I'm not -- I apologize. I'm not phrasing this
11   occurred, would likely take." When you say "would                11   question very correctly. Let me rethink about how I
12   likely take," how likely is "likely"?                            12   want to phrase the question.
13       A. Well, yeah, I guess I could get rid of                    13             I'll move on. In the next paragraph
14   "likely" there. You know, this is a pattern that we              14   on page 41, you cite to the fact that Nikolova --
15   would expect.                                                    15   Dr. Nikolova claims that since she joined the faculty in
16       Q. When you say it's a pattern you would expect,             16   2014, all seven men who went up for tenure and promotion
17   is that because there have been studies that confirm             17   received promotion; and three women, including
18   that that conduct -- or that show that that conduct is           18   Dr. Nikolova, who were considered were denied. Do you
19   associated with a statistically significant bias against         19   see that?
20   working mothers?                                                 20       A. Uh-huh. Yes, I see that.
21       A. There's research -- if I understand your --               21       Q. Do you know if those other individuals were
22   I'm just going to phrase it a little bit more the way I          22   mothers?
23   want to phrase it as I'm trying to understand your               23       A. I do not know if that was the case or not.
24   question. So what I would say is there's research that           24       Q. And, in fact, some of the data we've seen has
25   shows that pregnancy, motherhood, taking flexible                25   shown that if they were not mothers, they actually --




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 1   there's data supporting the fact that they may have               1   a hiring decision is a step away from a promotion
 2   received a benefit, relative to men, for being nonmother          2   decision, correct?
 3   women in the workplace; and they may actually be -- be            3        A. That's correct, too. Yes, that's correct,
 4   preferred over men in the workplace. We've seen some              4   too.
 5   data to that effect, correct?                                     5        Q. So you had concerns about citing that study
 6             MR. SCHMIDT: Objection, form.                           6   because it was in the context of a callback. Do you
 7       A. Oh, you mean the Correll study?                            7   have any studies that are in the context of promotion of
 8       Q. (BY MR. GIBSON) Yes, that showed that in that              8   tenured faculty?
 9   actual audit study, nonmother women were significantly            9        A. I have studies that were about organizational
10   more likely to be selected than were the similarly               10   rewards, such as promotion, like the Joshi
11   situated men?                                                    11   meta-analysis. And I cited the Correll study.
12             MR. SCHMIDT: Objection, form.                          12        Q. But, again, do you have any studies that are
13       A. That -- I don't think that -- I don't                     13   about promotion, tenure and promotion at universities?
14   remember. We'd have to go back whether that comparison           14        A. Offhand, I'd have to -- I'd have to think
15   was made because I think comparisons were made within            15   about that. Offhand, I can't give you a study about --
16   gender; but, also, that was a study about callbacks, you         16   that was directly about promotion at universities.
17   know. So it's a little bit different; but, yeah, I               17   There is a -- there is a reference I cite, but I think
18   mean, I think in this section I'm talking about the --           18   it's a book about promotion at universities. But, yeah,
19   how mothers, people who take workplace accommodation             19   offhand, I can't think of which ones might be about
20   policies, and pregnant women are treated relative to             20   promotion at a university.
21   childless women and to men.                                      21        Q. Kind of at the bottom of page 41 you say,
22       Q (BY MR. GIBSON) So you made two points I want              22   "Should case decision-makers find this information
23   to focus on. Number 1, you were, like, the point is              23   credible, it suggests background conditions that make
24   childless women compared to women who are mothers and            24   discrimination more likely."
25   compared to men; but you don't know whether any of the           25        A. Sure.




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 1   other three women that reportedly did not get tenure had          1       Q. More likely than what?
 2   children or not?                                                  2       A. More likely than if there had been a history
 3             MR. SCHMIDT: Objection, form.                           3   of, say, equal promotion of men and women.
 4       A. I'm not aware of the parental status of the                4       Q. Do you know what the history is of promotion
 5   other women.                                                      5   of men and women?
 6       Q. (BY MR. GIBSON) Did you ever ask for that                  6       A. Well, I think there's an allegation here. As
 7   information?                                                      7   I say, Dr. Nikolova alleges that only 4 of 53 tenured
 8       A. I did not ask for that information, but I'd be             8   faculty within the engineering department are women. So
 9   happy to review information that -- that could be                 9   that's a very small proportion of women, and we also
10   provided to me.                                                  10   know in the research that male-dominated fields tend to
11       Q. And you also pointed out that that study, the             11   be less hospitable, right, to women. And -- and she
12   Correll study, that actually shows that women without            12   makes a claim about people going up for promotion. If
13   children were preferred over men in getting a callback,          13   that -- those claims are incorrect and you want to
14   was in the con- -- was in the limited context of a               14   present evidence that they're incorrect, I'd be happy to
15   callback situation, correct?                                     15   review that and this would modify, essentially modify
16       A. Right.                                                    16   what I say in this section.
17       Q. So would you -- did you make that statement               17       Q. Would you want to look at data that -- well,
18   because that means that you're concerned that it doesn't         18   who's the primary decisionmaker that your report,
19   necessarily apply to a tenure promotion decision?                19   particularly this section of the report, refers to,
20       A. Well, I'm saying that it's -- it's a                      20   Dean Wood, correct?
21   significant -- there are significant differences with a          21       A. Yeah, well, Dean Wood is the -- the level of
22   callback that's not the ultimate hiring decision, right?         22   decisionmaking where earlier positive recommendations
23   So, you know, that's -- that's a step along the way.             23   were overturned, yes. So I think necessarily in this
24       Q. Do you have any -- well, and you're right.                24   case if there was discrimination, that's kind of the
25   That's not a hiring decision nor is it a -- it's also --         25   starting point.




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 1        Q. Would you -- if you were looking at data about           1   dean, is that going to affect my opinion of Dean Wood,
 2   whether or not a particular person is discriminating in          2   you know, that's -- that's not really going to probably
 3   a particular context, wouldn't you want to look at data          3   affect the overall weight of this information.
 4   that's related to that person?                                   4       Q. Because you presume Dean Wood, because she's a
 5        A. Yeah, if there's data related to deans --                5   woman of power in a male-dominated field, is more likely
 6   Dean Wood's decisionmaking, that would certainly be a            6   than not to follow the -- the norms of that field, as
 7   background kind of context, you know. You know, if               7   you just said, in fact, everybody does?
 8   she -- if there were a sufficient number of promotion            8       A. Well, I'm saying people who obtain positions
 9   decisions of women and men -- you know, I think there            9   of power and rank in an area, the research would suggest
10   are -- you know, in the -- in the Response to Summary           10   that you demonstrate and adhere to the norms that are in
11   Judgment some comparisons with male comparators. All            11   that organization. That's who organizations tend to
12   those sorts of things would be relevant, and -- and I           12   promote. That's the -- that's the root to obtaining
13   would be happy to review more information. Again, I             13   power and authority typically. Are there exceptions to
14   reserve the right for that to -- to possibly alter my           14   the rule? There's always exceptions to the rule.
15   opinions.                                                       15              So I'm saying that based on what we know
16        Q. Do you know if the data that is -- you say              16   social psychologically that -- you know, I don't have a
17   it's, you know, cited by Dr. Nikolova in her appeal,            17   particular beef with Dean Wood, you know, personally --
18   even relates to Dean Wood?                                      18   that this is -- this is the sort of thing that -- the
19        A. I don't know how long Dean Wood was in that             19   process that -- that social psychology would suggest
20   position. I don't know if there's a sufficient database         20   occurs.
21   for Dean Wood or not.                                           21       Q. The next page, on page 42, you end the first
22        Q. So if that data did not relate to Dean Wood,            22   paragraph, "If decision-makers find Dr. Nikolova equally
23   that would not be data that would make it more likely           23   qualified on objective measures to such comparison
24   that Dean Wood would engage in discrimination; is that          24   candidates, it would suggest a discriminatory double
25   correct?                                                        25   standard towards her."




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 1        A. Well, I wouldn't quite put it that way.                  1       A. Sure, yeah. Based on my use of the term
 2        Q. Okay. So --                                              2   discriminatory in the context of my field, yes.
 3        A. Remember, we're talking about how senior                 3       Q. If they -- if case decision-makers did not
 4   women within an institution who achieve higher                   4   find Dr. Nikolova equally qualified, would that mean
 5   positions -- well, everybody, of course, tends to                5   that it would suggest that there was not a double
 6   adhere to the norms of the institution. So the general           6   standard towards her?
 7   kind of climate is something that's relevant. We                 7       A. Well, it would certainly undermine her case,
 8   already talked about this, how the general norms in an           8   you know. It doesn't mean there was, you know, no
 9   environment can make it more likely that somebody will           9   discrimination necessarily; but if there is -- if
10   exhibit bias versus suppress that bias. So I don't want         10   there was a process, like the Budget Council's process,
11   to make a blanket statement about that.                         11   its benchmarks and all of that, then at that
12        Q. Right. So meaning you don't want to make a              12   decisionmaking level, you know, I would stick to my --
13   blanket statement that if the data about proposition of         13   you know, my report of that -- you know, if they had
14   women doesn't even relate to the dean, that doesn't             14   that kind of process, there might be some tainting of
15   mean -- that doesn't affect your analysis?                      15   some of the metrics; but at that level of
16        A. Well, there's a lot of other things that go             16   decisionmaking, it would -- it would mitigate the
17   into my analysis. I'm just saying that that's -- you            17   likelihood that there was bias. And if she, you know,
18   know, that's kind of a lack of information then. If             18   didn't stand up on these metrics, then I think that
19   it's not related to Dean Wood, then it's really not             19   would substantially weaken her case, yes.
20   kind of -- I don't want to say -- I use the word very           20       Q. I find it somewhat surprising that in this
21   broadly -- diagnostic. You know, it's not, like, sort           21   case you rely heavily on the Budget Council's
22   of information about Dean Wood. So, you know, it's not          22   determination and the fact that there was a group of
23   like a -- it's not going to be extremely helpful if you         23   people who made a determination using a metric of, you
24   are providing me with information -- that's like saying         24   know, standards, that then the dean overrode that, and
25   if you provided me with information about some other            25   you then critique the dean for doing so and find that




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 1   the dean's conduct was consistent with discrimination.            1   institutions. They should come up with the same
 2              In the Mullenix case, the dean, in fact,               2   recommendation.
 3   followed the recommendations of the Budget Committee and          3             By contrast, the other Budget Council was
 4   you still criticized the dean for following the                   4   much more along the lines of very subjective potential
 5   recommendations of the Budget committee --                        5   decisionmaking where it was kind of one person's opinion
 6              MR. SCHMIDT: Objection, form.                          6   one year, another person's opinion the next year, right,
 7       Q. -- and you did not point out that, in that                 7   those sorts of things that could be influenced by common
 8   opinion, that the Budget Committee itself was a form of           8   biases.
 9   mitigating bias by the fact that it was a committee of            9             Let's say that I'm a Budget Council
10   multiple people, as you do in this case. Is there a              10   member in the Nikolova case and let's say, you know, I
11   reason why you didn't do that in the Mullenix case but,          11   have some bias against her; but if I'm charged with I
12   yet, you do it here?                                             12   have to look up her citation count and compare it to
13              MR. SCHMIDT: Objection, form.                         13   these already-set benchmarks, well, then, you know, the
14       A. I think my -- my opinions in both cases are               14   conclusion is pretty much going to be based on, you
15   entirely consistent if you carefully read my report. In          15   know, what the -- what I'm instructed to do. I don't
16   my report in the current case for Dr. Nikolova, what I           16   have the room to -- to allow -- you know, I don't have
17   talk about is just what we were talking about. The               17   the room to introduce my bias in that way.
18   Budget Council in this case is in a different                    18             MR. GIBSON: I'd like to take just a
19   department, a different school than the Budget Council           19   quick five-minute break.
20   in the other case.                                               20             THE WITNESS: Okay.
21              The Budget Council in this case had                   21             THE VIDEOGRAPHER: The time is 3:06 p.m.
22   carefully-constructed benchmarks. For instance, they             22   We are off the record.
23   had looked at recently-tenured individuals at peer               23             (Off the record from 3:06 to 3:17 p.m.)
24   institutions and looked at things like the citation              24             THE VIDEOGRAPHER: The time is 3:17 p.m.
25   counts for their research, their grant dollars that they         25   We are back on the record.




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 1   had obtained, the impact factor of the journals that              1              MR. GIBSON: I think Robert would like to
 2   they published in. All of these sorts of things were --           2   make a --
 3   were very carefully laid out, very carefully assessed.            3              (Simultaneous speakers.)
 4             Now, again, some of those metrics --                    4              MR. SCHMIDT: I'm sorry. Go ahead,
 5   there's some bias creeping into some of those metrics;            5   Darren.
 6   but once you look at the Budget Council level, the                6              MR. GIBSON: No.
 7   Budget Council in the engineering school is completely            7              MR. SCHMIDT: Since we're back on the
 8   different in their procedures than the other Budget               8   record, I would request that Dr. Glick be given a copy
 9   Council you're talking about, who would, for instance,            9   of his deposition to read and sign and make corrections
10   assign one person to read the target individual's work           10   if necessary. That is what I have.
11   and render an opinion, right, which leaves open the door         11              MR. GIBSON: Okay.
12   to all sorts of subjectivity.                                    12       Q (BY MR. GIBSON) Dr. Glick, on page 42 of your
13             On this Budget Council -- let's put it                 13   report, you referred -- we were mentioning the fact that
14   this way: You could take the engineering -- the Budget           14   there's a reference to comparator information regarding
15   Council that evaluated Dr. Nikolova, if -- if you set            15   other male faculty who were promoted. Have you done any
16   out -- set out all their criteria, right, all of the             16   separate analysis of the information regarding
17   things that they used, how they weighed them, the                17   comparators in this case?
18   benchmarks they compared them to, then you could just            18       A. No, I did not.
19   bring in a whole new set of individuals, a whole new set         19       Q. Excuse me. I'd like to go to your statements,
20   of faculty who adhere to the same standards, they're             20   I think -- oh, let's first go to page 44, please.
21   going to find that Dr. Nikolova, when they research her          21   First, you say -- you're talking about evaluations. You
22   citation count, they're going to get the same number,            22   say, "Thus, being visibly pregnant may well have
23   right? That's not going be a subjective judgment on              23   unfairly affected Dr. Nikolova's teaching evaluations."
24   their part. They're going to compare that to the same            24   Do you know if Dr. Nikolova was visibly pregnant at the
25   benchmark of recently-tenured individuals at other               25   time of the evaluations in question?




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 1      A. I'd have to go back and look at the timeline,               1        Q. (BY MR. GIBSON) And you would consider that a
 2   but I'm not sure offhand.                                         2   discriminatory outcome if a decisionmaker was using a
 3      Q. And in order to do that scientifically, you                 3   metric that itself was tainted with bias, even though
 4   would actually have to ask the people who provided the            4   the decisionmaker did not have any; themselves were
 5   evaluations if they perceived her to be visibly                   5   unbiased, as you say?
 6   pregnant --                                                       6        A. Right. I mean --
 7             MR. SCHMIDT: Objection, form.                           7              MR. SCHMIDT: Objection, form.
 8      Q. -- correct?                                                 8              THE WITNESS: Sorry.
 9             MR. SCHMIDT: Objection, form.                           9        A. Yeah, from -- from my perspective, the fact,
10      A. Well, I mean, you know, to really                          10   though, there would be a discriminatory outcome without
11   scientifically study this, you'd have to make a                  11   bias being introduced at this later stage, there still
12   comparison of a pregnant versus non-pregnant                     12   could be a discriminatory outcome.
13   Dr. Nikolova, randomly assigning people to conditions,           13        Q. (BY MR. GIBSON) Based on the bias of the
14   say, different classes that sort of thing, which you             14   metric itself?
15   could do with a pregnancy prosthesis.                            15        A. Right, based on the bias of the metric itself;
16      Q. (BY MR. GIBSON) But, again, you don't know if              16   and then there's also the point that in these fields,
17   she was visibly pregnant or not at the time of the --            17   you know, people who are -- are making these decisions
18      A. Offhand, I cannot tell you.                                18   would, you know -- they should be aware of the
19      Q. You, also, in the next paragraph refer to                  19   possibility of these biases, right, because there is --
20   well-meaning evaluators. When you say "well-meaning              20   these biases are -- are known to exist. How you handle
21   evaluators," are you intending to refer to the fact that         21   that, I think, is a very difficult question; but -- but
22   evaluators may engage in implicit -- I'm trying to use           22   it is something that decision-makers should be aware of.
23   the word that you prefer to use -- maybe an unconscious          23        Q. You also, in your opinion section, which is at
24   bias in evaluation of faculty members? Is that what              24   the top of page 45 you say, "Research on gender bias in
25   you're saying?                                                   25   student evaluations of teaching in STEM fields and




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 1       A. I'm trying to find it.                                     1   pregnancy biases that reduce women's perceived
 2             MR. SCHMIDT: Objection -- I'm sorry.                    2   competence and commitment suggest that Nikolova may have
 3   Objection, form. And I would ask that you point it out            3   received lower teaching ratings than similar male or
 4   where that section is.                                            4   non-pregnant female colleagues." Did I read that
 5             MR. GIBSON: Sure. Page 44, the same                     5   correctly?
 6   page we were talking about before --                              6       A. Yes.
 7             MR. SCHMIDT: Okay.                                      7       Q. Does it also suggest she may not have
 8             MR. GIBSON: -- the first full paragraph,                8   received lower teaching ratings than similar male and
 9   third line.                                                       9   non-pregnant female colleagues?
10       A. Right, right, right, right, right. So there,              10       A. It doesn't rule out that possibility, but the
11   in that context, what I'm talking about is if the                11   research suggests that the bias is likely to be in the
12   metrics themselves are infested with bias, you could             12   direction of a lower teaching evaluation. But I can't
13   have the most objective, well-meaning evaluators in the          13   rule out the possibility that no bias occurred.
14   world; and, you know, with a procedure of the kind that          14       Q. And that's presuming -- that requires that the
15   I'm saying would, you know, mitigate further bias being          15   evaluators to have known she was, in fact, pregnant?
16   introduced by the evaluators, but there still could be           16       A. For pregnancy bias to occur, they would have
17   bias baked into things like the teaching ratings.                17   to perceive her as being pregnant, right? It would have
18             But I'm saying that, okay, aside from                  18   to be at some level they're perceiving her to be
19   that, just looking at the Budget Council kind of                 19   pregnant.
20   procedures, you know, setting aside any possible                 20       Q. Below you say -- you're talking about
21   biases baked into the metrics, you know, when you look           21   evaluator bias. You should -- and you talk about
22   at those -- those -- the Budget Council procured, you            22   objective metrics; and you say, "For example, commonly
23   wouldn't be introducing further bias; but you could be           23   used metrics to assess a professor's scholarship include
24   carrying bias through by having the information itself           24   grant dollars received, number of publications,
25   being tainted at an earlier stage.                               25   frequency with which others cite publications, journal




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 1   impact factor." Those are the ones you cite.                      1   objective and benchmark-based approach taken by the
 2       A. Yeah, and these are ones that the Budget                   2   Budget Committee, Dean Wood used a subjective approach
 3   Council in the Engineering School uses.                           3   known to allow bias to affect decisions through
 4       Q. Okay. And, again, I would ask that you not                 4   subjective inferences and shifting standards." Do you
 5   interrupt me and let me ask my question. Okay? The                5   think that that statement reflects specific causation in
 6   question was: You say, "Commonly used metrics include,"           6   this case, an opinion about specific causation?
 7   and you list a bunch of metrics. Do you have any                  7             MR. SCHMIDT: Objection, form.
 8   citations to support your statement that those metrics            8       A. That that subject -- no, it's about general
 9   are commonly used in higher education as a metrics to             9   causation, that a subjective approach is more likely to
10   assess professor scholarship?                                    10   yield or allow bias. And, again, I don't conclude that
11       A. I don't have a citation to that. That is more             11   in this case Dean Wood's decision was -- I'm not making
12   on the order of kind of common knowledge among                   12   a scientific conclusion about whether that was bias or
13   academics.                                                       13   not. So I don't ultimately make that conclusion.
14       Q. Do you normally base your scientific                      14       Q. (BY MR. GIBSON) You make the conclusion that
15   conclusions based on common knowledge?                           15   Dean Wood used a subjective approach known to allow bias
16       A. This was not a scientific conclusion.                     16   to affect decisions through subjective inferences and
17       Q. You mean the entire section, everything that's            17   shifting standards.
18   in this section entitled Application To Current Case And         18       A. "Known to allow" doesn't mean that it -- you
19   Opinion?                                                         19   know, that it was. And by "subjective," I mean here
20       A. No, I mean --                                             20   that -- that introducing subjectivity into the decision-
21             MR. SCHMIDT: Objection, form.                          21   making process is known to allow biases to operate; and
22             THE WITNESS: Sorry.                                    22   I'm not concluding that they necessarily did in this
23             MR. SCHMIDT: Go ahead.                                 23   individual case.
24       A. No, I mean that statement, the statement you              24       Q. But you don't put that in your report in terms
25   asked about.                                                     25   of the specific caveat that you just added to me about




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 1       Q (BY MR. GIBSON) Well, that statement is --                  1   this specific opinion?
 2   you rely on that statement to -- to say that that's --            2              MR. SCHMIDT: Objection, form.
 3   those are objective metrics that could have been used in          3       Q (BY MR. GIBSON) You don't say: But I am not
 4   this case, right?                                                 4   making conclusion of whether or not that occurred
 5       A. Those were, in fact, the metrics that the                  5   specifically in this case when you drafted the paragraph
 6   Budget Council in this case used and uses for tenure              6   entitled Opinion on page 53?
 7   decisions; and I'm saying that the Budget Council at              7              MR. SCHMIDT: Objection, form.
 8   that level of decisionmaking, you know, setting aside             8       A. I say right above this, "Ultimately case
 9   the possibility of earlier biases baked into the                  9   decision-makers will need to decide which processes to
10   metrics, that they did a very careful job.                       10   place more trust in" -- that is, the Budget Council or
11       Q. Again, that's not what you say. You say,                  11   Dean Wood -- "and to determine whether Dean Wood's
12   "These are commonly used metrics to assess a professor's         12   conclusions were biased and discriminatory." I give
13   scholarship." Do you mean to assess a professor's                13   that caveat right before I issue that opinion, yeah.
14   scholarship at the University of Texas School of                 14       Q. (BY MR. GIBSON) And then you say Dean Wood --
15   Engineering -- College of Engineering, I mean? Is that           15   how do you know that the subjective approach that
16   what you mean, or do you mean across higher education?           16   Dean Wood purportedly used is known to affect bias or
17       A. I think if you look at across higher education            17   known to allow bias to affect decisions when you have
18   at research universities, that for these kinds of                18   never assessed the specific approach that Dean Wood used
19   decisions, they will look at things like journal impact          19   in this case?
20   factors, citation index, and so on. That is my belief.           20              MR. SCHMIDT: Objection, form.
21   I do not have a study to give you about that, but my             21       A. I make it clear in the context of this section
22   belief is that these are commonly used. And in this              22   that if the case decision-makers find this to be a
23   particular case they were used.                                  23   subjective approach, that's known -- that generally
24       Q. Okay. Turning to page 53, you state in con --             24   subjective approaches are known to open the door to
25   in your opinion in bold, "In contrast to the more                25   bias. That doesn't mean that bias necessarily occurred,




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 1   but that's their decision. I make that very clear in              1       Q. So you make the conclusion that simply
 2   the context leading up to the opinion.                            2   because Dr. Wood is a woman, that she is more likely to
 3               You know, looking at the opinion now, I               3   discriminate against Dr. Nikolova?
 4   think, you know, I could maybe tweak the wording a                4             MR. SCHMIDT: Objection, form.
 5   little bit; but the context is very clear to me that, if          5       A. I think you just twisted what I said.
 6   you read the rest of the section, that that's what I'm            6       Q. (BY MR. GIBSON) You said, "Research suggests
 7   saying.                                                           7   that Dean Wood's gender and prior experiences" -- okay.
 8        Q. Similarly, on page 57, on your opinion on                 8   I'm sorry. Because she's a successful woman in the STEM
 9   the last sentence you say, "Both in terms of process              9   field, would not -- that doesn't preclude her from
10   (e.g., subjective interpretation) and content (inferred          10   discriminating; but rather, it makes it more likely?
11   lack of commitment), the Dean's decision-making about            11             MR. SCHMIDT: Objection, form.
12   Dr. Nikolova is consistent with bias towards pregnant            12       A. I'm saying that the research says that a
13   women, mothers, and workplace accommodation policy use."         13   successful woman in the STEM field is equally or even
14        A. Correct, and at the same time I make the same            14   more likely, based on the research, to discriminate
15   caveats in the section that precede that conclusion.             15   against women; and that's what the research shows.
16        Q. But you don't include those caveats in this              16   We've gone over that already. Again, I have the same
17   sentence. You don't say that the Dean's decision-                17   caveats in this section that I have in the other
18   making -- you don't say if you determine, that if the            18   sections; and I'm leaving that decision up to the jury,
19   jury determines that this -- the following facts, then           19   as is appropriate.
20   it would more likely than not that the Dean's decision-          20       Q. (BY MR. GIBSON) And the research that I've
21   making about Dr. Nikolova would be consistent with that.         21   seen that you cited really does that on an average
22   You don't have any of those caveats. You say it is.              22   basis. It says, on average, women are more likely to --
23   "The Dean's decision-making about Dr. Nikolova is                23       A. So this --
24   consistent with bias towards pregnant women, mothers,            24       Q. Am I correct that -- let me rephrase it
25   and workplace accommodation policies."                           25   separately. I didn't see any research that allowed




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 1       A. And I'm clear --                                           1   researchers to make a determination about whether an
 2              MR. SCHMIDT: Objection, form.                          2   individual decision by an individual person was more
 3       A. I'm clear in -- the same answer as I gave in               3   likely to be motivated by discrimination relative to
 4   the prior section. I'm clear throughout the section               4   someone else.
 5   about the caveats before I render that conclusion. So             5              MR. SCHMIDT: Objection, form.
 6   you have to read that in context. You know, if you want           6       A. So, again, we go back to the way in which we
 7   to take it out of context -- and I don't -- I don't say           7   isolate causation and the really -- and as you and I
 8   "more likely than not." That was in your question. I              8   talked about, the only way to really isolate causation
 9   don't -- you know, I don't use that kind of language.             9   is by doing these experiments where we -- you know,
10              We've already talked about "is consistent             10   because we can't give people: Oh, here's an identical
11   with." It follows the kind of pattern that you would             11   resume under a woman's name and an identical resume
12   expect if there were discrimination, but I'm very clear          12   with a man's name. They'll obviously know what the
13   preceding this that, really, that's up for the -- the            13   study's about. Okay? And we know their social
14   jury to determine. So I think in context my meaning is           14   desirability biases where there's -- that's perfect
15   clear. I think you're taking it out of context and               15   circumstances to -- you know, for them to -- they're not
16   trying to twist it in a way that makes it sound like I'm         16   going to discriminate.
17   making a -- some sort of conclusion that it was                  17              So we have to randomly assign people to
18   discriminatory and I'm not doing that and I, again,              18   different conditions, and then we see when everything's
19   think it's clear in context that I'm not.                        19   identical, right? We're doing a very precise method so
20       Q. In the following page, 59, you said,                      20   that we can isolate causality and we can examine the
21   "Research suggests that Dean Wood's gender and prior             21   circumstances under which discrimination occurs, and we
22   experiences with discrimination would not serve to               22   see this across the average differences between the
23   protect against bias against Dr. Nikolova, but rather            23   groups because there are always other factors involved
24   could make discrimination more likely."                          24   that are going to push people's ratings around.
25       A. Correct.                                                  25   Somebody's more lenient. Somebody's harsher. Well, we




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 1   randomly assigned to big enough groups that those things          1       Q. Let's not quibble on little things. Is it
 2   even out.                                                         2   generally accurate?
 3             We use statistics to determine the amount               3       A. Well, no, the little things matter here
 4   of those kinds of noisy factors that are going in there           4   because, again, we can't say whether a specific
 5   because we can see that within -- the differences within          5   individual discriminated or not. And I feel like you
 6   the same condition. Not everybody within the male                 6   framed it that way.
 7   target condition is rating the guy the same way, right,           7       Q. No.
 8   because there are individual differences and all these            8       A. And I don't want to contradict --
 9   things going on. So we can get -- we can find out if              9       Q. I am specifically not framing it that way.
10   there is a difference that is statistically reliable             10       A. Okay. These studies --
11   between how people, on average, treat the male target            11             (Simultaneous speakers.)
12   versus the female target. And this is really the best            12             MR. SCHMIDT: Can you repeat your
13   way we have to disentangle this.                                 13   question?
14             So we can't isolate one individual in                  14             MR. GIBSON: We can't talk over each
15   that circumstance and say, "That person discriminated,"          15   other.
16   right? "Oh, they rated a woman low, so they                      16             MR. SCHMIDT: Can you -- can you repeat
17   discriminated." We can't isolate that one person                 17   your question?
18   because we don't know what they would have done to an            18       Q. (BY MR. GIBSON) My question is: Can you
19   identical man. So it's the nature of the research that           19   predict -- here's a question: Can you predict whether a
20   you're talking about. We can't make that isolated, you           20   particular individual will or will not engage in
21   know, kind of judgment; and that's why I tried to be             21   particular behavior in a study -- can you go the reverse
22   clear in my report that we can't do that you know, like,         22   in a study? Can you say that because this person has
23   say, "Oh, Dean Wood discriminated." I'm not -- I'm not           23   certain attributes, they would appear as in the portion
24   able to make that judgment in a scientific way.                  24   of the study that showed the effect, not in the portion
25             I can't -- even in these experiments, I                25   of the study that wouldn't show the effect? Can you do




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 1   can't identify an individual and say, "That individual            1   that? Can you reverse predict how someone would perform
 2   discriminated." What I can say is, "Oh, when they --              2   in a study?
 3   when people, you know, a bunch of people evaluated an             3             MR. SCHMIDT: Objection, form.
 4   identical male target to an identical female target, on           4       A. You can do studies where you measure
 5   average, we got this size of difference," right? And,             5   individual characteristics, for instance, like, certain
 6   you know, there's some variation in that, of course.              6   kinds of ideologies or attitudes that they might have
 7   There's going to be some exceptions to that, but this             7   and examine whether those characteristics predict that
 8   tells us the pattern of discrimination. We can vary               8   they're more likely to discriminate because, for
 9   different contextual factors, see how that affects it.            9   instance, you can -- you can factor that in
10   We can isolate the causality so you're not sitting here          10   statistically. So you can -- you can see if there's a
11   saying, "Oh, all you have is a correlation. You don't            11   bigger difference between how people who score a certain
12   have causation." Well, we can look at causation by               12   way on a measure evaluate women versus men. So you
13   using these methods; and that's the knowledge base.              13   could -- you know, that gives you information.
14       Q. Can I ask a question?                                     14             Can you say for certain whether if
15       A. That's what I'm trying to communicate.                    15   somebody scores a certain way, that that person
16       Q. So in all of these studies there is a                     16   necessarily will discriminate? No, we can't say that
17   distribution on a curve. And some people in the studies          17   for certain; but we can say that, based on the research,
18   show the biased behavior, and some don't. But, on                18   there's a greater likelihood that that would be the
19   average -- the research you cite to support your                 19   case, broadly speaking.
20   position show that, on average, more people exhibit the          20       Q. Broadly speaking across the entire population?
21   bias behavior than don't?                                        21       A. Broadly speaking across people with similar
22             MR. SCHMIDT: Objection, form.                          22   characteristics, like, say, adhering to a certain
23       Q. (BY MR. GIBSON) Is that a generally correct               23   ideology.
24   statement?                                                       24       Q. But you can't make that determination and
25       A. I quibble a little bit with the --                        25   apply it to a specific individual, correct?




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 1       A. Yes, I cannot -- this is like saying can                   1   with potential bias and discrimination?
 2   you -- you know, you might be able as a meteorologist to          2       A. So, again, I think you're asking me if the
 3   predict the pattern of weather with a certain degree of           3   final section of my report involved doing a formal
 4   accuracy; but are you going to be able to predict the             4   scientific study on the University of Texas and the
 5   path of a blizzard in a snowflake? No. When you're                5   people involved. And the answer is: No, I did not.
 6   asking can I predict what an individual is going to do,           6       Q. Are you aware of any scientific technique that
 7   you know, in these kinds of circumstances, that's -- you          7   would allow -- that would support statements, the
 8   know, that's -- that would be very, very dicey.                   8   statements that are found in the -- your section
 9       Q. It's not only you can't predict you it; you                9   regarding the application of this case as to whether
10   can't, after the fact, determine whether or not specific         10   Dean Wood's conduct was consistent with discrimination?
11   decisions were motivated -- motivated by specific                11       A. So, again, I'm applying my expertise in the
12   factors. You can't make a scientific determination as            12   scientific framework to offer avenues for the jury to
13   to whether or not Dr. Wood -- Dr. Wood's gender and              13   consider and to make observations about the case; but
14   prior experience, in fact, made her more likely to               14   that section of the report, as I made clear in the
15   discriminate or, in fact, caused her to discriminate?            15   report, is not, itself, performing a scientific study.
16       A. As an individual, right. I mean, we already               16   And I, therefore, resist making precise scientific
17   went over this, I think. I think I already answered              17   conclusions as a result.
18   that question. And if I understand the question                  18       Q. And that methodology that you -- or the
19   correctly, the answer is: No, I cannot. And I've                 19   opinions that you provide in Section V regarding
20   already been very upfront about that and -- and, you             20   application to this case are not based on methodologies
21   know, that my whole section about application to the             21   that have been subject to peer review or publication; is
22   case is constantly framed with that kind of caveat.              22   that correct?
23       Q. Let's see. It'll take me just a couple of                 23       A. That -- yes, that would be correct. I think
24   minutes here. Hold on just a second. I've got to                 24   that's basically what I was trying to say. And I think
25   transition.                                                      25   your other question was, you know, is there a method,




                                                                199                                                                   201
 1             Okay. I apologize. Hold on just a                       1   you know, to determine, for instance, with a scientific
 2   second while I pull something up.                                 2   certainty, whether discrimination occurred in a
 3             MR. SCHMIDT: While you're doing that,                   3   particular case. There isn't a method to do that, at
 4   Debbie, do you have a time in terms of how long we've             4   least not for an individual case such as this.
 5   been going?                                                       5       Q. Okay. Do you have a personal opinion as to
 6             THE REPORTER: Four hours, twenty-four                   6   whether or not Dr. Nikolova was subject to
 7   minutes.                                                          7   discrimination in the tenure decision that's at issue in
 8             MR. SCHMIDT: Thanks.                                    8   this case?
 9             I know Darren's going to be done by 4:00,               9       A. I don't want to render any personal opinion on
10   so.                                                              10   this because I think that's going outside my role.
11             MR. GIBSON: I just -- I think I'm going                11       Q. That's fine, but do you have a personal
12   to wrap up. I think these are pretty easy.                       12   opinion?
13             MR. SCHMIDT: I'm joking.                               13       A. Having reviewed all of the materials in the
14             MR. GIBSON: Oh.                                        14   case, if I were a juror, sure, I have an opinion on it.
15             MR. SCHMIDT: But go ahead. I was giving                15       Q. Based on looking at the evidence that you've
16   you a hard time.                                                 16   reviewed, what's your personal opinion?
17             MR. GIBSON: I'm sorry. I wasn't                        17              MR. SCHMIDT: Objection, form.
18   listening. I was focused on something else, but I think          18       A. I'm not going to state my personal opinion
19   I'm going to be pretty close.                                    19   because I think that's not my role. I think that would
20       Q (BY MR. GIBSON) I'm going to ask you a few                 20   be -- that would be -- to me, that's painting outside
21   questions. I just want to make sure that -- I think              21   the lines of what I understand my role to be.
22   these are relatively easy questions.                             22       Q. (BY MR. GIBSON) Do you think your personal
23             Is there a scientific technique that                   23   opinion may have affected the conclusions that you've
24   supports the rendering of your judgment in this case as          24   reached in your report?
25   to whether or not what occurred here would be consistent         25              MR. SCHMIDT: Objection, form.




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                                                                202                                                                   204
 1       A. I'd say that my personal opinion is influenced             1   than women. And I asked if you could cite to the
 2   by my scientific opinion.                                         2   portion of the article that supported that statement in
 3       Q. (BY MR. GIBSON) So you think you are -- do                 3   your report. And, as I recall, you did not have that at
 4   you think you can keep your scientific opinions                   4   your fingertips at the time; and you said you would need
 5   uninfluenced by your personal opinions?                           5   to have time to look at the article. Have you looked at
 6       A. I try to evaluate the evidence. That's what                6   article since we discussed that?
 7   you try to do scientifically. So I strive for as much             7       A. I haven't. I have not had time to really look
 8   kind of objectivity as possible in trying to weigh the            8   at that article, no.
 9   evidence.                                                         9       Q. Okay. We can do that now.
10              MR. GIBSON: Give me just a couple of                  10       A. You want me to spend time on the -- all right.
11   seconds, and I'll go off for, like, two minutes. And             11   Okay.
12   then we'll come back on. Okay?                                   12             MR. SCHMIDT: What exhibit number is
13              THE WITNESS: Okay.                                    13   that?
14              THE VIDEOGRAPHER: Are we going off the                14             MR. GIBSON: That is Exhibit Number 3.
15   record?                                                          15             THE WITNESS: Oh, sorry. I'm looking --
16              MR. GIBSON: We don't have to go off the               16   sorry. I looked at the wrong one. Hold on a second.
17   record. It'll be very quick.                                     17             MR. GIBSON: Apologies. Roth was Exhibit
18              THE VIDEOGRAPHER: Okay. I just wanted                 18   Number 2, not 3.
19   to clarify.                                                      19             THE WITNESS: Right.
20              MR. GIBSON: Oh, back on -- sorry. Back                20             MR. SCHMIDT: Exhibit 2?
21   on the record.                                                   21             MR. GIBSON: Correct.
22       Q (BY MR. GIBSON) Have you also testified in a               22             (Witness silently reading document.)
23   case involving Oregon State Health Science Center?               23       A. There's some information in Table 1, but
24       A. Oh, yes. I haven't testified, but I have                  24   that's not -- that's not all of it, but the
25   written a report for that case. Thanks for reminding             25   promotability. And they talk about how the number of




                                                                203                                                                   205
 1   me. It's Bala v. -- what you said -- Oregon Health                1   coefficients is 8 percent of articles. It looks like
 2   Services University.                                              2   it's 18 percent -- oh, I think that's -- I'm not sure
 3       Q. Were you hired by the plaintiff in that case?              3   what that's referring to right now. I'll have to look
 4       A. I was hired by the plaintiff in that case,                 4   at -- oh, percentage of variance due to the artifacts.
 5   yes.                                                              5   Okay. That's not -- that's something different.
 6       Q. Did that case occur this year?                             6   All right.
 7       A. Yes, it did. It's still -- I mean, I wrote a               7              Okay. So under -- let's see here.
 8   report. There's not been a deposition or anything else.           8   Right. Okay. So I think it's under promote -- the
 9       Q. After being re- -- having your recollection                9   heading of Promotability, page -- what page is this --
10   refreshed with respect to Bala, any other -- do you              10   page 10 of the article, the section on promotability, a
11   recall any additional cases besides that one that we             11   subset of 6 studies reported measures of performance on
12   didn't discuss previously for the last -- for this year?         12   the current job and that -- oh, K equals -- yeah, N
13       A. Not that I can think of right now; but, again,            13   equals 4,000. So, yeah, it's in that paragraph.
14   I'd be happy to go through my computer and figure that           14        Q. (BY MR. GIBSON) I'm sorry. Say that again.
15   one out.                                                         15   Which paragraph?
16       Q. Okay. And, finally, I know that we -- earlier             16        A. The paragraph that has the heading
17   today, we talked much about Footnote 20 on page 11 of            17   Promotability on page 10 of the article. It's the one,
18   your report regarding the Joshi article -- I'm sorry --          18   two -- third paragraph down. I read that as saying
19   regarding the Roth article. And we -- specifically, I            19   there were six studies -- was it six studies -- wait.
20   was asking if you were able to identify the portion of           20   Blah, blah. A subset of six studies, and the end was
21   the article that supports the statement in your report           21   4,309. That -- that's, I believe, where I'm getting
22   on page 11 that 6 studies involving 4,000 individuals            22   that information from. I read that as six studies had
23   that included both supervisor's performance and                  23   both promotability and performance evaluation ratings.
24   evaluations and ratings show that supervisors were more          24        Q. Okay. Do you know which six studies those
25   likely to rate men as having higher promotion potential          25   were?




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                                                                                               Glick
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 1       A. I don't think they identify which six studies              1   studies were the ones with the promotability ratings.
 2   those were, but I'd have to further review to try to              2       Q. And so you also don't know how promot- -- the
 3   figure that out. But my guess is that they don't                  3   effect of promotability ratings over time because they
 4   identify those six studies individually.                          4   don't report that, correct?
 5       Q. Uh-huh. Also, I just want to point out that                5       A. Right. I don't think they have enough data to
 6   on the next page, Table 2, that shows the date of                 6   report that.
 7   publication. They do this moder- -- I think what you              7       Q. Okay.
 8   were talking about, I think, moderator analysis.                  8       A. And just scanning through, I'm not seeing
 9       A. Okay. So this is on Table 2. Okay. Yes.                    9   anything that -- anything obvious that suggests they
10   Date of publication. Okay. And what is this table?               10   identified what those -- you know, which studies had the
11   Let me just see. This is -- is this in performance               11   promotability ratings. That's why I think the other
12   ratings? Yeah, this is in job performance, where they            12   meta-analysis, the -- the Roth -- sorry -- the Joshi,
13   generally do not find a difference in job performance            13   et al. -- the Joshi, et al. is more impressive. It has
14   ratings.                                                         14   more data that looks at both evaluations and promote --
15       Q. Just so I understand, that's the d number,                15   actual organizational award -- reward decisions, like
16   correct?                                                         16   promotion, salary, and those sorts of things.
17       A. So you're looking -- d would be the Cohen's d             17              MR. GIBSON: All right. I don't believe
18   in that first column.                                            18   I have any further questions at this time.
19       Q. What -- okay. Looking at Table 2, what                    19              MR. SCHMIDT: We'll reserve our
20   variable shows the difference in job performance rating?         20   questions.
21       A. The -- this -- this is -- I believe this table            21              MR. GIBSON: Thank you very much,
22   is all about difference in job performance ratings.              22   Dr. Glick.
23   That's -- that's what every -- everything in Column 1 is         23              THE WITNESS: Okay. Thanks. If we're
24   about the average difference in job performance ratings.         24   off the record, I just want to ask about --
25       Q. And does that appear to show that the average             25              THE VIDEOGRAPHER: I'll take us off the




                                                                207                                                                   209
 1   difference in job performance ratings is going down over          1 record. My apologies. The time is 4:02 p.m. We're off
 2   time?                                                             2 the record.
 3       A. It shows that it's relatively small to start               3          (Deposition adjourned at 4:03 p.m.)
 4   with, and then I don't know if that's a statistically             4               --ooOoo--
 5   significant trend. I'd have to read further. But the              5
 6   trend is that it's going down over time, but the whole            6
 7   point that I was citing at that point in the -- in my             7
 8   report was, although there is no overall or a trivial             8
 9   overall difference in job performance ratings, when it            9
10   comes to organizational rewards, those decisions don't           10
11   mesh with that lack of difference on performance                 11
12   ratings.                                                         12
13             In other words, women are rated as doing               13
14   just as well as men on the whole for the most part; but          14
15   they're not being given the organizational rewards.              15
16   They don't have a similar time analysis, I would                 16
17   imagine, on the organizational rewards because this              17
18   particular meta-analysis, there were, you know, fewer            18
19   studies. Only a very small subset of the studies looked          19
20   at promotability ratings.                                        20
21       Q. And so those organizational rewards may have              21
22   been from studies from the 1960's or '70's?                      22
23       A. Well, I can't identify from this. Again, I --             23
24   if you want to give me more time, I can see; but I               24
25   highly doubt that they're going to identify which                25




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 1           CHANGES AND SIGNATURE                                     1   STATE OF TEXAS )
 2   WITNESS NAME:        DATE OF DEPOSITION:                          2                REPORTER'S CERTIFICATION
 3   PETER GLICK, Ph.D.    November 5, 2021
                                                                       3           I, DEBBIE D. CUNNINGHAM, CSR, hereby certify
 4   PAGE/LINE CHANGE           REASON
                                                                       4   that the witness was duly sworn and that this transcript
 5   ________________________________________________________
 6   ________________________________________________________          5   is a true record of the testimony given by the witness.
 7   ________________________________________________________          6           I further certify that I am neither counsel
 8   ________________________________________________________          7   for, related to, nor employed by any of the parties or
 9   ________________________________________________________          8   attorneys in the action in which this proceeding was
10   ________________________________________________________          9   taken. Further, I am not a relative or employee of any
11   ________________________________________________________
                                                                      10   attorney of record in this cause, nor am I financially
12   ________________________________________________________
                                                                      11   or otherwise interested in the outcome of the action.
13   ________________________________________________________
14   ________________________________________________________         12           I further certify that pursuant to FRCP
15   ________________________________________________________         13   Rule 30(f)(1) that the signature of the deponent was
16   ________________________________________________________         14   requested by the deponent or a party before the
17   ________________________________________________________         15   completion of the deposition and that the signature is
18   ________________________________________________________         16   to be before any notary public and returned within 30
19   ________________________________________________________
                                                                      17   days from date receipt of the transcript. If returned,
20   ________________________________________________________
                                                                      18   the attached Changes and Signature Page contains any
21   ________________________________________________________
22   ________________________________________________________         19   changes and the reasons therefore.
23   ________________________________________________________         20               Subscribed and sworn to by me this day,
24   ________________________________________________________         21   November 8, 2021.
25   ________________________________________________________         22
                                                                      23
                                                                      24              __________________________________
                                                                                      Debbie D. Cunningham, CSR
                                                                      25



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 1            I, PETER GLICK, Ph.D., have read the
 2   foregoing deposition and hereby affix my signature that
 3   same is true and correct, except as noted herein.
 4
 5           _______________________________
 6           PETER GLICK, Ph.D.
 7
 8   THE STATE OF __________ )
 9            Before me, _______________________, on
10   this day personally appeared PETER GLICK, Ph.D., known
11   to me (or proved to me under oath or through
12   ______________) (description of identity card or other
13   document) to be the person whose name is subscribed to
14   the foregoing instrument and acknowledged to me that
15   they executed same for the purposes and consideration
16   therein expressed.
17            Given under my hand and seal of office on
18   this _____ day of _________________, _________.
19
20
21         _______________________________
22         NOTARY PUBLIC IN AND FOR
23         THE STATE OF __________________
24         My Commission Expires:_________
25




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            B

Barbour 2:24

            C

Cawston 2:23

            H

Hughes 2:25

            J

Jody 2:25

            L

Laura 2:24

            P

Philip 2:23




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